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                                                                 UNITED STATES
                                                     SECURITIES AND EXCHANGE COMMISSION
                                                              Washington, D.C. 20549




                                                                 SCHEDULE 14A

                                                   Proxy Statement Pursuant to Section 14(a) of the
                                                           Securities Exchange Act of 1934

                    Filed by the Registrant ☒

                    Filed by a Party other than the Registrant ☐

                    Check the appropriate box:
                    ☐   Preliminary Proxy Statement

                    ☐   Confidential, for Use of the Commission Only (as permitted by Rule 14a-6(e)(2))

                    ☒   Definitive Proxy Statement

                    ☐   Definitive Additional Materials

                    ☐   Soliciting Material under §240.14a-12

                                                            USERTESTING, INC.
                                                       (Name of Registrant as Specified In Its Charter)   ​
                                           (Name of Person(s) Filing Proxy Statement, if other than the Registrant)

                    Payment of Filing Fee (Check all boxes that apply):

                    ☐   No fee required.
                    ☒   Fee paid previously with preliminary materials.

                    ☐   Fee computed on table in exhibit required by Item 25(b) per Exchange Act Rules 14a-6(i)(1) and 0-11.
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                                                                   UserTesting, Inc.
                                                                 144 Townsend Street
                                                            San Francisco, California 94107
                                                                    (888) 877-1882
                    Dear UserTesting Stockholder:

                         You are cordially invited to attend a special meeting (including any adjournments or postponements
                    thereof, the “Special Meeting”) of holders of common stock, par value $0.0001 per share, of UserTesting, Inc.
                    (“UserTesting common stock” or “our common stock,” and the holders thereof “UserTesting stockholders”
                    or “our stockholders”), a Delaware corporation (“UserTesting,” “we,” our,” “us,” or the “Company”), to be
                    held on January 10, 2023, at 10:00 a.m., Pacific Time. We will hold the Special Meeting virtually via the
                    Internet at www.virtualshareholdermeeting.com/USER2023SM. You will not be able to attend the Special
                    Meeting physically in person. For purposes of attendance at the Special Meeting, all references in this proxy
                    statement to “present in person” or “in person” shall mean virtually present at the Special Meeting.

                          At the Special Meeting, you will be asked to consider and vote on (i) a proposal to adopt the Agreement
                    and Plan of Merger, dated as of October 26, 2022 (the “Merger Agreement”), by and among UserTesting,
                    Thunder Holdings, LLC, a Delaware limited liability company (“Parent”) and Thunder Merger Sub, Inc., a
                    Delaware corporation and a wholly owned subsidiary of Parent (“Merger Sub”), and (ii) a proposal to
                    adjourn the Special Meeting, if necessary or appropriate, to solicit additional proxies if there are insufficient
                    votes to adopt the Merger Agreement at the time of the Special Meeting. Parent and Merger Sub are entities
                    that are affiliated with Thoma Bravo, L.P., a private equity investment firm. All references herein to “Thoma
                    Bravo” include Thoma Bravo, L.P. and its affiliated funds thereof and all references to “Sunstone Partners”
                    include Sunstone Partners Management, LLC and its affiliated funds. Pursuant to the terms of the Merger
                    Agreement, Merger Sub will merge with and into UserTesting and the separate corporate existence of Merger
                    Sub will cease, with UserTesting continuing as the surviving corporation and a wholly owned subsidiary of
                    Parent (the “Merger”).
                         If the Merger is completed, you will cease to be a UserTesting stockholder and you will be entitled to
                    receive $7.50 in cash, less any applicable withholding taxes, for each share of UserTesting common stock
                    that you own, unless you have properly exercised your appraisal rights. If the Merger is completed, our
                    common stock will no longer be publicly traded and will be delisted from the New York Stock Exchange.
                         The Board of Directors of UserTesting (the “Board of Directors” or the “Board”), after considering the
                    factors more fully described in the enclosed proxy statement, has unanimously: (i) determined that it is in the
                    best interests of UserTesting and our stockholders, and declared it advisable, to enter into the Merger
                    Agreement; (ii) approved the execution, delivery and performance of the Merger Agreement and the
                    consummation of the transactions contemplated thereby; and (iii) resolved to recommend that our
                    stockholders adopt the Merger Agreement. The Board of Directors unanimously recommends that you vote:
                    (1) “FOR” the adoption of the Merger Agreement and (2) “FOR” the adjournment of the Special Meeting, if
                    necessary or appropriate, to solicit additional proxies if there are insufficient votes to adopt the Merger
                    Agreement at the time of the Special Meeting.
                        The enclosed proxy statement provides detailed information about the Special Meeting, the Merger
                    Agreement and the Merger. A copy of the Merger Agreement is attached as Annex A to the proxy statement.

                         The proxy statement also describes the actions and determinations of the Board of Directors in
                    connection with its evaluation of the Merger Agreement and the Merger. You should carefully read and
                    consider the entire enclosed proxy statement and its annexes, including, but not limited to, the Merger
                    Agreement, as they contain important information about, among other things, the Merger and how it affects
                    you.
                        Whether or not you plan to attend the Special Meeting in person, please sign, date and return, as
                    promptly as possible, the enclosed proxy card in the accompanying prepaid reply envelope or grant your
                    proxy electronically over the Internet or by telephone (using the instructions provided in the enclosed proxy
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                    card). If you attend the Special Meeting and vote in person by virtual ballot, your vote will revoke any proxy
                    that you have previously submitted.

                         If you hold your shares in “street name,” you should instruct your bank, broker or other nominee how
                    to vote your shares in accordance with the voting instruction form that you will receive from your bank,
                    broker or other nominee. Your bank, broker or other nominee cannot vote on any of the proposals, including
                    the proposal to adopt the Merger Agreement, without your instructions.

                         Your vote is very important, regardless of the number of shares that you own. We cannot complete the Merger
                    unless the proposal to adopt the Merger Agreement is approved by the affirmative vote of the holders of at least a
                    majority of the outstanding shares of our common stock entitled to vote at the Special Meeting.
                         If you have any questions or need assistance voting your shares, please contact our proxy solicitor:

                                                               MacKenzie Partners, Inc.
                                                              1407 Broadway, 27th Floor
                                                                  New York, NY 10018
                                                                Toll-free: 1-800-322-2885
                                                          Email: proxy@mackenziepartners.com

                         On behalf of the Board of Directors, I thank you for your support and appreciate your consideration of
                    these matters.

                                                                                  Sincerely,




                                                                                  Andy MacMillan
                                                                                  President, Chief Executive Officer and
                                                                                  Chairperson

                        The accompanying proxy statement is dated December 6, 2022 and, together with the enclosed form of
                    proxy card, is first being mailed on or about December 6, 2022.
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                                                                  UserTesting, Inc.
                                                                144 Townsend Street
                                                           San Francisco, California 94107
                                                                   (888) 877-1882

                                              NOTICE OF SPECIAL MEETING OF STOCKHOLDERS
                                        TO BE HELD VIRTUALLY VIA THE INTERNET ON JANUARY 10, 2023

                         Notice is hereby given that a special meeting (including any adjournments or postponements thereof,
                    the “Special Meeting”) of holders of common stock, par value $0.0001 per share, of UserTesting, Inc.
                    (“UserTesting common stock” or “our common stock,” and the holders thereof “UserTesting stockholders”
                    or “our stockholders”), a Delaware corporation (“UserTesting,” “we,” our,” “us,” or the “Company”), will be
                    held on January 10, 2023, at 10:00 a.m., Pacific Time. We will hold the Special Meeting virtually via the
                    Internet at www.virtualshareholdermeeting.com/USER2023SM. You will not be able to attend the Special
                    Meeting physically in person. For purposes of attendance at the Special Meeting, all references in this proxy
                    statement to “present in person” or “in person” shall mean virtually present at the Special Meeting. The
                    Special Meeting is being held for the following purposes:
                        1.   To consider and vote on the proposal to adopt the Agreement and Plan of Merger, dated as of
                             October 26, 2022 (the “Merger Agreement”), by and among UserTesting, Thunder Holdings, LLC, a
                             Delaware limited liability company (“Parent”) and Thunder Merger Sub, Inc., a Delaware
                             corporation and a wholly owned subsidiary of Parent (“Merger Sub”). Pursuant to the terms of the
                             Merger Agreement, Merger Sub will merge with and into UserTesting and the separate corporate
                             existence of Merger Sub will cease, with UserTesting continuing as the surviving corporation and a
                             wholly owned subsidiary of Parent (the “Merger”); and

                        2.   To consider and vote on any proposal to adjourn the Special Meeting to a later date or dates if
                             necessary or appropriate to solicit additional proxies if there are insufficient votes to adopt the
                             Merger Agreement at the time of the Special Meeting.

                         Only UserTesting stockholders of record as of the close of business on December 2, 2022, are entitled to
                    notice of the Special Meeting and to vote at the Special Meeting or any adjournment, postponement or other
                    delay thereof.
                         The Board of Directors unanimously recommends that you vote: (1) “FOR” the adoption of the Merger
                    Agreement and (2) “FOR” the adjournment of the Special Meeting, if necessary or appropriate, to solicit
                    additional proxies if there are insufficient votes to adopt the Merger Agreement at the time of the Special
                    Meeting.
                         UserTesting stockholders who do not vote in favor of adopting the Merger Agreement will have the
                    right to seek appraisal of the “fair value” of their shares of UserTesting common stock, as determined in
                    accordance with Section 262 of the General Corporation Law of the State of Delaware (the “DGCL”), if they
                    deliver a demand for appraisal before the vote is taken on the proposal to adopt the Merger Agreement and
                    comply with all the requirements of Delaware law, including Section 262 of the DGCL, which are summarized
                    in the accompanying proxy statement. Section 262 of the DGCL is reproduced in its entirety in Annex C to the
                    accompanying proxy statement and is incorporated therein by reference.
                         Whether or not you plan to attend the Special Meeting in person, please sign, date and return, as
                    promptly as possible, the enclosed proxy card in the accompanying prepaid reply envelope or grant your
                    proxy electronically over the Internet or by telephone (using the instructions provided in the enclosed proxy
                    card). If you attend the Special Meeting and vote in person by virtual ballot, your vote will revoke any proxy
                    that you have previously submitted. If you hold your shares in “street name,” you should instruct
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                    your bank, broker or other nominee how to vote your shares in accordance with the voting instruction form
                    that you will receive from your bank, broker or other nominee. Your bank, broker or other nominee cannot
                    vote on any of the proposals, including the proposal to adopt the Merger Agreement, without your
                    instructions. If you sign, date and mail your proxy card without indicating how you wish to vote, your proxy will be
                    counted as a vote “FOR” the adoption of the Merger Agreement and “FOR” the adjournment of the Special Meeting, if
                    necessary or appropriate, to solicit additional proxies if there are insufficient votes to adopt the Merger Agreement at
                    the time of the Special Meeting.


                                                                                   By Order of the Board of Directors,




                                                                                   Andy MacMillan
                                                                                   President, Chief Executive Officer and
                                                                                   Chairperson

                    Dated: December 6, 2022
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                                                             YOUR VOTE IS IMPORTANT

                         WHETHER OR NOT YOU PLAN TO ATTEND THE SPECIAL MEETING IN PERSON, WE ENCOURAGE YOU
                    TO SUBMIT YOUR PROXY AS PROMPTLY AS POSSIBLE: (1) BY TELEPHONE; (2) THROUGH THE INTERNET;
                    OR (3) BY SIGNING AND DATING THE ENCLOSED PROXY CARD AND RETURNING IT IN THE POSTAGE-PAID
                    ENVELOPE PROVIDED. You may revoke your proxy or change your vote at any time before it is voted at the
                    Special Meeting.

                         If you hold your shares in “street name,” you should instruct your bank, broker or other nominee how
                    to vote your shares in accordance with the voting instruction form that you will receive from your bank,
                    broker or other nominee. Your broker or other agent cannot vote on any of the proposals, including the
                    proposal to adopt the Merger Agreement, without your instructions.

                         If you are a UserTesting stockholder of record, voting in person by virtual ballot at the Special Meeting
                    will revoke any proxy that you previously submitted. If you hold your shares through a bank, broker or other
                    nominee, you must obtain a “legal proxy” in order to vote in person at the Special Meeting.

                         If you fail to (1) return your proxy card, (2) grant your proxy electronically over the Internet or by
                    telephone, or (3) vote by virtual ballot in person at the Special Meeting, your shares will not be counted for
                    purposes of determining whether a quorum is present at the Special Meeting and, if a quorum is present, will
                    have the same effect as a vote “AGAINST” the proposal to adopt the Merger Agreement but will have no
                    effect on the adjournment proposal.

                         You should carefully read and consider the entire accompanying proxy statement and its annexes,
                    including, but not limited to, the Merger Agreement, along with all of the documents incorporated by
                    reference into the accompanying proxy statement, as they contain important information about, among other
                    things, the Merger and how it affects you. If you have any questions concerning the Merger Agreement, the
                    Merger, the Special Meeting or the accompanying proxy statement, would like additional copies of the
                    accompanying proxy statement or need help voting your shares of UserTesting common stock, please
                    contact our proxy solicitor:

                                                             MacKenzie Partners, Inc.
                                                            1407 Broadway, 27th Floor
                                                                New York, NY 10018
                                                              Toll-free: 1-800-322-2885
                                                        Email: proxy@mackenziepartners.com
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                                                                       SUMMARY

                           This summary highlights selected information from this proxy statement related to the merger of
                      Thunder Merger Sub, Inc. with and into UserTesting, Inc. (the “Merger”) and may not contain all of the
                      information that is important to you. To understand the Merger more fully and for a more complete
                      description of the legal terms of the Merger, you should carefully read and consider this entire proxy
                      statement and the annexes to this proxy statement, including, but not limited to, the Merger Agreement (as
                      defined below), along with all of the documents to which we refer in this proxy statement, as they contain
                      important information about, among other things, the Merger and how it affects you. You may obtain the
                      information incorporated by reference in this proxy statement without charge by following the instructions
                      under the caption “Where You Can Find More Information.” The Merger Agreement is attached as Annex A
                      to this proxy statement. You should carefully read and consider the entire Merger Agreement, which is the
                      legal document that governs the Merger.
                           Except as otherwise specifically noted in this proxy statement, “UserTesting,” “we,” “our,” “us,” the
                      “Company” and similar words refer to UserTesting, Inc. Throughout this proxy statement, we refer to
                      Thunder Holdings, LLC as “Parent” and Thunder Merger Sub, Inc. as “Merger Sub.” In addition,
                      throughout this proxy statement, we refer to the Agreement and Plan of Merger, dated October 26, 2022, by
                      and among Parent, Merger Sub and UserTesting as the “Merger Agreement,” our common stock, par value
                      $0.0001 per share, as “UserTesting common stock” or “our common stock,” and the holders of UserTesting
                      common stock as “UserTesting stockholders” or “our stockholders.” Unless indicated otherwise, any
                      other capitalized term used herein but not otherwise defined herein has the meaning assigned to such term
                      in the Merger Agreement.

                      Parties Involved in the Merger

                      UserTesting, Inc.
                           UserTesting has fundamentally changed the way organizations get insights from customers with fast,
                      opt-in feedback and experience capture technology. We have pioneered a video-first, enterprise-grade
                      software-as-a-service platform that enables organizations to see and hear the experiences of real people as
                      they engage with products, designs, apps, processes, concepts, or brands. Our platform captures authentic,
                      credible, and highly contextualized customer perspectives from targeted audiences who have opted in to
                      share their thoughts, whether for digital, real-world, or omnichannel experiences. Using machine learning, our
                      platform analyzes these perspectives and surfaces key moments of insight rapidly and at scale. This helps
                      organizations to free up time and resources and make better customer experience decisions faster using the
                      power of video to drive alignment and action. We are headquartered in San Francisco, California. Our
                      common stock is listed on the New York Stock Exchange (“NYSE”) under the symbol “USER.”

                      Thunder Holdings, LLC

                           Parent was formed on October 24, 2022, solely for the purpose of engaging in the transactions
                      contemplated by the Merger Agreement, and has not engaged in any business activities other than in
                      connection with the transactions contemplated by the Merger Agreement and arranging of the equity
                      financing and potential debt financing in connection with the Merger.

                      Thunder Merger Sub, Inc.

                          Merger Sub is a wholly owned subsidiary of Parent and was formed on October 12, 2022, solely for the
                      purpose of engaging in the transactions contemplated by the Merger Agreement, and has not engaged in
                      any business activities other than in connection with the transactions contemplated by the Merger
                      Agreement and arranging of the equity financing and potential debt financing in connection with the Merger.
                           Parent and Merger Sub are affiliated with Thoma Bravo Discover Fund III, L.P., Thoma Bravo Discover
                      Fund IV, L.P. (together, the “Thoma Bravo Funds”) and are managed by Thoma Bravo, L.P. UserZoom
                      Technologies, Inc. (“UserZoom”), Parent and Merger Sub and the Thoma Bravo Funds are each affiliated
                      with Thoma Bravo, L.P. UserZoom is owned by the Thoma Bravo Funds and funds affiliated with Sunstone
                      Partners. Thoma Bravo and Sunstone Partners are leading private equity firms focused on the software and
                      technology-enabled services sectors. At the Effective Time (as defined in the section of this proxy



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                      statement captioned “- The Merger”), the Surviving Corporation (as defined in the section of this proxy
                      statement captioned “- The Merger”), will be indirectly owned by the Thoma Bravo Funds and Sunstone
                      Partners II, LP, Sunstone Partners II-A, LP, Sunstone Partners Executive Fund II, LP, Sunstone Partners III-
                      Main, LP, and Sunstone Partners III-A, LP (together, the “Sunstone Partners Funds”).
                           In connection with the transactions contemplated by the Merger Agreement, the Thoma Bravo Funds
                      and the Sunstone Partners Funds have each provided Parent with an equity commitment. The amounts
                      committed under the two equity commitment letters, each dated as of October 26, 2022 (each an “Equity
                      Commitment Letter” and collectively, the “Equity Commitment Letters”), will be used to fund the aggregate
                      purchase price required to be paid at the closing of the Merger (the “Closing”) and to also fund certain other
                      payments at the Closing (including the Required Amounts (as defined in the section of this proxy statement
                      captioned “The Merger - Financing of the Merger”)), subject to the terms and conditions of the Merger
                      Agreement. In addition, the Thoma Bravo Funds and Sunstone Partners Funds have each agreed to
                      guarantee the payment of certain liabilities and obligations of Parent or Merger Sub under the Merger
                      Agreement, subject to an aggregate cap equal to $56,464,408 for the Thoma Bravo Funds and $11,295,592 for
                      the Sunstone Partners Funds, including any termination fee and amounts in respect of certain reimbursement
                      and indemnification obligations of Parent and Merger Sub for certain costs, expenses or losses incurred or
                      sustained by us, as specified in the Merger Agreement. For more information, please see the section of this
                      proxy statement captioned “The Merger - Financing of the Merger.”

                      The Merger

                           Upon the terms and subject to the conditions of the Merger Agreement, Merger Sub will merge with and
                      into UserTesting and the separate corporate existence of Merger Sub will cease, with UserTesting continuing
                      as the surviving corporation and as a wholly owned subsidiary of Parent (the “Surviving Corporation”). As a
                      result of the Merger, UserTesting common stock will no longer be publicly traded and will be delisted from
                      the NYSE. In addition, UserTesting common stock will be deregistered under the United States Securities
                      Exchange Act of 1934, as amended (the “Exchange Act”), and we will no longer file periodic reports with the
                      United States Securities and Exchange Commission (the “SEC”). If the Merger is completed, you will not own
                      any shares of the capital stock of the Surviving Corporation. The time at which the Merger will become
                      effective will occur upon the filing of a certificate of merger with the Secretary of State of the State of
                      Delaware in accordance with the applicable provision of the General Corporation Law of the State of
                      Delaware (the “DGCL”) (the time of such filing and the acceptance for record by the Secretary of State of the
                      State of Delaware, or such later time as may be agreed in writing by Parent, Merger Sub and UserTesting and
                      specified in the certificate of merger, the “Effective Time”).

                      Merger Consideration

                      UserTesting Common Stock

                           At the Effective Time, each then-outstanding share of UserTesting common stock (other than shares of
                      UserTesting common stock (i) directly owned by us (as treasury stock or otherwise) immediately prior to the
                      Effective Time, (ii) directly owned by Parent or Merger Sub immediately prior to the Effective Time, or (iii)
                      owned by UserTesting stockholders who have properly exercised and validly perfected their statutory rights
                      of appraisal in respect of such shares of UserTesting common stock in accordance with Section 262 of the
                      DGCL (collectively, the “Excluded Shares”)) will be cancelled and automatically converted into the right to
                      receive $7.50 in cash, without interest thereon (the “Per Share Merger Consideration”), less any applicable
                      withholding taxes.
                           Prior to or at the Effective Time, Parent will deposit (or cause to be deposited) an amount of cash
                      sufficient to pay the aggregate Per Share Merger Consideration payable at Closing with a designated
                      payment agent for payment of each share of UserTesting common stock owned by each UserTesting
                      stockholder. For more information, please see the section of this proxy statement captioned “Proposal 1:
                      Adoption of the Merger Agreement - Exchange and Payment Procedures.”
                           After the Merger is completed, you will have the right to receive the Per Share Merger Consideration,
                      but you will no longer have any rights as a UserTesting stockholder (except that UserTesting stockholders
                      who properly exercise their appraisal rights may have the right to receive payment for the “fair value” of their




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                    shares determined pursuant to an appraisal proceeding, as contemplated by Delaware law). For more
                    information, please see the section of this proxy statement captioned “The Merger - Appraisal Rights.”

                    Treatment of Company Equity Awards

                    Company Options

                         Each option to purchase shares of UserTesting common stock (each, a “Company Option”) that is
                    vested in accordance with its terms and outstanding as of immediately prior to the Effective Time (each, a
                    “Vested Company Option”) will, automatically and without any required action on the part of the holder
                    thereof, be cancelled and converted into the right to receive an amount in cash, without interest, equal to the
                    product obtained by multiplying (x) the excess, if any, of (i) the Per Share Merger Consideration over (ii) the
                    per share exercise price for such Vested Company Option by (y) the total number of shares of UserTesting
                    common stock underlying such Vested Company Option, subject to applicable withholding taxes, provided,
                    however, that if the exercise price per share of UserTesting common stock of such Vested Company Option is
                    equal to or greater than the Per Share Merger Consideration, such Vested Company Option will be cancelled
                    without any cash payment or other consideration being made in respect thereof.
                          Each Company Option that is outstanding as of immediately prior to the Effective Time and that is not a
                    Vested Company Option (each, an “Unvested Company Option”) will, automatically and without any required
                    action on the part of the holder thereof, be converted into the contingent right to receive an amount in cash,
                    without interest, equal to the product obtained by multiplying (x) the excess, if any, of (i) the Per Share
                    Merger Consideration over (ii) the per share exercise price for such Unvested Company Option by (y) the
                    total number of shares of UserTesting common stock underlying such Unvested Company Option (the
                    “Unvested Company Option Consideration”), subject to applicable withholding taxes, provided, however,
                    that if the exercise price per share of UserTesting common stock of such Unvested Company Option is equal
                    to or greater than the Per Share Merger Consideration, such Unvested Company Option will be cancelled
                    without any cash payment or other consideration being made in respect thereof.

                         Subject to the holder’s continued service with Parent and its affiliates (including the Surviving
                    Corporation and its subsidiaries) through the applicable vesting dates, such Unvested Company Option
                    Consideration amounts will vest and become payable at the same time as the Unvested Company Option
                    from which such Unvested Company Option Consideration was converted would have vested and been
                    payable pursuant to its terms and, subject to certain exceptions, will otherwise remain subject to the same
                    terms and conditions as were applicable to the underlying Unvested Company Option immediately prior to
                    the Effective Time with respect to the receipt of the Unvested Company Option Consideration (without
                    limitation to any rights that the holder may have under any agreement with the Company in effect on the date
                    of the Merger Agreement).

                    Company RSUs

                         Each restricted stock unit award in respect of shares of UserTesting common stock (each, a “Company
                    RSU”) that is outstanding as of immediately prior to the Effective Time and either (x) held by a non-employee
                    member of the Board of Directors (whether vested or unvested) or (y) vested in accordance with its terms as
                    of the Effective Time (each, a “Vested Company RSU”) will, automatically and without any required action on
                    the part of the holder thereof, be cancelled and converted into the right to receive an amount in cash,
                    without interest, equal to the product obtained by multiplying (x) the total number of shares of UserTesting
                    common stock underlying such Vested Company RSU by (y) the Per Share Merger Consideration, subject to
                    applicable withholding taxes.
                         Each Company RSU that is outstanding as of immediately prior to the Effective Time and not a Vested
                    Company RSU (each, an “Unvested Company RSU”) will, automatically and without any required action on
                    the part of the holder thereof, be converted into the contingent right to receive an amount in cash, without
                    interest, equal to the product obtained by multiplying (x) the total number of shares of UserTesting common
                    stock underlying such Unvested Company RSU by (y) the Per Share Merger Consideration (the “Unvested
                    Company RSU Consideration”), subject to applicable withholding taxes.



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                           Subject to the holder’s continued service with Parent and its affiliates (including the Surviving
                      Corporation and its subsidiaries) through the applicable vesting dates, such Unvested Company RSU
                      Consideration amounts will vest and become payable at the same time as the Unvested Company RSU from
                      which such Unvested Company RSU Consideration was converted would have vested and been payable
                      pursuant to its terms and, subject to certain exceptions, will otherwise remain subject to the same terms and
                      conditions as were applicable to the underlying Unvested Company RSU immediately prior to the Effective
                      Time with respect to the receipt of the Unvested Company RSU Consideration (without limitation to any
                      rights that the holder may have under any agreement with the Company in effect on the date of the Merger
                      Agreement).

                      U.S. Federal Income Tax Consequences of the Merger

                           The receipt of cash by our stockholders in exchange for shares of UserTesting common stock in the
                      Merger will be a taxable transaction for U.S. federal income tax purposes. Such receipt of cash by a U.S.
                      Holder (as defined in the section of this proxy statement captioned “The Merger - U.S. Federal Income Tax
                      Consequences of the Merger”) generally will result in the recognition of gain or loss in an amount equal to
                      the difference, if any, between the amount of cash that such U.S. Holder receives in the Merger and such
                      U.S. Holder’s adjusted tax basis in the shares of UserTesting common stock surrendered pursuant to the
                      Merger.
                           A Non-U.S. Holder (as defined in the section of this proxy statement captioned “The Merger - U.S.
                      Federal Income Tax Consequences of the Merger”) generally will not be subject to U.S. federal income tax
                      with respect to the exchange of UserTesting common stock for cash in the Merger unless such Non-U.S.
                      Holder has certain connections to the United States, but may be subject to backup withholding tax unless
                      the Non-U.S. Holder complies with certain certification procedures or otherwise establishes a valid exemption
                      from backup withholding tax.

                          For more information, please see the section of this proxy statement captioned “The Merger - U.S.
                      Federal Income Tax Consequences of the Merger.”
                            UserTesting stockholders should consult their tax advisors concerning the U.S. federal income tax consequences
                      relating to the Merger in light of their particular circumstances and any consequences arising under the laws of any
                      state, local or non-U.S. tax jurisdiction.

                      Appraisal Rights
                           If the Merger is consummated, UserTesting stockholders and beneficial owners who continuously hold
                      or own shares of UserTesting common stock through the Effective Time, who do not vote in favor of the
                      adoption of the Merger Agreement, who properly demand appraisal of their shares and who do not withdraw
                      their demands or otherwise lose their rights to seek appraisal will be entitled to seek appraisal of their shares
                      in connection with the Merger under Section 262 of the DGCL. This means that record holders and beneficial
                      owners of UserTesting common stock may be entitled to have their shares appraised by the Delaware Court
                      of Chancery, and to receive payment in cash of the “fair value” of their shares of UserTesting common stock,
                      exclusive of any elements of value arising from the accomplishment or expectation of the Merger, together
                      with interest to be paid on the amount determined to be “fair value,” if any, as determined by the court (or in
                      certain circumstances described in further detail in the section of this proxy statement captioned “The
                      Merger - Appraisal Rights,” on the difference between the amount determined to be the “fair value” and the
                      amount paid by the Surviving Corporation in the Merger to each person entitled to appraisal prior to the
                      entry of judgment in any appraisal proceeding). Due to the complexity of the appraisal process, persons who
                      wish to seek appraisal of their shares are encouraged to seek the advice of legal counsel with respect to the
                      exercise of appraisal rights.
                           UserTesting stockholders and beneficial owners considering seeking appraisal should be aware that the
                      “fair value” of their shares as determined pursuant to Section 262 of the DGCL could be more than, the same
                      as, or less than the value of the Per Share Merger Consideration that they would receive pursuant to the
                      Merger Agreement if they did not seek appraisal of their shares of UserTesting common stock.
                            To exercise appraisal rights, record holders and beneficial owners of UserTesting common stock must:
                      (i) properly submit a written demand for appraisal to us before the vote is taken on the proposal to adopt




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                      the Merger Agreement; (ii) not submit a proxy or otherwise vote in favor of the proposal to adopt the Merger
                      Agreement; (iii) hold or own such shares upon the making of a demand under clause (i) and continue to hold
                      or own their shares of UserTesting common stock through the Effective Time; (iv) not thereafter withdraw
                      their demand for appraisal of their shares or otherwise lose their appraisal rights, each in accordance with the
                      DGCL; and (v) strictly comply with all other procedures for exercising appraisal rights under the DGCL.
                      Failure to follow exactly the procedures specified under the DGCL may result in the loss of appraisal rights.
                      In addition, the Delaware Court of Chancery will dismiss appraisal proceedings in respect of UserTesting
                      unless certain stock ownership conditions are satisfied by UserTesting stockholders and beneficial owners
                      seeking appraisal. The DGCL requirements for exercising appraisal rights are described in further detail in
                      this proxy statement, which is qualified in its entirety by Section 262 of the DGCL, the relevant section of the
                      DGCL regarding appraisal rights. A copy of Section 262 of the DGCL is reproduced in Annex C to this proxy
                      statement. For more information, please see the section of this proxy statement captioned “The Merger -
                      Appraisal Rights.”

                      Litigation Related to the Merger

                           Two lawsuits have been filed in federal courts against UserTesting and its directors: O’Dell v.
                      UserTesting, Inc., et al., 1:22-cv-10071 (S.D.N.Y.), and Glanville v. UserTesting, Inc., et al., 3:22-cv-07568
                      (N.D. Cal.) (collectively, the “Stockholder Litigation”). The complaints name UserTesting and our directors as
                      defendants. The complaints assert claims under Section 14(a) and Section 20(a) of the Exchange Act and
                      Rule 14a-19 promulgated thereunder, and generally allege that the preliminary proxy statement misrepresents
                      and/or omits certain purportedly material information relating to the Merger, including allegations relating to
                      the background of the Merger, financial projections, analyses of our financial advisor and conflicts of
                      interest by company insiders in pursuing the Merger. The complaints seek a variety of equitable and
                      injunctive relief including, among other things, an injunction enjoining the consummation of the Merger,
                      rescission of the Merger Agreement, rescission of the Merger if it is consummated, rescissory damages and
                      costs and attorneys’ fees. We have not yet responded to the complaints filed in the Stockholder Litigation.
                           In addition, three purported stockholders of UserTesting sent demand letters regarding the preliminary
                      proxy statement (the “Demand Letters”). Based on the same core allegations as the Stockholder Litigation,
                      the Demand Letters request that we disseminate corrective disclosures in an amendment or supplement to
                      the preliminary proxy statement.

                           We believe the Stockholder Litigation and the Demand Letters are without merit, but there can be no
                      assurance that we will ultimately prevail in the Stockholder Litigation or all such lawsuits. Additionally,
                      additional lawsuits may be filed and demand letters may be sent before the Special Meeting and/or the
                      consummation of the Merger.

                      Regulatory Approvals Required for the Merger

                      HSR Act, U.S. Antitrust Matters and Other Regulatory Approvals
                           Under the Merger Agreement, the Merger cannot be completed until the applicable 30-calendar-day
                      waiting period under the Hart-Scott-Rodino Antitrust Improvements Act of 1976, as amended (the “HSR
                      Act”), has expired or been terminated. UserTesting and Thoma Bravo made the filings required under the
                      HSR Act on November 9, 2022. Completion of the Merger is further subject to certain regulatory actions by
                      the United Kingdom Competition and Markets Authority (“CMA”) and the Australian Competition and
                      Consumer Commission (“ACCC”).

                          For more information, please see the section of this proxy statement captioned “The Merger -
                      Regulatory Approvals Required for the Merger.”

                      Closing Conditions

                           The obligations of UserTesting, Parent and Merger Sub, as applicable, to effect the Merger are subject
                      to the satisfaction or waiver of customary conditions, including (among other conditions), the following:
                           • the adoption of the Merger Agreement by the requisite affirmative vote of our stockholders;


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                         • the expiration or early termination of the applicable waiting period under the HSR Act and the
                           absence of any agreement with a governmental entity not to close the Merger;
                         • certain regulatory actions by the CMA and ACCC;
                         • the absence of any laws or court orders making the Merger illegal or otherwise prohibiting the
                           Merger;
                         • in the case of Parent and Merger Sub, the absence, since the date of the Merger Agreement, of any
                           continuing change, event, effect or circumstance at UserTesting that would reasonably be expected
                           to have a material adverse effect (with certain limitations) on the business, results of operations or
                           financial condition of UserTesting and our subsidiaries, taken as a whole;
                         • the accuracy of the representations and warranties of UserTesting, Parent and Merger Sub in the
                           Merger Agreement, subject to materiality qualifiers and monetary thresholds, as of the Effective Time
                           or the date in respect of which such representation or warranty was specifically made (the
                           “Representation Condition”);
                         • the performance in all material respects by UserTesting, Parent and Merger Sub of their respective
                           obligations and compliance in all material respects with all covenants required to be performed by
                           them under the Merger Agreement at or prior to the Effective Time (the “Covenant Condition”);
                         • the receipt by Parent of a certificate of UserTesting, dated as of the Closing Date and signed by our
                           chief executive officer, certifying that the Representation Condition and the Covenant Condition,
                           each in respect of UserTesting, have been satisfied;
                         • the receipt by Parent of certain customary payoff letters for certain indebtedness for borrowed
                           money, as contemplated in the Merger Agreement; and
                         • the receipt by UserTesting of a certificate of Parent and Merger Sub, dated as of the Closing Date and
                           signed by their respective president or chief executive officer, certifying that the Representation
                           Condition and the Covenant Condition, each in respect of Parent and Merger Sub, have been
                           satisfied.

                     Financing of the Merger

                          We presently anticipate that the total funds needed to complete the Merger and the related transactions
                     will be approximately $1.3 billion, which will be funded via equity and, potentially, debt financing described
                     below together with our cash on hand as of the Closing Date.

                           The obligation of Parent and Merger Sub to consummate the Merger is not subject to any financing
                     condition. Parent and Merger Sub have represented to us that, subject to the satisfaction of certain
                     conditions set forth in the Merger Agreement, the equity financing contemplated by the Equity Commitment
                     Letters, if funded in accordance with the Equity Commitment Letters, will, together with cash on hand or
                     other sources of immediately available funds, provide Parent with sufficient funds to pay the fees and
                     expenses required to be paid at the Closing of the Merger by Parent and Merger Sub and Parent’s other
                     affiliates on the Closing Date. This includes funds needed to: (1) pay our stockholders the amounts due
                     under the Merger Agreement for their UserTesting common stock, (2) make payments in respect of our
                     outstanding Company Options and Company RSUs payable at the Closing of the Merger pursuant to the
                     Merger Agreement; and (3) repayment or refinancing of certain indebtedness (collectively, the “Required
                     Amounts”).

                          The Thoma Bravo Funds and the Sunstone Partners Funds have committed to contribute or cause to be
                     contributed to Parent at the Closing of the Merger certain equity financing, each subject to the terms and
                     conditions set forth in their respective Equity Commitment Letters. We are an intended and express third-
                     party beneficiary of the Equity Commitment Letters solely with respect to enforcing Parent’s right to cause
                     the commitment under the Equity Commitment Letters by the Thoma Bravo Funds or the Sunstone Partners
                     Funds, as applicable, to be funded to Parent in accordance with such Equity Commitment Letters, and to
                     cause Parent to enforce its rights against the Thoma Bravo Funds or the Sunstone Partners Funds, as
                     applicable, to perform its funding obligations under the respective Equity Commitment Letter, in each case
                     subject to (i) the limitations and conditions set forth in the applicable Equity Commitment Letter and (ii) the
                     terms and conditions of the Merger Agreement.


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                           The Thoma Bravo Funds and the Sunstone Partners Funds have agreed, pursuant to the terms and
                      conditions set forth in two limited guaranties, each dated as of October 26, 2022 (the “Guaranties”), to
                      guarantee payment of certain liabilities and obligations of Parent or Merger Sub under the Merger
                      Agreement, subject to an aggregate cap equal to $56,464,408 for the Thoma Bravo Funds and $11,295,592 for
                      the Sunstone Partners Funds, including any termination fee and amounts in respect of certain reimbursement
                      and indemnification obligations of Parent and Merger Sub for certain costs, expenses or losses incurred or
                      sustained by us, as specified in the Merger Agreement. For more information, please see the section of this
                      proxy statement captioned “The Merger - Financing of the Merger.”

                           We have agreed to use our reasonable best efforts to provide, and to cause our subsidiaries (and their
                      respective representatives) to use their reasonable best efforts to provide, to Parent and Merger Sub such
                      cooperation as is customary and reasonably requested by Parent in connection with the arrangement of the
                      potential debt financing contemplated by the Merger Agreement, in each case subject to the terms of and as
                      set forth in the Merger Agreement. For more information, please see the section of this proxy statement
                      captioned “The Merger - Cooperation with Debt Financing.”

                      Required Stockholder Approval

                           The affirmative vote of the holders of a majority of the issued and outstanding shares of UserTesting
                      common stock entitled to vote at the Special Meeting is required to adopt the Merger Agreement. At the
                      close of business on December 2, 2022 (the “Record Date”), 73,429,540 votes constitute a majority of the
                      issued and outstanding shares of our common stock. Approval of the proposal to adjourn the Special
                      Meeting (the “adjournment proposal”), if a quorum is present, requires the affirmative vote of the holders of
                      a majority of the issued and outstanding shares of UserTesting common stock entitled to vote that are
                      present in person or represented by proxy at the Special Meeting and are voted for or against the matter.
                           As of the Record Date, our directors and executive officers beneficially owned and were entitled to vote,
                      in the aggregate, 39,107,032 shares of UserTesting common stock, representing approximately 26.6% of the
                      shares of UserTesting common stock issued and outstanding as of the Record Date.

                          We currently expect that our directors and executive officers will vote all of their respective shares of
                      UserTesting common stock: (1) “FOR” the adoption of the Merger Agreement and (2) “FOR” the
                      adjournment proposal.

                      The Special Meeting

                      Date, Time and Place

                           A special meeting of our stockholders to consider and vote on the proposal to adopt the Merger
                      Agreement will be held on January 10, 2023, at 10:00 a.m., Pacific Time (the “Special Meeting”). We will hold
                      the Special Meeting virtually via the Internet at www.virtualshareholdermeeting.com/USER2023SM (the
                      “virtual meeting website”). You will not be able to attend the Special Meeting physically in person. For
                      purposes of attendance at the Special Meeting, all references in this proxy statement to “present in person”
                      or “in person” shall mean virtually present at the Special Meeting.

                      Record Date; Shares Entitled to Vote
                           You are entitled to vote at the Special Meeting if you owned shares of UserTesting common stock at the
                      close of business on the Record Date. Each holder of UserTesting common stock shall be entitled to one (1)
                      vote for each such share owned at the close of business on the Record Date.

                      Quorum

                           As of the Record Date, there were 146,859,078 shares of UserTesting common stock issued and
                      outstanding and entitled to vote at the Special Meeting. The holders of a majority of the voting power of the
                      shares of our capital stock issued and outstanding and entitled to vote at the Special Meeting as of the
                      Record Date, present in person or represented by proxy, will constitute a quorum at the Special Meeting.


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                      Recommendation of the UserTesting Board of Directors

                           The Board of Directors has unanimously: (i) determined that it is in the best interests of UserTesting
                      and our stockholders, and declared it advisable, to enter into the Merger Agreement; (ii) approved the
                      execution, delivery and performance of the Merger Agreement and the consummation of the transactions
                      contemplated thereby; and (iii) resolved to recommend that our stockholders adopt the Merger Agreement.
                      The Board of Directors unanimously recommends that you vote: (1) “FOR” the adoption of the Merger
                      Agreement and (2) “FOR” the adjournment of the Special Meeting, if necessary or appropriate, to solicit
                      additional proxies if there are insufficient votes to adopt the Merger Agreement at the time of the Special
                      Meeting.
                           Prior to the adoption of the Merger Agreement by our stockholders, under certain circumstances, the
                      Board of Directors may withdraw or change the foregoing recommendation if it determines in good faith
                      (after consultation with its outside legal and financial advisors) that failure to do so would reasonably be
                      expected to be inconsistent with the Board of Directors’ fiduciary duties to UserTesting stockholders under
                      applicable law. However, the Board of Directors cannot withdraw or change the foregoing recommendation
                      unless it complies with certain procedures in the Merger Agreement, including, but not limited to,
                      negotiating with Parent and its representatives in good faith over a four (4)-business-day period, after which
                      the Board of Directors shall have determined that the failure of the Board of Directors to make a Change of
                      Recommendation (as defined in the section of this proxy statement captioned “Proposal 1: Adoption of the
                      Merger Agreement - The Board of Directors’ Recommendation; Change of Recommendation”) would
                      reasonably be expected to be inconsistent with the Board of Directors’ fiduciary duties to UserTesting
                      stockholders under applicable law. The termination of the Merger Agreement by us following the Board of
                      Directors’ authorization for us to enter into a definitive agreement to consummate an alternative transaction
                      contemplated by a Superior Proposal (as defined in the section of this proxy statement captioned “Proposal
                      1: Adoption of the Merger Agreement - The Go-Shop Period - Solicitation of Other Offers”) will result in the
                      payment by us of a termination fee of either (i) $10,160,000 if the Merger Agreement is terminated before
                      11:59 p.m. Pacific Time on December 20, 2022 for the purpose of entering into an agreement with respect to a
                      Superior Proposal received from an Excluded Party (as defined in the section of this proxy statement
                      captioned “Proposal 1: Adoption of the Merger Agreement - The Go-Shop Period - Solicitation of Other
                      Offers”) or (ii) $33,880,000, in the case of any other such termination. For more information, please see the
                      section of this proxy statement captioned “Proposal 1: Adoption of the Merger Agreement - The Board of
                      Directors’ Recommendation; Change of Recommendation.”

                      Opinion of Morgan Stanley & Co. LLC
                           In connection with the Merger, Morgan Stanley & Co. LLC (which we refer to as “Morgan Stanley”)
                      rendered to the Board of Directors its oral opinion, subsequently confirmed in writing, that as of October 26,
                      2022, and based upon and subject to the assumptions made, procedures followed, matters considered and
                      qualifications and limitations on the scope of review undertaken by Morgan Stanley as set forth in the
                      written opinion, the $7.50 per share in cash to be received by the holders of shares of UserTesting common
                      stock (other than the holders of the Excluded Shares) pursuant to the Merger Agreement was fair from a
                      financial point of view to such holders of shares of UserTesting common stock, as set forth in such opinion
                      as more fully described in the section of this proxy statement captioned “The Merger - Opinion of Morgan
                      Stanley & Co. LLC.”

                           The full text of the written opinion of Morgan Stanley, dated as of October 26, 2022, which sets forth, among
                      other things, the assumptions made, procedures followed, matters considered and qualifications and limitations on the
                      scope of the review undertaken by Morgan Stanley in rendering its opinion, is attached to this proxy statement as
                      Annex B and incorporated by reference in this proxy statement in its entirety. The summary of the opinion of Morgan
                      Stanley in this proxy statement is qualified in its entirety by reference to the full text of the opinion. You are
                      encouraged to read Morgan Stanley’s opinion carefully and in its entirety. Morgan Stanley’s opinion was directed to
                      the Board of Directors, in its capacity as such, and addresses only the fairness from a financial point of view of the
                      $7.50 per share in cash to be received by holders of shares of UserTesting common stock (other than the holders of the
                      Excluded Shares) pursuant to the Merger Agreement as of the date of the opinion and does not address the relative
                      merits of the Merger as compared to any other alternative business transaction, or other alternatives, or whether or
                      not such alternatives could be achieved or are



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                      available. It was not intended to, and does not, constitute an opinion or a recommendation as to how UserTesting
                      stockholders should vote at the Special Meeting.
                           For more information, see the section of this proxy statement captioned “The Merger - Opinion of Morgan
                      Stanley & Co. LLC.”

                      Interests of Our Executive Officers and Directors in the Merger

                           When considering the foregoing recommendation of the Board of Directors that you vote to approve
                      the proposal to adopt the Merger Agreement, UserTesting stockholders should be aware that certain of our
                      non-employee directors and executive officers have interests in the Merger that are different from, or in
                      addition to, those of our stockholders generally. The Board of Directors was aware of and considered these
                      interests, among other matters, in evaluating and negotiating the Merger Agreement, approving the Merger
                      Agreement and the Merger, and recommending that the Merger Agreement be adopted by our stockholders.
                      These interests include:
                           • at the Effective Time, each Company Option and Company RSU held by an executive officer or
                             director will receive the treatment described in the section of this proxy statement captioned “The
                             Merger - Interests of Our Executive Officers and Directors in the Merger - Treatment and
                             Quantification of Company Equity Awards”;
                           • eligibility of our executive officers to receive severance payments and benefits (including equity
                             award vesting acceleration) under their change in control and severance agreements, as described in
                             more detail in the section of this proxy statement captioned “The Merger - Interests of Our Executive
                             Officers and Directors in the Merger - Change in Control and Severance Agreements”; and
                           • continued indemnification and directors’ and officers’ liability insurance to be provided by the
                             Surviving Corporation.

                           In addition, upon completion of the Merger, it is anticipated that our Chief Executive Officer and,
                      potentially, other members of our management team, will serve as members of the management team of the
                      Surviving Corporation. Following the closing of the transaction, Thoma Bravo and Sunstone Partners intend
                      to combine UserTesting and UserZoom. As of the date of this proxy statement, none of our executive officers
                      has entered into any agreement with Parent or any of its affiliates regarding employment with, or the right to
                      purchase or participate in the equity of, the Surviving Corporation or one or more of its affiliates. Prior to and
                      following the closing of the Merger, however, certain of our executive officers may have discussions, and
                      following the closing of the Merger, may enter into agreements with, Parent or Merger Sub, their subsidiaries
                      or their respective controlled affiliates regarding employment with, or the right to purchase or participate in
                      the equity of, the Surviving Corporation or one or more of its affiliates.
                           If the proposal to adopt the Merger Agreement is approved, the shares of UserTesting common stock
                      held by our directors and executive officers will be treated in the same manner as issued and outstanding
                      shares of UserTesting common stock held by all other UserTesting stockholders except as may be provided
                      for pursuant to specific agreements. For more information, see the section of this proxy statement captioned
                      “The Merger - Interests of Our Executive Officers and Directors in the Merger.”

                      Alternative Acquisition Proposals

                      The Go-Shop Period - Solicitation of Other Alternative Acquisition Proposals

                           Under the Merger Agreement, from the date of the Merger Agreement until 11:59 p.m. Pacific Time on
                      December 10, 2022 (such date, the “No-Shop Period Start Date” and, such period, the “Go-Shop Period”), we
                      and our subsidiaries and respective representatives have the right to, among other things: (i) solicit, initiate,
                      propose, induce the making or submission of, encourage or facilitate in any way any offer or proposal that
                      constitutes, or could reasonably be expected to lead to, an Alternative Acquisition Proposal (as defined in
                      the section of this proxy statement captioned “Proposal 1: Adoption of the Merger Agreement - The Go-
                      Shop Period - Solicitation of Other Offers”), including by providing information (including non-public
                      information and data) of or affording access to UserTesting and our subsidiaries to any third person that has
                      entered into an Acceptable Confidentiality Agreement (as defined in the section of this proxy




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                    statement captioned “Proposal 1: Adoption of the Merger Agreement - The Go-Shop Period - Solicitation of
                    Other Offers”); and (ii) continue, enter into, engage in or otherwise participate in any discussions or
                    negotiations with any third person regarding any Alternative Acquisition Proposals, and cooperate with or
                    assist or participate in, or facilitate in any way, any such inquiries, offers, proposals, discussions or
                    negotiations or any effort or attempt to make any Alternative Acquisition Proposals or other proposals that
                    could reasonably be expected to lead to Alternative Acquisition Proposals, including by granting a waiver,
                    amendment or release under any pre-existing “standstill” or other similar provision to the extent necessary to
                    allow for an Alternative Acquisition Proposal or amendment to an Alternative Acquisition Proposal to be
                    made confidentially to UserTesting or to the Board of Directors. To date, we have not received any offer or
                    proposal that constituted, or could reasonably be expected to lead to, an Alternative Acquisition Proposal
                    during the Go-Shop Period.

                    The No-Shop Period - No Solicitation of Other Alternative Acquisition Proposals

                         Under the Merger Agreement, from the No-Shop Period Start Date until the earlier of the Effective Time
                    and the date on which the Merger Agreement is validly terminated pursuant to its terms (the “Termination
                    Date”), we may not: (i) solicit, initiate or knowingly encourage, or knowingly facilitate the making or
                    submission of any offer or proposal that constitutes, or would reasonably be expected to lead to, an
                    Alternative Acquisition Proposal; (ii) participate in discussions or negotiations with, or provide any non-
                    public information to, any person relating to, an Alternative Acquisition Proposal; (iii) approve, endorse or
                    recommend any proposal that constitutes, or would be reasonably expected to lead to, an Alternative
                    Acquisition Proposal; or (iv) enter into any contract relating to an Alternative Acquisition Proposal, other
                    than a confidentiality agreement permitted pursuant to the terms of the Merger Agreement.
                         Notwithstanding the foregoing, under certain specified circumstances, from the No-Shop Period Start
                    Date until the adoption of the Merger Agreement by our stockholders, we may, among other things, engage
                    in negotiations or discussions with, and provide information to, a third party (and its representatives and
                    potential debt and equity financing sources) in respect of an Alternative Acquisition Proposal that was not
                    received in response to or as a result of our obligations set forth in the immediately preceding paragraph, if
                    the Board of Directors determines in good faith, after consultation with outside legal counsel and financial
                    advisors, that such Alternative Acquisition Proposal either constitutes a Superior Proposal (as defined in the
                    section of this proxy statement captioned “Proposal 1: Adoption of the Merger Agreement - The Go-Shop
                    Period - Solicitation of Other Offers”) or could reasonably be expected to lead to a Superior Proposal and the
                    Board of Directors (or a committee thereof) has determined in good faith that the failure to take the actions in
                    respect of such Alternative Acquisition Proposal would be inconsistent with its fiduciary duties under
                    applicable law. For more information, please see the section of this proxy statement captioned “Proposal 1:
                    Adoption of the Merger Agreement - The No-Shop Period - No Solicitation of Other Offers.”

                         Both during the Go-Shop Period and after the No-Shop Period Start Date but prior to the adoption of the
                    Merger Agreement by our stockholders, we are entitled to terminate the Merger Agreement to enter into a
                    definitive agreement in respect of a Superior Proposal only if it complies with certain procedures in the
                    Merger Agreement, including, but not limited to, negotiating with Parent in good faith over a four (4)-
                    business-day period in an effort to amend the terms and conditions of the Merger Agreement and other
                    agreements so that such Superior Proposal no longer constitutes a Superior Proposal relative to the
                    transactions contemplated by the Merger Agreement, amended pursuant to such negotiations.

                          The termination of the Merger Agreement by us following the Board of Directors’ authorization for us to enter
                    into a definitive agreement to consummate an alternative transaction contemplated by a Superior Proposal will result
                    in the payment by us of a termination fee of either (i) $10,160,000 if the Merger Agreement is terminated before 11:59
                    p.m. Pacific Time on December 20, 2022 for the purpose of entering into an agreement with respect to a Superior
                    Proposal received from an Excluded Party and we have complied in all material respects with the non-solicitation
                    provisions set forth in the Merger Agreement with respect to such Superior Proposal or (ii) $33,880,000, in the case
                    of any other such termination. For more information, please see the section of this proxy statement captioned
                    “Proposal 1: Adoption of the Merger Agreement - The Board of Directors’ Recommendation; Change of
                    Recommendation.”




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                      Termination of the Merger Agreement

                           In addition to the circumstances described above, Parent and UserTesting have certain rights to
                      terminate the Merger Agreement under customary circumstances, including by mutual agreement, if the
                      Merger has not been consummated on or before April 26, 2023 (the “Initial End Date”) (subject to an
                      automatic extension until October 26, 2023 (the “First Extended End Date”) in the event the Effective Time
                      has not occurred due to the failure to have satisfied certain regulatory conditions as of the close of business
                      on the date that is two (2) business days immediately prior to the Initial End Date, and, subject to another
                      automatic extension until January 26, 2024 in the event that the Effective Time has not occurred due to the
                      failure to have satisfied certain regulatory conditions as of the close of business on the date that is two (2)
                      business days immediately prior to the Initial End Date as a result of ongoing review by the CMA (as further
                      described in the section of this proxy statement captioned “Proposal 1: Adoption of the Merger Agreement -
                      Termination of the Merger Agreement”)), the imposition of non-appealable court orders that permanently
                      enjoin or otherwise prohibit the Merger, if our stockholders fail to adopt the Merger Agreement at the Special
                      Meeting (or any adjournment or postponement thereof) or an uncured breach of the Merger Agreement by
                      the other party. The term “End Date” shall mean the Initial End Date, unless the Initial End Date has initially
                      been extended according to the foregoing, in which case, the term “End Date” shall mean the First Extended
                      End Date, unless the First Extended End Date has been extended according to the foregoing, in which case,
                      the term “End Date” shall mean the Second Extended End Date. Under certain circumstances, (i) we are
                      required to pay Parent a termination fee equal to either $10,160,000 or $33,880,000; and (ii) Parent is required
                      to pay us a termination fee equal to $67,760,000. Please see the section of this proxy statement captioned
                      “Proposal 1: Adoption of the Merger Agreement - Termination Fee.”

                      Effect on UserTesting if the Merger Is Not Completed
                           If the Merger Agreement is not adopted by our stockholders, or if the Merger is not completed for any
                      other reason:

                           i.     UserTesting stockholders will not be entitled to, nor will they receive, any payment for their
                                  respective shares of our common stock pursuant to the Merger Agreement;

                           ii.    (A) we will remain an independent public company; (B) our common stock will continue to be listed
                                  and traded on the NYSE and registered under the Exchange Act; and (C) we will continue to file
                                  periodic reports with the SEC; and

                           iii.   under certain specified circumstances, we will be required to pay Parent a termination fee of either
                                  $10,160,000 or $33,880,000, upon the termination of the Merger Agreement. For more information,
                                  please see the section of this proxy statement captioned “Proposal 1: Adoption of the Merger
                                  Agreement - Termination Fee.”




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                                                                QUESTIONS AND ANSWERS

                          The following questions and answers address some commonly asked questions regarding the Merger,
                     the Merger Agreement and the Special Meeting. These questions and answers may not address all questions
                     that are important to you. You should carefully read and consider the more detailed information contained
                     elsewhere in this proxy statement and the annexes to this proxy statement, including, but not limited to, the
                     Merger Agreement, along with all of the documents we refer to in this proxy statement, as they contain
                     important information about, among other things, the Merger and how it affects you. You may obtain the
                     information incorporated herein by reference without charge by following the instructions under the caption,
                     “Where You Can Find More Information.”

                     Q:   Why am I receiving these materials?

                     A:   The Board of Directors is furnishing this proxy statement and form of proxy card to our stockholders in
                          connection with the solicitation of proxies to be voted at the Special Meeting.

                     Q:   When and where is the Special Meeting?

                     A:   We will hold the Special Meeting virtually via the Internet at the virtual meeting website. You will not be
                          able to attend the Special Meeting physically in person.

                     Q:   What am I being asked to vote on at the Special Meeting?

                     A:   You are being asked to vote on the following proposals:
                          (i)   to adopt the Merger Agreement pursuant to which Merger Sub will merge with and into
                                UserTesting, and UserTesting will become a wholly owned subsidiary of Parent; and

                          (ii) to approve the adjournment of the Special Meeting to a later date or dates, if necessary or
                               appropriate, to solicit additional proxies if there are insufficient votes to adopt the Merger
                               Agreement at the time of the Special Meeting.

                     Q:   Who is entitled to vote at the Special Meeting?

                     A:   Our stockholders as of the close of business on December 2, 2022 (the “Record Date”) are entitled to
                          notice of the Special Meeting and to vote at the Special Meeting. Each holder of our common stock
                          shall be entitled to cast one (1) vote on each matter properly brought before the Special Meeting for
                          each such share owned at the close of business on the Record Date.

                     Q:   May I attend the Special Meeting and vote in person?

                     A:   Yes. If you are a UserTesting stockholder of record, you may attend the Special Meeting virtually via
                          the Internet at the virtual meeting website on www.virtualshareholdermeeting.com/USER2023SM, and
                          complete a virtual ballot, whether or not you sign and return your proxy card. If you are a UserTesting
                          stockholder of record, you will need your assigned control number to vote shares electronically at the
                          Special Meeting. The control number can be found on the proxy card, voting instruction form or other
                          applicable proxy notices.

                          Even if you plan to attend the Special Meeting in person, to ensure that your shares will be represented
                          at the Special Meeting, we encourage you to sign, date and return the enclosed proxy card in the
                          accompanying prepaid reply envelope or grant your proxy electronically over the Internet or by
                          telephone (using the instructions provided in the enclosed proxy card). If you attend the Special
                          Meeting and complete a virtual ballot, your vote will revoke any proxy previously submitted.

                          If you hold your shares in “street name,” you should instruct your bank, broker or other nominee how
                          to vote your shares in accordance with the voting instruction form that you will receive from your bank,
                          broker or other nominee. Your broker or other agent cannot vote on any of the proposals, including the
                          proposal to adopt the Merger Agreement, without your instructions. If you hold your shares in “street
                          name,” you may not vote your shares in person at the Special Meeting unless you obtain a “legal
                          proxy” from your bank, broker or other nominee.


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                    Q:   What will I receive in respect of my shares of UserTesting common stock if the Merger is completed?
                    A:   Upon completion of the Merger, you will be entitled to receive the Per Share Merger Consideration of
                         $7.50 in cash, subject to applicable withholding taxes, for each share of UserTesting common stock that
                         you own, unless you have properly exercised and not withdrawn your appraisal rights under the DGCL.
                         For example, if you own 100 shares of UserTesting common stock, you will receive $750.00 in cash in
                         exchange for your shares of UserTesting common stock, subject to applicable withholding taxes.

                    Q:   What will the holders of outstanding Company Options and Company RSUs receive if the Merger is completed?
                    A:   Upon completion of the Merger:

                         Each Vested Company Option will, automatically and without any required action on the part of the
                         holder thereof, be cancelled and converted into the right to receive an amount in cash, without interest,
                         equal to the product obtained by multiplying (x) the excess, if any, of (i) the Per Share Merger
                         Consideration over (ii) the per share exercise price for such Vested Company Option, by (y) the total
                         number of shares of UserTesting common stock underlying such Vested Company Option, subject to
                         applicable withholding taxes, provided, however, that if the exercise price per share of UserTesting
                         common stock of such Vested Company Option is equal to or greater than the Per Share Merger
                         Consideration, such Vested Company Option will be cancelled without any cash payment or other
                         consideration being made in respect thereof.
                         Each Unvested Company Option will, automatically and without any required action on the part of the
                         holder thereof, be converted into the contingent right to receive an amount in cash, without interest,
                         equal to the product obtained by multiplying (x) the excess, if any, of (i) the Per Share Merger
                         Consideration over (ii) the per share exercise price for such Unvested Company Option, by (y) the total
                         number of shares of UserTesting common stock underlying such Unvested Company Option, subject to
                         applicable withholding taxes, provided, however, that if the exercise price per share of UserTesting
                         common stock of such Unvested Company Option is equal to or greater than the Per Share Merger
                         Consideration, such Unvested Company Option will be cancelled without any cash payment or other
                         consideration being made in respect thereof. Subject to the holder’s continued service with Parent and
                         its affiliates (including the Surviving Corporation and its subsidiaries) through the applicable vesting
                         dates, such Unvested Company Option Consideration amounts will vest and become payable at the
                         same time as the Unvested Company Option from which such Unvested Company Option Consideration
                         was converted would have vested and been payable pursuant to its terms and, subject to certain
                         exceptions, will otherwise remain subject to the same terms and conditions as were applicable to the
                         underlying Unvested Company Option immediately prior to the Effective Time with respect to the receipt
                         of the Unvested Company Option Consideration (without limitation to any rights that the holder may
                         have under any agreement with the Company in effect on the date of the Merger Agreement).
                         Each Vested Company RSU will, automatically and without any required action on the part of the holder
                         thereof, be cancelled and converted into the right to receive an amount in cash, without interest, equal
                         to the product obtained by multiplying (x) the total number of shares of UserTesting common stock
                         underlying such Vested Company RSU, by (y) the Per Share Merger Consideration, subject to applicable
                         withholding taxes.

                         Each Unvested Company RSU will, automatically and without any required action on the part of the
                         holder thereof, be converted into the contingent right to receive an amount in cash, without interest,
                         equal to the product obtained by multiplying (x) the total number of shares of UserTesting common
                         stock underlying such Unvested Company RSU, by (y) the Per Share Merger Consideration, subject to
                         applicable withholding taxes. Subject to the holder’s continued service with Parent and its affiliates
                         (including the Surviving Corporation and its subsidiaries) through the applicable vesting dates, such
                         Unvested Company RSU Consideration amounts will vest and become payable at the same time as the
                         Unvested Company RSU from which such Unvested Company RSU Consideration, was converted
                         would have vested and been payable pursuant to its terms and, subject to certain exceptions, will
                         otherwise remain subject to the same terms and conditions as were applicable to the underlying
                         Unvested


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                         Company RSU immediately prior to the Effective Time with respect to the receipt of the Unvested
                         Company RSU Consideration (without limitation to any rights that the holder may have under any
                         agreement with the Company in effect on the date of the Merger Agreement).
                    Q:   What vote is required to adopt the Merger Agreement?

                    A:   The affirmative vote of the holders of a majority of the issued and outstanding shares of UserTesting
                         common stock entitled to vote at the Special Meeting is required to adopt the Merger Agreement.

                         If a quorum is present at the Special Meeting, the failure of any UserTesting stockholder of record to: (i)
                         submit a signed proxy card; (ii) grant a proxy over the Internet or by telephone (using the instructions
                         provided in the enclosed proxy card); or (iii) vote in person by virtual ballot at the Special Meeting will
                         have the same effect as a vote “AGAINST” the proposal to adopt the Merger Agreement. If you hold
                         your shares in “street name” and a quorum is present at the Special Meeting, the failure to instruct your
                         bank, broker or other nominee how to vote your shares will have the same effect as a vote “AGAINST”
                         the proposal to adopt the Merger Agreement. If a quorum is present at the Special Meeting, abstentions
                         will have the same effect as a vote “AGAINST” the proposal to adopt the Merger Agreement but will
                         have no effect on any proposal to adjourn the Special Meeting to a later date or dates to solicit
                         additional proxies if there are insufficient votes to adopt the Merger Agreement at the time of the Special
                         Meeting. Each “broker non-vote” will also count as a vote “AGAINST” the proposal to adopt the
                         Merger Agreement but will have no effect on any proposal to adjourn the Special Meeting to a later date
                         or dates to solicit additional proxies if there are insufficient votes to adopt the Merger Agreement at the
                         time of the Special Meeting. If you properly sign your proxy card but do not mark the boxes showing
                         how your shares should be voted on a matter, the shares represented by your properly signed proxy will
                         be voted: (1) “FOR” the adoption of the Merger Agreement and (2) “FOR” the adjournment of the
                         Special Meeting, if necessary or appropriate, to solicit additional proxies if there are insufficient votes to
                         adopt the Merger Agreement at the time of the Special Meeting.

                    Q:   I understand that a quorum is required in order to conduct business at the Special Meeting. What constitutes a
                         quorum?

                    A:   The holders of a majority of the voting power of the shares of our capital stock issued and outstanding
                         and entitled to vote at the Special Meeting as of the Record Date must be present at the Special
                         Meeting in order to hold the Special Meeting and conduct business. This presence is called a quorum.
                         Your shares are counted as present at the Special Meeting if you are present and vote at the Special
                         Meeting or if you have properly submitted a proxy.

                    Q:   What happens if the Merger is not completed?

                    A:   If the Merger Agreement is not adopted by our stockholders or if the Merger is not completed for any
                         other reason, UserTesting stockholders will not receive any payment for their shares of UserTesting
                         common stock. Instead, we will remain an independent public company, our common stock will continue
                         to be listed and traded on the NYSE and registered under the Exchange Act and we will continue to file
                         periodic reports with the SEC.

                         Under specified circumstances, we will be required to pay Parent a termination fee of either (i)
                         $10,160,000 if the Merger Agreement is terminated before December 20, 2022 for the purpose of entering
                         into an agreement with respect to a Superior Proposal received from an Excluded Party (as defined in the
                         section of this proxy statement captioned “Proposal 1: Adoption of the Merger Agreement - The Go-
                         Shop Period - Solicitation of Other Offers”) or (ii) $33,880,000, in the case of any other such termination,
                         as described in the section of this proxy statement captioned “Proposal 1: Adoption of the Merger
                         Agreement - Termination Fee.”
                    Q:   What do I need to do now?

                    A:   You should carefully read and consider this entire proxy statement and the annexes to this proxy
                         statement, including, but not limited to, the Merger Agreement, along with all of the documents that we
                         refer to in this proxy statement, as they contain important information about, among other things, the
                         Merger and how it affects you. Then sign, date and return, as promptly as possible, the enclosed proxy


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                         card in the accompanying reply envelope, or grant your proxy electronically over the Internet or by
                         telephone (using the instructions provided in the enclosed proxy card), so that your shares can be
                         voted at the Special Meeting, unless you wish to seek appraisal. If you hold your shares in “street
                         name,” please refer to the voting instruction forms provided by your bank, broker or other nominee to
                         vote your shares.
                    Q:   May I exercise dissenters’ rights or rights of appraisal in connection with the Merger?
                    A:   Yes. In order to exercise your appraisal rights, you must follow the requirements set forth in Section 262
                         of the DGCL. Under Delaware law, UserTesting stockholders of record who do not vote in favor of
                         adopting the Merger Agreement will have the right to seek appraisal of the “fair value” of their shares as
                         determined by the Court of Chancery of the State of Delaware if the merger is completed. Appraisal
                         rights will only be available to UserTesting stockholders who properly deliver, and do not properly
                         withdraw, a written demand for an appraisal to UserTesting prior to the vote on the proposal to adopt
                         the Merger Agreement at the Special Meeting and who comply with the procedures and requirements
                         set forth in Section 262 of the DGCL, which are summarized in this proxy statement. The appraisal
                         amount could be more than, the same as or less than the amount a UserTesting stockholder would be
                         entitled to receive under the terms of the Merger Agreement. A copy of Section 262 of the DGCL is
                         included as Annex C to this proxy statement. For additional information, see the section entitled “The
                         Merger - Appraisal Rights.”

                    Q:   Should I surrender my book-entry shares now?
                    A:   No. After the Merger is completed, the paying agent will send each holder of record a letter of
                         transmittal and written instructions that explain how to exchange shares of UserTesting common stock
                         represented by such holder’s book-entry shares for the Per Share Merger Consideration.

                    Q:   What happens if I sell or otherwise transfer my shares of UserTesting common stock after the Record Date but
                         before the Special Meeting?

                    A:   The Record Date for the Special Meeting is earlier than the date of the Special Meeting and the date the
                         Merger is expected to be completed. If you sell or transfer your shares of UserTesting common stock
                         after the Record Date but before the Special Meeting, unless special arrangements (such as provision of
                         a proxy) are made between you and the person to whom you sell or otherwise transfer your shares and
                         each of you notifies UserTesting in writing of such special arrangements, you will transfer the right to
                         receive the Per Share Merger Consideration, if the Merger is completed, to the person to whom you sell
                         or transfer your shares, but you will retain your right to vote those shares at the Special Meeting. Even
                         if you sell or otherwise transfer your shares of UserTesting common stock after the Record Date, we
                         encourage you to sign, date and return the enclosed proxy card in the accompanying reply envelope or
                         grant your proxy electronically over the Internet or by telephone (using the instructions provided in the
                         enclosed proxy card). In addition, if you sell your shares prior to the Effective Time, you will not be
                         eligible to exercise your appraisal rights in respect of the Merger. For a more detailed discussion of your
                         appraisal rights and the requirements for properly demanding your appraisal rights, please see the
                         section of this proxy statement captioned “The Merger - Appraisal Rights.”

                    Q:   What is the difference between holding shares as a UserTesting stockholder of record and as a beneficial owner?
                    A:   If your shares are registered directly in your name with our transfer agent, American Stock Transfer &
                         Trust Company, LLC (“AST”), you are considered, with respect to those shares, to be the “UserTesting
                         stockholder of record.” In this case, this proxy statement and your proxy card have been sent directly to
                         you by UserTesting.

                         If your shares are held through a bank, broker or other nominee, you are considered the “beneficial
                         owner” of shares of UserTesting common stock held in “street name.” In that case, this proxy statement
                         has been forwarded to you by your bank, broker or other nominee who is considered, with respect to
                         those shares, to be the UserTesting stockholder of record. As the beneficial owner, you have the right
                         to direct your bank, broker or other nominee how to vote your shares by following their instructions for
                         voting. You are also invited to attend the Special Meeting. However, because you are not the
                         UserTesting


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                         stockholder of record, you may not vote your shares in person at the Special Meeting unless you obtain
                         a “legal proxy” from your bank, broker or other nominee.
                    Q:   How may I vote?

                    A:   If you are a UserTesting stockholder of record (that is, if your shares of UserTesting common stock are
                         registered in your name with AST, our transfer agent), there are four (4) ways to vote:
                         • by signing, dating and returning the enclosed proxy card in the accompanying prepaid reply
                           envelope;
                         • by visiting the Internet at the address on your proxy card;
                         • by calling toll-free (within the U.S. or Canada) the phone number on your proxy card; or
                         • by attending the Special Meeting virtually via the Internet at the virtual meeting website and
                           completing a virtual ballot.

                         A control number, located on your proxy card, is designed to verify your identity and allow you to vote
                         your shares of UserTesting common stock, and to confirm that your voting instructions have been
                         properly recorded when voting electronically over the Internet or by telephone (using the instructions
                         provided in the enclosed proxy card). Please be aware that, although there is no charge for voting your
                         shares, if you vote electronically over the Internet by visiting the address on your proxy card or by
                         telephone by calling the phone number on your proxy card, in each case, you may incur costs such as
                         Internet access and telephone charges for which you will be responsible.
                         Even if you plan to attend the Special Meeting in person, you are strongly encouraged to vote your
                         shares of UserTesting common stock by proxy. If you are a record holder or if you obtain a “legal proxy”
                         to vote shares that you beneficially own, you may still vote your shares of UserTesting common stock
                         in person by virtual ballot at the Special Meeting even if you have previously voted by proxy. If you are
                         present at the Special Meeting and vote in person by virtual ballot, your previous vote by proxy will not
                         be counted.
                         If your shares are held in “street name” through a bank, broker or other nominee, you may vote through
                         your bank, broker or other nominee by completing and returning the voting form provided by your bank,
                         broker or other nominee, or, if such a service is provided by your bank, broker or other nominee,
                         electronically over the Internet or by telephone. To vote over the Internet or by telephone through your
                         bank, broker or other nominee, you should follow the instructions on the voting form provided by your
                         bank, broker or nominee.

                    Q:   If my broker holds my shares in “street name,” will my broker vote my shares for me?
                    A:   No. Your bank, broker or other nominee is permitted to vote your shares on any proposal currently
                         scheduled to be considered at the Special Meeting only if you instruct your bank, broker or other
                         nominee how to vote. You should follow the procedures provided by your bank, broker or other
                         nominee to vote your shares. Without instructions, your shares will not be voted on such proposals,
                         which will have the same effect as if you voted against adoption of the Merger Agreement but will have
                         no effect on the adjournment proposal.

                    Q:   May I change my vote after I have mailed my signed and dated proxy card?
                    A:   Yes. If you are a UserTesting stockholder of record, you may change your vote or revoke your proxy at
                         any time before it is voted at the Special Meeting by:
                         • signing another proxy card with a later date and returning it to us prior to the Special Meeting;
                         • submitting a new proxy electronically over the Internet or by telephone after the date of the earlier
                           submitted proxy;
                         • delivering a written notice of revocation to our Corporate Secretary; or
                         • attending the Special Meeting virtually via the Internet at the virtual meeting website and completing
                           a virtual ballot.


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                         If you hold your shares of UserTesting common stock in “street name,” you should contact your bank,
                         broker or other nominee for instructions regarding how to change your vote. You may also vote in
                         person at the Special Meeting if you obtain a “legal proxy” from your bank, broker or other nominee.
                    Q:   What is a proxy?
                    A:   A proxy is your legal designation of another person to vote your shares of UserTesting common stock.
                         The written document describing the matters to be considered and voted on at the Special Meeting is
                         called a “proxy statement.” The document used to designate a proxy to vote your shares of UserTesting
                         common stock is called a “proxy card.” Andy MacMillan, our President, Chief Executive Officer and
                         Chairperson of the Board of Directors, and Mona Sabet, our Chief Corporate Strategy Officer and
                         Corporate Secretary, are the proxy holders for the Special Meeting, with full power of substitution and
                         re-substitution.

                    Q:   If a UserTesting stockholder gives a proxy, how are the shares voted?

                    A:   Regardless of the method you choose to vote, the individuals named on the enclosed proxy card, or
                         your proxies, will vote your shares in the way that you indicate. When completing the Internet or
                         telephone process or the proxy card, you may specify whether your shares should be voted for or
                         against or to abstain from voting on all, some or none of the specific items of business to come before
                         the Special Meeting.

                         If you properly sign your proxy card but do not mark the boxes showing how your shares should be
                         voted on a matter, the shares represented by your properly signed proxy will be voted: (1) “FOR” the
                         adoption of the Merger Agreement and (2) “FOR” the adjournment of the Special Meeting, if necessary
                         or appropriate, to solicit additional proxies if there are insufficient votes to adopt the Merger Agreement
                         at the time of the Special Meeting.
                    Q:   What should I do if I receive more than one (1) set of voting materials?

                    A:   Please sign, date and return (or grant your proxy electronically over the Internet or by telephone using
                         the instructions provided in the enclosed proxy card) each proxy card and voting instruction card that
                         you receive.

                         You may receive more than one (1) set of voting materials, including multiple copies of this proxy
                         statement and multiple proxy cards or voting instruction cards. For example, if you hold your shares in
                         more than one (1) brokerage account, you will receive a separate voting instruction card for each
                         brokerage account in which you hold shares. If you are a UserTesting stockholder of record and your
                         shares are registered in more than one (1) name, you will receive more than one (1) proxy card.
                    Q:   Who will count the votes?

                    A:   The inspector of elections appointed for the Special Meeting will tabulate votes cast by proxy or by
                         ballot at the Special Meeting. The inspector of elections will also determine whether a quorum is
                         present.

                    Q:   Where can I find the voting results of the Special Meeting?
                    A:   We intend to publish final voting results in a Current Report on Form 8-K to be filed with the SEC
                         following the Special Meeting. All reports that we file with the SEC are publicly available when filed. For
                         more information, please see the section of this proxy statement captioned “Where You Can Find More
                         Information.”

                    Q:   Will I be subject to U.S. federal income tax upon the exchange of UserTesting common stock for cash pursuant to
                         the Merger?

                    A:   The exchange of UserTesting common stock for cash pursuant to the Merger will be a taxable
                         transaction for U.S. federal income tax purposes. Accordingly, a U.S. Holder (as defined in the section of
                         this proxy statement captioned “The Merger - U.S. Federal Income Tax Consequences of the Merger”)
                         who exchanges shares of UserTesting common stock for cash in the Merger will generally recognize
                         gain or loss in an amount equal to the difference, if any, between the amount of cash received with
                         respect to such shares and the U.S. Holder’s adjusted tax basis in such shares. If you are a


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                         Non-U.S. Holder (as defined in the section of this proxy statement captioned “The Merger - U.S. Federal
                         Income Tax Consequences of the Merger”), the Merger will generally not result in U.S. federal income
                         tax to you unless you have certain connections with the United States, but may be subject to U.S.
                         backup withholding tax unless you comply with certain certification procedures or otherwise establish a
                         valid exemption from U.S. backup withholding tax.

                         For a more complete description of the U.S. federal income tax consequences of the Merger, see the
                         section of this proxy statement captioned “The Merger - U.S. Federal Income Tax Consequences of the
                         Merger.”

                    Q:   When do you expect the Merger to be completed?

                    A:   We are working toward completing the Merger as quickly as possible and currently expect to complete
                         the Merger in the first half of 2023. However, the exact timing of completion of the Merger cannot be
                         predicted, because the Merger is subject to the closing conditions specified in the Merger Agreement,
                         many of which are outside of our control.

                    Q:   Who will solicit and pay the cost of soliciting proxies?

                    A:   The expenses of soliciting proxies will be paid by us. We have retained Mackenzie Partners, Inc. to
                         assist in soliciting proxies for a fee of up to $20,000, plus costs and expenses. We and our agents may
                         solicit proxies by mail, electronic mail, telephone, facsimile, by other similar means or in person. Our
                         directors, officers and other employees, without additional compensation, and employees of Mackenzie
                         Partners, Inc. may solicit proxies personally or in writing, by telephone, email or otherwise. We will
                         request brokers, custodians, nominees and other record holders to forward copies of the soliciting
                         materials to persons for whom they hold shares and to request authority for the exercise of proxies. In
                         such cases, we, upon the request of the record holders, will reimburse such holders for their reasonable
                         expenses. If you choose to access the proxy materials through the internet, you are responsible for any
                         internet access charges you may incur.

                    Q:   What if during the check-in time or during the meeting I have technical difficulties or trouble accessing the
                         virtual meeting website?

                    A:   We will have technicians ready to assist you with any technical difficulties you may have accessing the
                         virtual meeting website. If you encounter any difficulties accessing the Special Meeting during the
                         check-in time or during the Special Meeting, please call the technical support number that will be posted
                         on the Special Meeting log-in page.

                    Q:   Do any of UserTesting’s directors or officers have interests in the Merger that may be in addition to or differ
                         from those of UserTesting stockholders generally?

                    A:   Yes. In considering the recommendation of the Board of Directors with respect to the proposal to adopt
                         the Merger Agreement, you should be aware that our directors and executive officers may have interests
                         in the Merger different from, or in addition to, the interests of UserTesting stockholders generally. The
                         Board of Directors was aware of and considered these interests, to the extent such interests existed at
                         the time, among other matters, in evaluating and negotiating the Merger Agreement and the Merger, in
                         making their respective recommendations and determinations, including in the case of the Board of
                         Directors, in approving the Merger Agreement and the Merger and in recommending that the Merger
                         Agreement be adopted by UserTesting stockholders. For a description of the interests of our directors
                         and executive officers in the Merger, see the section entitled “The Merger - Interests of Our Executive
                         Officers and Directors in the Merger.”




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                    Q:   Who can help answer my questions?

                    A:   If you have any questions concerning the Merger, the Special Meeting or the accompanying proxy
                         statement, would like additional copies of the accompanying proxy statement or need help voting your
                         shares of UserTesting common stock, please contact our proxy solicitor:

                                                            MacKenzie Partners, Inc.
                                                           1407 Broadway, 27th Floor
                                                               New York, NY 10018
                                                             Toll-free: 1-800-322-2885
                                                       Email: proxy@mackenziepartners.com




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                                                            FORWARD-LOOKING STATEMENTS

                          This proxy statement, and any document to which we refer in this proxy statement, contains “forward-
                     looking statements” within the meaning of Section 27A of the Securities Act of 1933, as amended (the
                     “Securities Act”), Section 21E of the Exchange Act and the Private Securities Litigation Reform Act of 1995,
                     which are intended to be covered by the safe harbor created by such sections and other applicable laws.
                     Such forward-looking statements include statements relating to our strategy, goals, future focus areas and
                     the value of the proposed transaction to our stockholders. These forward-looking statements are based on
                     UserTesting management’s beliefs and assumptions and on information currently available to management.
                     Forward-looking statements include all statements that are not historical facts and may be identified by terms
                     such as “may,” “will,” “should,” “expects,” “plans,” “anticipates,” “could,” “intends,” “target,” “projects,”
                     “contemplates,” “believes,” “estimates,” “predicts,” “potential” or “continue” or similar expressions and the
                     negatives of those terms. We have based the forward-looking statements contained in this proxy statement
                     primarily on our current expectations and projections, in light of currently available information, about future
                     events and trends that we believe may affect our business, financial condition, results of operations and
                     prospects. These forward-looking statements involve known and unknown risks, uncertainties, and other
                     factors that may cause actual results, performance or achievements to be materially different from any future
                     results, performance or achievements, expressed or implied by the forward-looking statements, including the
                     uncertainty associated with the potential impacts of global political, macroeconomic, social, health and
                     market conditions, including rising inflation, political instability, terrorist activities or military conflicts on our
                     business, financial condition, results of operations and prospects. Additional factors that could cause or
                     contribute to such differences include, but are not limited to, the following:
                          • the completion of the Merger on anticipated terms and timing, including obtaining stockholder and
                            regulatory approvals, anticipated tax treatment, unforeseen liabilities, future capital expenditures,
                            revenues, expenses, earnings, synergies, economic performance, indebtedness, financial condition,
                            losses, future prospects, business and management strategies for the management, expansion and
                            growth of our business and other conditions to the completion of the transaction;
                          • our future financial performance, including expectations regarding subscription and professional
                            revenue, cost of revenue, gross profit, gross margin, operating expenses, including changes in
                            operating expenses, and our ability to achieve and maintain future profitability;
                          • our ability to implement our business strategy and our pricing model, and our ability to effectively
                            manage our growth;
                          • anticipated trends, growth rates, and challenges in our business and in the markets in which we
                            operates;
                          • market acceptance of our platform, products and services and our ability to increase adoption of our
                            platform, products and services;
                          • significant transaction costs associated with the Merger;
                          • potential litigation relating to the Merger;
                          • the risk that disruptions from the Merger will harm our business, including current plans and
                            operations;
                          • our ability to retain and hire key personnel;
                          • potential adverse reactions or changes to business relationships resulting from the announcement of
                            the Merger;
                          • legislative, regulatory and economic developments affecting our business;
                          • the evolving legal, regulatory and tax regimes under which we operate;
                          • potential business uncertainty, including changes to existing business relationships, during the
                            pendency of the Merger that could affect our financial performance;
                          • restrictions during the pendency of the Merger that may impact our ability to pursue certain business
                            opportunities or strategic transactions;


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                        • unpredictability and severity of catastrophic events, including, but not limited to, acts of terrorism,
                          cyber-attacks, or outbreak of war or hostilities, as well as our response to any of the aforementioned
                          factors; and
                        • such other risks and uncertainties described more fully in documents we file with or furnish to the
                          SEC, including our Annual Report on Form 10-K filed with the SEC on March 4, 2022, and our
                          Quarterly Reports on Form 10-Q filed with the SEC on May 4, 2022, August 4, 2022 and October 31,
                          2022.

                         We expressly qualify in their entirety all forward-looking statements attributable to either us or any
                    person acting on our behalf by the cautionary statements contained or referred to in this proxy statement. All
                    information provided in this proxy statement is as of the date hereof and we undertake no duty to update this
                    information except as required by law.




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                                                                  THE SPECIAL MEETING

                           The enclosed proxy is solicited on behalf of the Board of Directors for use at the Special Meeting.

                      Date, Time and Place

                          The Special Meeting will be held on January 10, 2023, at 10:00 a.m., Pacific Time. We will hold the Special
                      Meeting virtually via the Internet at the virtual meeting website. You will not be able to attend the Special
                      Meeting physically in person.

                      Purpose of the Special Meeting

                          At the Special Meeting, we will ask UserTesting stockholders to vote on proposals to: (i) adopt the
                      Merger Agreement and (ii) adjourn the Special Meeting, if necessary or appropriate, to solicit additional
                      proxies if there are insufficient votes to adopt the Merger Agreement at the time of the Special Meeting.

                      Record Date; Shares Entitled to Vote; Quorum

                           Only our stockholders of record as of the Record Date are entitled to notice of the Special Meeting and
                      to vote at the Special Meeting. As of the Record Date, there were 146,859,078 shares of UserTesting common
                      stock issued and outstanding and entitled to vote at the Special Meeting. For ten days prior to the Special
                      Meeting, a complete list of the UserTesting stockholders entitled to vote at the Special Meeting will be
                      available for examination by any stockholder for any purpose relating to the Special Meeting upon a written
                      request by such stockholder to our Investor Relations team at ir@usertesting.com. A list of UserTesting
                      stockholders entitled to vote at the Special Meeting will also be available at the virtual meeting website
                      during the Special Meeting.
                           The holders of a majority of the voting power of the shares of our capital stock issued and outstanding
                      and entitled to vote at the Special Meeting as of the Record Date, present in person or represented by proxy,
                      will constitute a quorum at the Special Meeting. In the event that a quorum is not present at the Special
                      Meeting, it is expected that the meeting will be adjourned to solicit additional proxies.

                      Vote Required; Abstentions and Broker Non-Votes

                           The affirmative vote of the holders of a majority of the issued and outstanding shares of UserTesting
                      common stock entitled to vote at the Special Meeting is required to adopt the Merger Agreement. As of the
                      Record Date, 73,429,540 votes constitute a majority of the issued and outstanding shares of our common
                      stock. Adoption of the Merger Agreement by our stockholders is a condition to the Closing of the Merger.

                           Approval of the proposal to adjourn the Special Meeting, if a quorum is present, requires the affirmative
                      vote of the holders of a majority of the issued and outstanding shares of UserTesting common stock entitled
                      to vote that are present in person or represented by proxy at the Special Meeting and are voted for or
                      against the matter.
                           If a UserTesting stockholder abstains from voting, that abstention will have the same effect as if the
                      UserTesting stockholder voted “AGAINST” the proposal to adopt the Merger Agreement but will have no
                      effect on any proposal to adjourn the Special Meeting to a later date or dates to solicit additional proxies if
                      there are insufficient votes to adopt the Merger Agreement at the time of the Special Meeting (provided a
                      quorum is present with respect to the vote to adopt the Merger Agreement).

                           Each “broker non-vote” will also count as a vote “AGAINST” the proposal to adopt the Merger
                      Agreement but will have no effect on any proposal to adjourn the Special Meeting to a later date or dates to
                      solicit additional proxies if there are insufficient votes to adopt the Merger Agreement at the time of the
                      Special Meeting (provided a quorum is present with respect to the vote to adopt the Merger Agreement). A
                      so-called “broker non-vote” results when banks, brokers and other nominees return a valid proxy voting
                      upon a matter or matters for which the applicable rules provide discretionary authority but do not vote on a
                      particular proposal because they do not have discretionary authority to vote on the matter and have not
                      received specific voting instructions from the beneficial owner of such shares. We do not expect any broker
                      non-votes at the Special Meeting because the rules applicable to banks, brokers and other nominees only


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                      provide brokers with discretionary authority to vote on proposals that are considered routine, whereas each
                      of the proposals to be presented at the Special Meeting is considered non-routine. As a result, no broker will
                      be permitted to vote your shares of UserTesting common stock at the Special Meeting without receiving
                      instructions. Failure to instruct your broker on how to vote your shares will have the same effect as a vote
                      “AGAINST” the proposal to adopt the Merger Agreement.

                      Stock Ownership and Interests of Certain Persons

                      Shares Held by UserTesting’s Directors and Executive Officers

                           As of the Record Date, our directors and executive officers beneficially owned and were entitled to vote,
                      in the aggregate, 39,107,032 shares of UserTesting common stock, representing approximately 26.6% of the
                      shares of UserTesting common stock issued and outstanding on the Record Date.

                      Voting of Proxies

                           If your shares are registered in your name with our transfer agent, AST, you may cause your shares to
                      be voted by returning a signed and dated proxy card in the accompanying prepaid envelope, or you may
                      vote in person at the Special Meeting. Additionally, you may grant a proxy electronically over the Internet or
                      by telephone (using the instructions provided in the enclosed proxy card). You must have the enclosed
                      proxy card available and follow the instructions on the proxy card in order to grant a proxy electronically
                      over the Internet or by telephone. Based on your proxy cards or Internet and telephone proxies, the proxy
                      holders will vote your shares according to your directions.

                           If you plan to attend the Special Meeting and wish to vote in person, you will be given a virtual ballot at
                      the Special Meeting. If your shares are registered in your name, you are encouraged to vote by proxy even if
                      you plan to attend the Special Meeting. If you attend the Special Meeting and vote in person by virtual
                      ballot, your vote will revoke any previously submitted proxy.

                           Voting instructions are included on your proxy card. All shares represented by properly signed and
                      dated proxies received in time for the Special Meeting will be voted at the Special Meeting in accordance
                      with the instructions of the UserTesting stockholder. Properly signed and dated proxies that do not contain
                      voting instructions will be voted: (1) “FOR” adoption of the Merger Agreement and (2) “FOR” the
                      adjournment of the Special Meeting, if necessary or appropriate, to solicit additional proxies if there are
                      insufficient votes to adopt the Merger Agreement at the time of the Special Meeting.

                           If your shares are held in “street name” through a bank, broker or other nominee, you may vote through
                      your bank, broker or other nominee by completing and returning the voting form provided by your bank,
                      broker or other nominee or attending the Special Meeting and voting in person with a “legal proxy” from
                      your bank, broker or other nominee. If such a service is provided, you may vote over the Internet or
                      telephone through your bank, broker or other nominee by following the instructions on the voting form
                      provided by your bank, broker or other nominee. If you do not return your bank’s, broker’s or other
                      nominee’s voting form, do not vote via the Internet or telephone through your bank, broker or other
                      nominee, if possible, or do not attend the Special Meeting and vote in person with a “legal proxy” from your
                      bank, broker or other nominee, it will have the same effect as if you voted “AGAINST” the proposal to adopt
                      the Merger Agreement but will not have any effect on the adjournment proposal.

                      Revocability of Proxies

                           If you are a UserTesting stockholder of record, you may change your vote or revoke your proxy at any
                      time before it is voted at the Special Meeting by:
                           • signing another proxy card with a later date and returning it to us prior to the Special Meeting;
                           • submitting a new proxy electronically over the Internet or by telephone after the date of the earlier
                             submitted proxy;
                           • delivering a written notice of revocation to our Corporate Secretary; or


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                           • attending the Special Meeting virtually via the Internet at the virtual meeting website and completing
                             a virtual ballot.

                          If you have submitted a proxy, your appearance at the Special Meeting will not have the effect of
                      revoking your prior proxy; provided that you do not vote in person or submit an additional proxy or
                      revocation, which, in each case, will have the effect of revoking your proxy.

                           If you hold your shares of UserTesting common stock in “street name,” you should contact your bank,
                      broker or other nominee for instructions regarding how to change your vote. You may also vote in person at
                      the Special Meeting if you obtain a “legal proxy” from your bank, broker or other nominee.

                           Any adjournment, postponement or other delay of the Special Meeting, including for the purpose of
                      soliciting additional proxies, will allow UserTesting stockholders who have already sent in their proxies to
                      revoke them at any time prior to their use at the Special Meeting as adjourned, postponed or delayed.

                      Board of Directors’ Recommendation

                           The Board of Directors has unanimously: (i) determined that it is in the best interests of UserTesting
                      and our stockholders, and declared it advisable, to enter into the Merger Agreement; (ii) approved the
                      execution, delivery and performance of the Merger Agreement by UserTesting, the performance by
                      UserTesting of its covenants under the Merger Agreement, and the consummation of the transactions
                      contemplated thereof, including the Merger; and (iii) resolved to recommend that our stockholders adopt the
                      Merger Agreement and directed that such matter be submitted for the consideration of our stockholders at
                      the Special Meeting.

                           The Board of Directors unanimously recommends that you vote: (1) “FOR” the adoption of the Merger
                      Agreement and (2) “FOR” the adjournment of the Special Meeting, if necessary or appropriate, to solicit additional
                      proxies if there are insufficient votes to adopt the Merger Agreement at the time of the Special Meeting.

                      Solicitation of Proxies

                            The expenses of soliciting proxies will be paid by UserTesting. We have retained Mackenzie Partners,
                      Inc. to assist in soliciting proxies for a fee of up to $20,000, plus costs and expenses. We and our agents may
                      solicit proxies by mail, electronic mail, telephone, facsimile, by other similar means, or in person. Our
                      directors, officers and other employees, without additional compensation, and employees of Mackenzie
                      Partners, Inc. may solicit proxies personally or in writing, by telephone, email or otherwise. We will request
                      brokers, custodians, nominees and other record holders to forward copies of the soliciting materials to
                      persons for whom they hold shares and to request authority for the exercise of proxies. In such cases, we,
                      upon the request of the record holders, will reimburse such holders for their reasonable expenses. If you
                      choose to access the proxy materials through the internet, you are responsible for any internet access
                      charges you may incur.

                      Anticipated Date of Completion of the Merger

                           Assuming timely satisfaction of necessary closing conditions, including the approval by UserTesting
                      stockholders of the proposal to adopt the Merger Agreement, we currently expect that the Merger will be
                      consummated in the first half of 2023.

                      Appraisal Rights

                           If the Merger is consummated, UserTesting stockholders and beneficial owners who continuously hold
                      or own shares of UserTesting common stock through the Effective Time, who do not vote in favor of the
                      adoption of the Merger Agreement and who properly demand appraisal of their shares and do not withdraw
                      their demands or otherwise lose their rights to seek appraisal will be entitled to seek appraisal of their shares
                      in connection with the Merger under Section 262 of the DGCL. This means that record holders and beneficial
                      owners of UserTesting common stock who perfect their appraisal rights, who do not thereafter withdraw their
                      demand for appraisal and who follow the procedures in the manner prescribed by Section 262


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                      of the DGCL may be entitled to have their shares appraised by the Delaware Court of Chancery and to
                      receive payment in cash of the “fair value” of their shares of UserTesting common stock, exclusive of any
                      elements of value arising from the accomplishment or expectation of the Merger, as determined by the
                      Delaware Court of Chancery, together with interest to be paid on the amount determined to be “fair value,” if
                      any (or in certain circumstances described in further detail in the section of this proxy statement captioned
                      “The Merger - Appraisal Rights,” on the difference between the amount determined to be the “fair value”
                      and the amount paid by the Surviving Corporation in the Merger to each person entitled to appraisal prior to
                      the entry of judgment in any appraisal proceeding). Due to the complexity of the appraisal process, persons
                      who wish to seek appraisal of their shares are encouraged to review Section 262 of the DGCL carefully and to
                      seek the advice of legal counsel with respect to the exercise of appraisal rights.

                           UserTesting stockholders and beneficial owners considering seeking appraisal should be aware that the “fair
                      value” of their shares as determined pursuant to Section 262 of the DGCL could be more than, the same as or less
                      than the value of the Per Share Merger Consideration that they would receive pursuant to the Merger Agreement if
                      they did not seek appraisal of their shares.

                           To exercise your appraisal rights, you must: (i) properly submit a written demand for appraisal to us
                      before the vote is taken on the proposal to adopt the Merger Agreement; (ii) not submit a proxy or otherwise
                      vote in favor of the proposal to adopt the Merger Agreement; (iii) hold or own such shares upon the making
                      of a demand under clause (i) and continue to hold or own your shares of UserTesting common stock through
                      the Effective Time; (iv) not thereafter withdraw your demand for appraisal of your shares or otherwise lose
                      your appraisal rights, each in accordance with the DGCL; and (v) strictly comply with all other procedures
                      for exercising appraisal rights under Section 262 of the DGCL. Your failure to follow exactly the procedures
                      specified under Section 262 of the DGCL may result in the loss of your appraisal rights. In addition, the
                      Delaware Court of Chancery will dismiss appraisal proceedings in respect of the Merger unless certain stock
                      ownership conditions are satisfied by the UserTesting stockholders and beneficial owners seeking appraisal.
                      The DGCL requirements for exercising appraisal rights are described in further detail in the section of this
                      proxy statement captioned “The Merger - Appraisal Rights,” which is qualified in its entirety by Section 262
                      of the DGCL, the relevant section of the DGCL regarding appraisal rights. A copy of Section 262 of the DGCL
                      is reproduced and attached as Annex C to this proxy statement and incorporated herein by reference.

                      Delisting and Deregistration of UserTesting Common Stock

                          If the Merger is completed, our common stock will be delisted from the NYSE and deregistered under the
                      Exchange Act, and will no longer be publicly traded.

                      Other Matters

                          At this time, we know of no other matters to be voted on at the Special Meeting. If any other matters
                      properly come before the Special Meeting, your shares of UserTesting common stock will be voted in
                      accordance with the discretion of the appointed proxy holders.

                      Householding of Special Meeting Materials

                           Unless we have received contrary instructions, we may send a single copy of this proxy statement to
                      any household at which two (2) or more UserTesting stockholders reside if we believe such stockholders are
                      members of the same family. Each UserTesting stockholder in the household will continue to receive a
                      separate proxy card. This process, known as “householding,” reduces the volume of duplicate information
                      received at your household and helps to reduce our expenses.

                           If you would like to receive your own set of our disclosure documents, please contact us using the
                      instructions set forth below. Similarly, if you share an address with another UserTesting stockholder and
                      together both of you would like to receive only a single set of our disclosure documents, please contact us
                      using the instructions set forth below.

                         If you are a UserTesting stockholder of record, you may contact us by writing to UserTesting at 144
                      Townsend Street, San Francisco, California 94107, or by calling us at (888) 877-1882 and requesting to


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                     speak with our investor relations department. If a bank, broker or other nominee holds your shares, please
                     contact your bank, broker or other nominee directly.

                     Questions and Additional Information

                          If you have any questions concerning the Merger, the Special Meeting or this proxy statement, would
                     like additional copies of this proxy statement or need help voting your shares of UserTesting common stock,
                     please contact our proxy solicitor:

                                                                 MacKenzie Partners, Inc.
                                                                1407 Broadway, 27th Floor
                                                                    New York, NY 10018
                                                                  Toll-free: 1-800-322-2885
                                                            Email: proxy@mackenziepartners.com




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                                                                      THE MERGER

                           This discussion of the Merger is qualified in its entirety by reference to the Merger Agreement, which is
                      attached to this proxy statement as Annex A and incorporated into this proxy statement by reference. You
                      should carefully read and consider the entire Merger Agreement, which is the legal document that governs
                      the Merger, because this document contains important information about the Merger and how it affects
                      you.

                      Parties Involved in the Merger

                                                                    UserTesting, Inc.
                                                                  144 Townsend Street
                                                             San Francisco, California 94107
                                                                     (888) 877-1882
                           UserTesting has fundamentally changed the way organizations get insights from customers with fast,
                      opt-in feedback and experience capture technology. We have pioneered a video-first, enterprise-grade
                      software-as-a-service platform that enables organizations to see and hear the experiences of real people as
                      they engage with products, designs, apps, processes, concepts, or brands. Our platform captures authentic,
                      credible, and highly contextualized customer perspectives from targeted audiences who have opted in to
                      share their thoughts, whether for digital, real-world, or omnichannel experiences. Using machine learning, our
                      platform analyzes these perspectives and surfaces key moments of insight rapidly and at scale. This helps
                      organizations to free up time and resources and make better customer experience decisions faster using the
                      power of video to drive alignment and action. We are headquartered in San Francisco, California. Our
                      common stock is listed on the NYSE under the symbol “USER.”

                                                                Thunder Holdings, LLC
                                                                 c/o Thoma Bravo, L.P.
                                                           600 Montgomery Street, 20th Floor
                                                             San Francisco, California 94111
                                                                      (415) 263-3600

                           Parent was formed on October 24, 2022 solely for the purpose of engaging in the transactions
                      contemplated by the Merger Agreement, and has not engaged in any business activities other than in
                      connection with the transactions contemplated by the Merger Agreement and arranging of the equity
                      financing and potential debt financing in connection with the Merger.
                                                               Thunder Merger Sub, Inc.
                                                                 c/o Thoma Bravo, L.P.
                                                           600 Montgomery Street, 20th Floor
                                                             San Francisco, California 94111
                                                                      (415) 263-3600
                          Merger Sub is a wholly owned subsidiary of Parent and was formed on October 12, 2022 solely for the
                      purpose of engaging in the transactions contemplated by the Merger Agreement, and has not engaged in
                      any business activities other than in connection with the transactions contemplated by the Merger
                      Agreement and arranging of the equity financing and potential debt financing in connection with the Merger.
                           Parent and Merger Sub are each affiliated with the Thoma Bravo Funds and are managed by Thoma
                      Bravo, L.P. . UserZoom, Parent, Merger Sub, and the Thoma Bravo Funds are each affiliated with Thoma
                      Bravo, L.P. UserZoom is owned by the Thoma Bravo Funds and funds affiliated with Sunstone Partners.
                      Thoma Bravo and Sunstone Partners are leading private equity firms focused on the software and
                      technology-enabled services sectors. At the Effective Time, the Surviving Corporation will be indirectly
                      owned by the Thoma Bravo Funds and certain of its affiliates.
                           In connection with the transactions contemplated by the Merger Agreement, the Thoma Bravo Funds
                      and Sunstone Partners Funds have each provided Parent with equity commitments. The amounts committed
                      under the Equity Commitment Letters will be used to fund the aggregate purchase price required to be paid at
                      the Closing of the Merger and to also fund certain other payments at the Closing (including the Required
                      Amounts), subject to the terms and conditions of the Merger Agreement. In addition, the Thoma


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                      Bravo Funds and Sunstone Partners Funds have each agreed to guarantee the payment of certain liabilities
                      and obligations of Parent or Merger Sub under the Merger Agreement, subject to an aggregate cap equal to
                      $56,464,408 for the Thoma Bravo Funds and $11,295,592 for the Sunstone Partners Funds, including any
                      termination fee and amounts in respect of certain reimbursement and indemnification obligations of Parent
                      and Merger Sub for certain costs, expenses or losses incurred or sustained by us, as specified in the Merger
                      Agreement. For more information, please see the section of this proxy statement captioned “- Financing of
                      the Merger.”

                      Effect of the Merger

                           Upon the terms and subject to the conditions of the Merger Agreement, Merger Sub will merge with and
                      into UserTesting and the separate corporate existence of Merger Sub will cease, with UserTesting continuing
                      as the Surviving Corporation. As a result of the Merger, UserTesting will become a wholly owned subsidiary
                      of Parent, and our common stock will no longer be publicly traded and will be delisted from the NYSE. In
                      addition, our common stock will be deregistered under the Exchange Act, and we will no longer file periodic
                      reports with the SEC. If the Merger is completed, you will not own any shares of the capital stock of the
                      Surviving Corporation.
                           The Effective Time will occur upon the filing of a certificate of merger with the Secretary of State of the
                      State of Delaware (or at such later time as we, Parent and Merger Sub may agree and specify in the certificate
                      of merger).

                      Effect on UserTesting If the Merger Is Not Completed

                           If the Merger Agreement is not adopted by our stockholders, or if the Merger is not completed for any
                      other reason:

                           i.     UserTesting stockholders will not be entitled to, nor will they receive, any payment for their
                                  respective shares of UserTesting common stock pursuant to the Merger Agreement;

                           ii.    (a) we will remain an independent public company; (b) our common stock will continue to be listed
                                  and traded on the NYSE and registered under the Exchange Act; and (c) we will continue to file
                                  periodic reports with the SEC;

                           iii.   we anticipate that (a) management will operate the business in a manner similar to that in which it is
                                  being operated today and (b) UserTesting stockholders will be subject to similar types of risks and
                                  uncertainties as those to which they are currently subject, including, but not limited to, risks and
                                  uncertainties with respect to our business, prospects and results of operations, as such may be
                                  affected by, among other things, the highly competitive industry in which we operate and economic
                                  conditions;

                           iv.    the price of UserTesting common stock may decline significantly, and if that were to occur, it is
                                  uncertain when, if ever, the price of UserTesting common stock would return to the price at which it
                                  trades as of the date of this proxy statement;

                           v.     the Board of Directors will continue to evaluate and review our business operations, strategic
                                  direction and capitalization, among other things, and will make such changes as are deemed
                                  appropriate; irrespective of these efforts, it is possible that no other transaction acceptable to the
                                  Board of Directors will be offered or that our business, prospects and results of operations will be
                                  adversely impacted; and

                           vi. under specified circumstances, we will be required to pay Parent a termination fee of either (i)
                               $10,160,000 if the Merger Agreement is terminated before December 20, 2022 for the purpose of
                               entering into an agreement with respect to a Superior Proposal received from an Excluded Party (as
                               defined in the section of this proxy statement captioned “Proposal 1: Adoption of the Merger
                               Agreement - The Go-Shop Period - Solicitation of Other Offers”) or (ii) $33,880,000, in the case of
                               any other such termination, as described in the section of this proxy statement captioned “Proposal
                               1: Adoption of the Merger Agreement - Termination Fee.”


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                     Merger Consideration

                     UserTesting Common Stock

                         At the Effective Time, each then-outstanding share of UserTesting common stock (other than the
                     Excluded Shares) will be cancelled and automatically converted into the right to receive the Per Share Merger
                     Consideration, less any applicable withholding taxes.

                         Prior to or at the Effective Time, Parent will deposit (or cause to be deposited) with a U.S. bank or trust
                     company, approved in advance by us in writing that shall be appointed to act as a paying agent (the “Paying
                     Agent”) an amount of cash sufficient to pay the aggregate Per Share Merger Consideration payable at
                     Closing. For more information, please see the section of this proxy statement captioned “Proposal 1:
                     Adoption of the Merger Agreement - Exchange and Payment Procedures.”

                          After the Merger is completed, you will have the right to receive the Per Share Merger Consideration in
                     respect of each share of UserTesting common stock that you own (less any applicable withholding taxes),
                     but you will no longer have any rights as a UserTesting stockholder (except that UserTesting stockholders
                     who properly exercise their appraisal rights will have the right to receive payment for the “fair value” of their
                     shares determined pursuant to an appraisal proceeding, as contemplated by Delaware law). For more
                     information, please see the section of this proxy statement captioned “- Appraisal Rights.”

                     Treatment of Company Equity Awards
                          The Merger Agreement provides that UserTesting’s equity awards that are outstanding immediately
                     prior to the Effective Time will be subject to the following treatment as of the Effective Time:

                     Company Options

                          Each Vested Company Option will, automatically and without any required action on the part of the
                     holder thereof, be cancelled and converted into the right to receive an amount in cash, without interest,
                     equal to the product obtained by multiplying (x) the excess, if any, of (i) the Per Share Merger Consideration
                     over (ii) the per share exercise price for such Vested Company Option by (y) the total number of shares of
                     UserTesting common stock underlying such Vested Company Option, subject to applicable withholding
                     taxes, provided, however, that if the exercise price per share of UserTesting common stock of such Vested
                     Company Option is equal to or greater than the Per Share Merger Consideration, such Vested Company
                     Option will be cancelled without any cash payment or other consideration being made in respect thereof.

                           Each Unvested Company Option will, automatically and without any required action on the part of the
                     holder thereof, be converted into the contingent right to receive an amount in cash, without interest, equal to
                     the product obtained by multiplying (x) the excess, if any, of (i) the Per Share Merger Consideration over (ii)
                     the per share exercise price for such Unvested Company Option by (y) the total number of shares of
                     UserTesting common stock underlying such Unvested Company Option, subject to applicable withholding
                     taxes, provided, however, that if the exercise price per share of UserTesting common stock of such Unvested
                     Company Option is equal to or greater than the Per Share Merger Consideration, such Unvested Company
                     Option will be cancelled without any cash payment or other consideration being made in respect thereof.
                     Subject to the holder’s continued service with Parent and its affiliates (including the Surviving Corporation
                     and its subsidiaries) through the applicable vesting dates, such Unvested Company Option Consideration
                     amounts will vest and become payable at the same time as the Unvested Company Option from which such
                     Unvested Company Option Consideration was converted would have vested pursuant and been payable to
                     its terms and, subject to certain exceptions, will otherwise remain subject to the same terms and conditions
                     as were applicable to the underlying Unvested Company Option immediately prior to the Effective Time with
                     respect to the receipt of the Unvested Company Option Consideration (without limitation to any rights that
                     the holder may have under any agreement with the Company in effect on the date of the Merger Agreement).

                     Company RSUs
                          Each Vested Company RSU will, automatically and without any required action on the part of the holder
                     thereof, be cancelled and converted into the right to receive an amount in cash, without interest,


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                     equal to the product obtained by multiplying (x) the total number of shares of UserTesting common stock
                     underlying such Vested Company RSU by (y) the Per Share Merger Consideration, subject to applicable
                     withholding taxes.

                          Each Unvested Company RSU will, automatically and without any required action on the part of the
                     holder thereof, be converted into the contingent right to receive an amount in cash, without interest, equal to
                     the product obtained by multiplying (x) the total number of shares of UserTesting common stock underlying
                     such Unvested Company RSU by (y) the Per Share Merger Consideration, subject to applicable withholding
                     taxes. Subject to the holder’s continued service with Parent and its affiliates (including the Surviving
                     Corporation and its subsidiaries) through the applicable vesting dates, such Unvested Company RSU
                     Consideration amounts will vest and become payable at the same time as the Unvested Company RSU from
                     which such Unvested Company RSU Consideration was converted would have vested and been payable
                     pursuant to its terms and, subject to certain exceptions, will otherwise remain subject to the same terms and
                     conditions as were applicable to the underlying Unvested Company RSU immediately prior to the Effective
                     Time with respect to the receipt of the Unvested Company RSU Consideration (without limitation to any
                     rights that the holder may have under any agreement with the Company in effect on the date of the Merger
                     Agreement).

                     Treatment of Company ESPP
                          In accordance with the terms of the Merger Agreement, on October 26, 2022, the Board of Directors
                     adopted resolutions providing that with respect to the Company ESPP, (i) participation in the Company ESPP
                     will be limited to those employees who are participants on the date of the Merger Agreement, (ii) participants
                     may not increase their payroll deduction elections or rate of contributions from those in effect on the date of
                     the Merger Agreement or make any separate non-payroll contributions to the Company ESPP on or following
                     the date of the Merger Agreement, (iii) no offering or purchase period will be commenced after the date of the
                     Merger Agreement, (iv) each then-outstanding purchase right shall be exercised as of the earlier of (A) the
                     end of the offering or purchase period in effect on the date of the Merger Agreement or (B) ten (10) days
                     prior to the date on which the Effective Time occurs, and (v) the Company ESPP will terminate immediately
                     prior to, but contingent upon the occurrence of, the Effective Time, but subsequent to the exercise of
                     purchase rights on such purchase date (in accordance with the terms of the Company ESPP). On such
                     exercise date, we will apply the funds credited as of such date pursuant to the Company ESPP within each
                     participant’s payroll withholding account to the purchase of whole shares of UserTesting common stock in
                     accordance with the terms of the Company ESPP and each share purchased thereunder immediately prior to
                     the Effective Time will be canceled at the Effective Time and converted into the right to receive the Per Share
                     Merger Consideration, subject to any applicable withholding taxes. Any accumulated contributions of each
                     participant under the Company ESPP as of immediately prior to the Effective Time will, to the extent not used
                     to purchase shares in accordance with the terms and conditions of the Company ESPP, be refunded to such
                     participant as promptly as practicable following the Effective Time (without interest).

                     Background of the Merger

                         The following chronology summarizes the key meetings and events that led to the signing of the
                     Merger Agreement. The following chronology does not purport to catalogue every conversation among the
                     Board, the Transaction Committee or our representatives and other parties.

                          As part of our ongoing consideration and evaluation of UserTesting’s long-term strategic goals and
                     plans, the Board and our management periodically review, consider and assess our operations and financial
                     performance, as well as overall industry conditions, as they may affect those strategic goals and plans. This
                     review at times includes, among other things, the consideration of potential opportunities for business
                     combinations, acquisitions and other financial and strategic alternatives, in each case, with a view towards
                     enhancing stockholder value.
                         On several occasions in 2020 and 2021, we met with representatives of Thoma Bravo and discussed our
                     company and potential transactions involving us and Thoma Bravo, including a potential investment in or
                     acquisition of us by Thoma Bravo.


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                         In the second half of 2021, as we prepared for our initial public offering, we also evaluated a sale
                    transaction as a potential alternative to create value for our stockholders. Accordingly, in the third quarter of
                    2021, we instructed representatives of Morgan Stanley & Co. LLC (“Morgan Stanley”), a lead underwriter in
                    our initial public offering, to contact certain strategic and financial sponsor counterparties to determine
                    whether they would be interested in discussing a potential acquisition of our company at a valuation that
                    would be attractive compared to the valuation we expected to receive in an initial public offering. However, in
                    view of market conditions at the time and the high valuations companies in our industry were receiving
                    during their own initial public offerings, we determined that pursuing an initial public offering was in the best
                    interests of our stockholders.
                         On November 17, 2021, we completed an initial public offering of our common stock at a price of $14.00
                    per share. Following the initial public offering, the price of our common stock declined. During 2022 our
                    common stock traded below the initial public offering price, with a volume weighted average price of $5.65
                    during the 90-day period ending August 19, 2022 and a 52-week low of $3.31 per share in September 2022.
                    During 2022, equity securities of other companies in the software industry generally also experienced
                    significant declines.
                        In July 2022, a senior representative of Thoma Bravo reached out to Andy MacMillan, our Chief
                    Executive Officer, and suggested a meeting to explore the potential for an acquisition of us by Thoma Bravo.
                         On August 19, 2022, Mr. MacMillan and Jon Pexton, our Chief Financial Officer, met with representatives
                    of Thoma Bravo, including A.J. Rohde, Senior Partner at Thoma Bravo, and David Tse, Vice President at
                    Thoma Bravo, to learn more about our company and to explore the potential for an acquisition of us by
                    Thoma Bravo (the “Proposed Transaction”). At this meeting, the senior representative of Thoma Bravo
                    informed Messrs. MacMillan and Pexton that Thoma Bravo was evaluating making a proposal for a potential
                    acquisition of us at a price of between $9.00 and $11.00 per share, representing a premium of approximately
                    84% to 125% over our closing stock price of $4.88 on August 18, 2022, subject to customary due diligence,
                    and that following the consummation of a transaction, Thoma Bravo would expect to integrate our business
                    with that of its portfolio company UserZoom. At this meeting, Thoma Bravo also discussed the possibility of
                    Mr. MacMillan serving as the chief executive officer of the combined companies. However, as of the date of
                    this proxy statement, Thoma Bravo and Mr. MacMillan have not discussed specific terms for Mr. MacMillan
                    to act in such capacity.
                         On August 26, 2022, the Board held a meeting at which Mr. Pexton and Mona Sabet, our Chief Corporate
                    Strategy Officer, and representatives of Fenwick & West LLP, our outside corporate counsel (“Fenwick &
                    West”), were present. Mr. MacMillan informed the Board of the discussions with Thoma Bravo, including his
                    anticipated role following the consummation of a transaction. At the meeting, representatives of Fenwick &
                    West reviewed with the Board its fiduciary duties in connection with a potential business combination
                    transaction and considerations with respect to a process for such a transaction. Mr. Pexton then discussed
                    our anticipated financial results as an independent company. In light of the discussions with Thoma Bravo,
                    the Board determined to retain financial advisors, and directed our senior management to contact Morgan
                    Stanley and another investment bank that specializes in mergers and acquisitions, which we refer to as
                    “Advisor A,” for that purpose, based on both of these banks’ experience with acquisition transactions in our
                    industry and, specifically in the case of Morgan Stanley, their experience with our company (as they had
                    served as a lead underwriter in our initial public offering), and in advising companies in acquisition
                    transactions with Thoma Bravo.
                         On August 29, 2022, the Board held a meeting at which Mr. Pexton, Ms. Sabet and representatives of
                    Fenwick & West and Advisor A were present. At the meeting, representatives of Advisor A presented to the
                    Board with respect to the Proposed Transaction, including Advisor A’s credentials, the current market
                    environment, perspectives on our financial performance and trading price, and process objectives and
                    considerations.

                         On August 30, 2022, the Board held a meeting at which Mr. Pexton, Ms. Sabet and representatives of
                    Fenwick & West and Morgan Stanley were present. At the meeting, representatives of Morgan Stanley and
                    the Board discussed the Proposed Transaction, including Morgan Stanley’s credentials, our positioning in
                    the market, perspectives on our financial performance and trading price, and potential parties that might be


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                    interested in, and capable of, completing an acquisition of us. Morgan Stanley reviewed possible next steps
                    with respect to the Proposed Transaction for the Board to consider. Representatives of Morgan Stanley then
                    left the meeting and the Board discussed the Proposed Transaction and the presentations by Advisor A and
                    Morgan Stanley. The Board then determined to engage Morgan Stanley as our financial advisor in
                    connection with the Proposed Transaction because of, among other things, Morgan Stanley’s familiarity with
                    our business based on its existing relationship with us, its qualifications, expertise and reputation, extensive
                    expertise and experience with transactions in our industry, and its prior experience negotiating numerous
                    transactions with Thoma Bravo. The Board then discussed the potential process for, and Board oversight
                    and management of, the Proposed Transaction, including the formation of a strategic review committee of the
                    Board to manage and oversee the Proposed Transaction (the “Transaction Committee”). The Board
                    established the Transaction Committee, composed of Shannon Nash, Cynthia Russo and Alexander Wong, to
                    consider, oversee, manage and direct the process for a Proposed Transaction. The Board then directed our
                    management to coordinate a response to Thoma Bravo with representatives of Morgan Stanley, and to
                    inform Thoma Bravo that it should provide a written indication of interest with a specific price and that such
                    price should be in the upper half of the range of the verbal proposal provided by the senior representative of
                    Thoma Bravo on August 19, 2022.
                         On September 2, 2022, at the direction of the Board, representatives of Morgan Stanley contacted
                    representatives of Thoma Bravo to convey the message from the Board. Representatives of Thoma Bravo
                    indicated that they would continue to consider valuation.
                         On September 6, 2022, the Transaction Committee held a meeting at which the other members of the
                    Board, Mr. Pexton, Ms. Sabet and representatives of Fenwick & West and Morgan Stanley were present. At
                    the meeting, representatives of Morgan Stanley reviewed the discussion that had occurred with Thoma
                    Bravo on September 2, 2022. Representatives of Morgan Stanley then left the meeting and Mr. Pexton
                    reviewed a financial forecast for 2023 through 2025 (the “September Financial Forecast”), a copy of which
                    had been provided to the Board for review prior to the meeting. The Transaction Committee then discussed
                    the Proposed Transaction, including the update provided by Morgan Stanley, and the September Financial
                    Forecast. Ms. Sabet and representatives of Fenwick & West reviewed the terms set forth in a proposed
                    engagement letter with Morgan Stanley. The Transaction Committee then discussed the possibility of
                    contacting other parties that might potentially be interested in, and capable of, completing an acquisition of
                    us, the potential risks of such a process, the potential adverse consequences of information regarding the
                    Proposed Transaction if it were to become publicly known at this time, including the increased risk that a
                    broad outreach would become publicly known, which could disrupt our business, and the possibility of
                    contacting other potential acquirors through a “go shop” process following an announcement of the
                    Potential Transaction.
                         On September 8, 2022, Thoma Bravo and UserZoom jointly submitted a non-binding indication of
                    interest to acquire all of the outstanding shares of our common stock for $9.50 per share in an all-cash
                    transaction (the “September 8 Proposal”), subject to customary due diligence and representing a premium of
                    approximately 137% over our closing stock price of $4.01 on September 7, 2022. The September 8 Proposal
                    contemplated a 30-day exclusivity period during which we could not solicit alternative proposals prior to
                    execution of a merger agreement and that we would not engage in a “go-shop” process following execution
                    of a merger agreement (subject to a “fiduciary out” with respect to unsolicited proposals). We provided a
                    copy of the September 8 Proposal to the members of the Board later that day.
                        Later on September 8, 2022, the Transaction Committee held a meeting at which Messrs. MacMillan and
                    Pexton, Ms. Sabet and representatives of Fenwick & West and Morgan Stanley were present. At the meeting,
                    Mr. MacMillan and representatives of Morgan Stanley reviewed the September 8 Proposal, and the
                    Transaction Committee discussed potential responses to the September 8 Proposal.

                         On September 10, 2022, the Board held a meeting at which Mr. Pexton, Ms. Sabet and representatives of
                    Fenwick & West and Morgan Stanley were present. At the meeting, representatives of Morgan Stanley
                    reviewed certain financial aspects of the September 8 Proposal and provided an overview of our financial and
                    stock performance since our initial public offering and its views on the current market environment. The
                    Board discussed with representatives of Morgan Stanley preliminary perspectives on our proposed
                    valuation, and discussed our prospects as an independent company. Representatives of Morgan Stanley and
                    the Board then discussed the September 8 Proposal, views on strategic parties and other private equity
                    sponsors


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                    that might be interested in evaluating, and capable of completing, a potential business combination
                    transaction with us, and our response to the September 8 Proposal. The representatives from Morgan
                    Stanley then left the meeting and the Board discussed the terms of the proposed engagement letter between
                    UserTesting and Morgan Stanley, and directed us to execute the engagement letter. A representative of
                    Fenwick & West then reviewed with the Board its fiduciary duties in connection with a response to Thoma
                    Bravo. The Board then further discussed the response to the September 8 Proposal and determined to
                    respond to Thoma Bravo that we were interested in discussing a transaction but instructed our management
                    to seek to obtain a higher price per share from Thoma Bravo.
                         Following this meeting, on September 10, 2022, we executed the engagement letter with Morgan Stanley
                    on the terms approved by the Board.

                         On September 12, 2022, at the direction of the Board, representatives of Morgan Stanley spoke with a
                    senior representative of Thoma Bravo and informed him that we were interested in discussing a transaction
                    but pressed Thoma Bravo to increase its proposed price per share consistent with the guidance previously
                    provided by the Board. The senior representative of Thoma Bravo indicated that they would continue to
                    evaluate its proposed price per share.
                         On September 14, 2022, Thoma Bravo and UserZoom submitted a revised non-binding indication of
                    interest to acquire all of the outstanding shares of our common stock for $10.00 per share (the “September 14
                    Proposal”), subject to customary due diligence and representing a premium of approximately 151% over our
                    closing stock price of $3.98 on September 14, 2022. Similar to the September 8 Proposal, the September 14
                    Proposal contemplated a 30-day exclusivity period during which we could not solicit alternative proposals
                    prior to execution of a merger agreement and that we would not engage in a “go-shop” process following
                    execution of a merger agreement (subject to a “fiduciary out” with respect to unsolicited proposals). We
                    provided a copy of the September 14 Proposal to the members of the Board later that day.
                         On September 16, 2022, the Board held a meeting at which Mr. Pexton, Ms. Sabet and representatives of
                    Fenwick & West and Morgan Stanley were present. At the meeting, representatives of Morgan Stanley
                    reviewed with the Board certain financial aspects of the September 14 Proposal and provided an update with
                    respect to the discussions that Morgan Stanley had with Thoma Bravo since September 10, 2022. The Board
                    then discussed with representatives of Morgan Stanley preliminary perspectives on our valuation, and the
                    Board and representatives of Morgan Stanley discussed strategic parties and other private equity sponsors
                    that might potentially be interested in evaluating, and capable of completing, a potential business
                    combination transaction with us, including potential strategies for soliciting proposals from such parties,
                    either prior to execution of a merger agreement or through a go-shop process following execution of a merger
                    agreement, and our proposed response to the September 14 Proposal. The representatives of Morgan
                    Stanley left the meeting, and the Board continued to discuss the response to the September 14 Proposal.
                    During this discussion, a representative of Fenwick & West reviewed with the Board its fiduciary duties in
                    connection with a response to Thoma Bravo and in evaluating a process to solicit interest in a transaction
                    from other parties. Following this discussion, the Board determined to direct Morgan Stanley to inform
                    Thoma Bravo that we were willing to proceed to due diligence, and negotiation of a merger agreement, based
                    on the September 14 Proposal, but would not agree to any exclusivity period during which we could not
                    solicit alternative bids prior to execution of a merger agreement, and would require that any merger agreement
                    provide for a 45-day go shop period in which we could solicit proposals from other parties following
                    execution of a merger agreement. In addition, the Board determined to direct Morgan Stanley to contact a
                    financial sponsor with existing investments in our industry and a strategic party, which we refer to herein as
                    “Party A” and “Party B,” respectively, to discuss their interest in discussing an acquisition of us, as the
                    Board believed that Party A and Party B were most likely to be interested in evaluating, and capable of
                    completing, such a transaction at an attractive valuation. These two parties were among those previously
                    contacted regarding a potential acquisition of us in the third quarter of 2021 prior to our initial public
                    offering. The Board discussed the desirability of contacting other parties at this time in addition to these two
                    parties, and determined not to do so, and instead to solicit interest from other parties through a go-shop
                    process following execution of any definitive agreement providing for an acquisition of us, in view of the
                    increased risk that a broad outreach would become publicly known, which could disrupt our business.

                         On September 18, 2022, at the direction of the Board, representatives of Morgan Stanley spoke with a
                    senior representative of Thoma Bravo and informed him that, based on the September 14 Proposal, we were


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                    willing to allow Thoma Bravo to conduct due diligence, and begin negotiation of a merger agreement but that
                    we would not agree to any exclusivity period and would require a 45-day go shop period. The senior
                    representative of Thoma Bravo indicated that Thoma Bravo was willing to proceed without exclusivity and
                    would provide for a go shop period, the length of which would need to be determined in connection with
                    negotiating the definitive agreement.
                          On September 19, 2022, representatives of Morgan Stanley met with representatives of Thoma Bravo
                    and discussed the anticipated due diligence process for the Proposed Transaction, including the need to
                    restrict UserZoom’s access to competitive information.
                          On September 19, 2022, a representative of Fenwick & West spoke with a representative of Kirkland &
                    Ellis LLP (“Kirkland & Ellis”), outside counsel to Thoma Bravo, regarding the process for drafting a merger
                    agreement.
                          On September 20, 2022, we entered into a letter agreement regarding confidentially (the “Confidentiality
                    Agreement”) with Thoma Bravo. The Confidentiality Agreement included a customary standstill provision
                    that did not include a so-called “don’t ask, don’t waive” provision and was subject to a customary “fall-
                    away” provision under which it would terminate if we were to enter into a merger agreement with a third party
                    providing for a change of control transaction of our company. In addition, the Confidentiality Agreement
                    restricted the ability of Thoma Bravo to disclose our confidential information to UserZoom.
                         Following execution of the Confidentiality Agreement, on September 20, 2022, Messrs. MacMillian and
                    Pexton and Ms. Sabet met with representatives of Thoma Bravo and Sunstone Partners to provide a
                    management presentation and answer questions regarding our business, customers, strategy, financial
                    results and the September Financial Forecast, with representatives of Morgan Stanley in attendance. A copy
                    of the September Financial Forecast that was presented at this meeting was subsequently provided to Thoma
                    Bravo and its advisors.
                         Later on September 20, 2022, at the direction of the Board, representatives of Morgan Stanley contacted
                    Party A and Party B, respectively, to determine whether they would be interested in discussing a potential
                    acquisition of our company.
                         Later on September 20, 2022, a representative of Party A informed representatives of Morgan Stanley
                    that Party A was not currently interested in discussing an acquisition of us. On the same day, Party B
                    informed representatives of Morgan Stanley that it would consider whether it was interested in engaging in
                    any such discussions, and would respond at a later date once it had made such a determination.
                         On September 21, 2022, the Board held a meeting at which Mr. Pexton, Ms. Sabet and representatives of
                    Fenwick & West and Morgan Stanley were present. At the meeting, representatives of Fenwick & West
                    described the proposed terms of a draft Merger Agreement to be delivered to Thoma Bravo, including the
                    proposed transaction structure, treatment of unvested stock options and RSUs, closing conditions, potential
                    remedies for the failure of Thoma Bravo to close the Proposed Transaction, provision for a 45-day “go-shop”
                    process and termination fees payable in the event of a superior proposal from a third party. Representatives
                    of Morgan Stanley then provided an update on discussions with Thoma Bravo since the September 16, 2022
                    Board meeting. Representatives of Morgan Stanley informed the Board that Thoma Bravo had verbally
                    agreed that we would not be subject to an exclusivity period prior to signing of the Merger Agreement,
                    which would permit us to solicit alternative bids prior to signing of the Merger Agreement, and would permit
                    the inclusion of a “go-shop” provision in the Merger Agreement, which would enable us to solicit alternative
                    bids after signing of the Merger Agreement for a period of time. Representatives of Morgan Stanley then
                    informed the Board that Party A was not interested in pursuing an acquisition of us and that Party B had
                    indicated that it would consider whether it was interested in engaging in any such discussions, and that it
                    would respond at a later date once it had made such a determination.
                         On September 22, 2022, Thoma Bravo and its advisors were provided with access to a virtual data room
                    with diligence information regarding our company.
                         On September 23, 2022, representatives of Fenwick & West sent an initial draft of a clean team
                    confidentiality agreement that had been prepared by Fenwick & West to representatives of Kirkland & Ellis
                    to apply to certain competitive information that had not yet been provided in the virtual data room, and


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                    on September 25, 2022, we and Thoma Bravo executed the clean team agreement. On September 25, 2022,
                    pursuant to the clean team agreement, certain representatives of Thoma Bravo and representatives of
                    Kirkland & Ellis and other advisors to Thoma Bravo were provided with access to a clean team specific
                    virtual data room with sensitive diligence information regarding our company.
                         Later on September 23, 2022, representatives of Fenwick & West sent an initial draft of the Merger
                    Agreement that had been prepared by Fenwick & West to representatives of Kirkland & Ellis. The initial draft
                    Merger Agreement provided for (i) a “go-shop” provision in the Merger Agreement that would enable us to
                    solicit alternative bids for 45 days after signing, that had been previously agreed by the parties, (ii) Thoma
                    Bravo to pay us a reverse termination fee of 5.4% of the equity value, including if the Proposed Transaction
                    cannot close because of a failure to obtain necessary antitrust approvals or clearances, (iii) us to pay Thoma
                    Bravo a termination fee of 2.7% of the equity value under certain circumstances (0.9% with respect to a
                    proposal made during the “go-shop” period) and (iv) a portion of the unvested stock options and RSUs held
                    by employees be accelerated in the event that they were terminated without cause, or for “good reason”.
                         Later on September 23, 2022, a representative of Party B informed representatives of Morgan Stanley
                    that Party B would not be making a proposal to acquire us.
                         On September 25, 2022, Morgan Stanley provided us with a customary disclosure document describing
                    certain relationships between Morgan Stanley and representatives thereof on the one hand and UserTesting
                    and Thoma Bravo, and their respective affiliates, on the other hand. This disclosure document indicated,
                    among other matters, that Morgan Stanley or an affiliate thereof was a lender to certain portfolio companies
                    of Thoma Bravo, and acted as administrative agent with respect to credit facilities of two such portfolio
                    companies, including UserZoom. We provided a copy of this disclosure document to the Board on
                    September 26, 2022.

                         Between September 26, 2022 and October 3, 2022, members of our management conducted several
                    meetings with representatives of Thoma Bravo at which members of our management provided due diligence
                    presentations and answered questions. Representatives of Fenwick & West and Kirkland & Ellis were in
                    attendance for the meetings with respect to legal matters.
                        On September 28, Mr. MacMillan met with representatives of Thoma Bravo and Sunstone Partners to
                    become better acquainted and to discuss our company.
                         On September 30, 2022, representatives of Fenwick & West and representatives of Kirkland & Ellis
                    discussed the initial draft of the Merger Agreement. During this meeting, the representatives of Kirkland &
                    Ellis (i) proposed a “go-shop” period of 30 days, (ii) rejected our proposal that Thoma Bravo pay us a reverse
                    termination fee if the Proposed Transaction cannot close because of a failure to obtain necessary antitrust
                    approvals or clearances, (iii) proposed that we pay Thoma Bravo a termination fee of 3.0% of the equity if the
                    Merger Agreement was terminated under certain circumstances (1.5% with respect to a proposal made during
                    the “go-shop” period), and (iv) rejected our proposal that a portion of the unvested stock options and RSUs
                    held by employees be accelerated in the event that they were terminated without cause, or for “good
                    reason.”
                         Later on September 30, 2022, Messrs. MacMillan, Pexton, Satterwhite and Doktorczky and Mses. Sabet
                    and Mekhalfa, met with representatives of Thoma Bravo and discussed our anticipated third quarter financial
                    results, with representatives of Morgan Stanley and Ernst & Young in attendance. These anticipated results
                    included revenue and calculated billings (total revenue plus the change in contract liabilities from the
                    beginning to the end of the period, a non-GAAP financial measure that is indicative of amounts invoiced to
                    customers) that were lower than those anticipated by Wall Street analysts, Thoma Bravo and the September
                    Financial Forecast.
                         On October 3, 2022, a senior representative of Thoma Bravo contacted representatives of Morgan
                    Stanley and informed them that, as a result of our third quarter financial results (and in particular, our
                    calculated billings for the quarter), trends in our end markets and the increased cost to Thoma Bravo to
                    secure debt financing for the Proposed Transaction in light of current debt market conditions, Thoma Bravo
                    was no longer willing to proceed at the previously proposed price of $10.00 per share but did not indicate a
                    price per share at which Thoma Bravo was willing to proceed.


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                         Following that call, on October 3, 2022, as a result of Thoma Bravo’s indication that it would be reducing
                    the valuation, we instructed our advisors to cease engaging with Thoma Bravo’s advisors.
                         On October 4, 2022, representatives of Thoma Bravo contacted representatives of Morgan Stanley and
                    verbally indicted that Thoma Bravo may be prepared to resume discussions at a price of $7.50 per share,
                    subject to further due diligence regarding our financial outlook and our go-to-market strategy (the “October
                    4 Proposal”). The October 4 Proposal represented a premium of approximately 95% over our closing stock
                    price of $3.84 on October 3, 2022.

                         Following that call, on October 4, 2022, the Board held a meeting at which Mr. Pexton, Ms. Sabet and
                    representatives of Fenwick & West and Morgan Stanley were present. At the meeting, Mr. MacMillan and
                    representatives of Morgan Stanley reviewed the October 4 Proposal, including the rationales conveyed by
                    Thoma Bravo for the price decrease. Messrs. MacMillan and Pexton provided the Board an update on our
                    financial results for the quarter ended September 30, 2022. A representative of Fenwick & West then
                    reviewed the fiduciary duties of the Board in considering the October 4 Proposal. Following discussion, the
                    Board directed representatives of Morgan Stanley and our management to reject the October 4 Proposal
                    because of the magnitude of the price decrease and the lack of certainty and specificity in the October 4
                    Proposal.

                       Later on October 4, 2022, a representative of Morgan Stanley contacted a senior representative of
                    Thoma Bravo and informed him that the Board had rejected the October 4 Proposal.
                          Later on October 4, 2022, the same senior representative of Thoma Bravo then contacted Mr. MacMillan
                    to reiterate Thoma Bravo’s rationale for its revised view of valuation.

                       On October 5, 2022, as a result of the Board’s determination, we terminated the engagement letter with
                    Morgan Stanley and also terminated the access of Thoma Bravo and its advisors to the virtual data room.
                          On October 9, 2022, representatives of Thoma Bravo contacted Mr. MacMillan and verbally indicated
                    that it was evaluating its ability to proceed at a price of $7.50 per share, subject to further due diligence
                    regarding our financial outlook and our go-to-market strategy. Mr. MacMillan responded that, in light of the
                    Board’s previous direction regarding the October 4 Proposal, any proposal would need to provide us with
                    substantially greater certainty and specificity, and not be subject to any further due diligence that could
                    affect valuation.

                          On October 12, 2022, representatives of Thoma Bravo contacted Mr. MacMillan and verbally indicated
                    that it would likely be willing to proceed at a price of $7.00 per share given market conditions, which
                    represented a premium of approximately 89% over our closing stock price of $3.71 on October 11, 2022. Mr.
                    MacMillan responded that the proposal to proceed at a price of $7.00 per share was insufficient and the
                    proposal did not provide us with the level of certainty and specificity that was necessary. Mr. MacMillan
                    noted that, at the October 4, 2022 Board Meeting, the Board was not supportive of $7.50 per share without
                    greater certainty and specificity.

                         On October 13, 2022, representatives of Thoma Bravo contacted Mr. MacMillan and verbally indicated
                    that Thoma Bravo would be willing to proceed at a price of $7.25 per share, which represented a premium of
                    approximately 94% over our closing stock price of $3.74 on October 12, 2022, subject to further due diligence
                    regarding our financial outlook. Mr. MacMillan responded that he did not anticipate the Board would
                    support a transaction at a price of $7.25 per share, especially in view of the continued lack of certainty and
                    specificity as to terms and due diligence requirements, but that, nevertheless, he would communicate the
                    proposal to the Board. Later that day, Mr. MacMillan communicated this proposal to the Board.
                         On October 16, 2022, we sent a letter to Thoma Bravo requesting that Thoma Bravo and its advisors
                    return to us, or destroy, all confidential information that had been provided to them pursuant to the
                    Confidentiality Agreement.

                         On October 20, 2022, representatives of Thoma Bravo contacted Mr. MacMillan and verbally indicated
                    that Thoma Bravo would be willing to proceed at a price of $7.50 per share and that it had generally
                    completed their due diligence on us (other than confirmatory legal due diligence), to which Mr. MacMillan
                    responded that Thoma Bravo should put the offer in writing and provide along with any proposed


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                    significant changes to the draft Merger Agreement so that the Board could fully evaluate the terms being
                    proposed and the certainty of the Proposed Transaction.

                         On October 20, 2022, Thoma Bravo and UserZoom submitted a further revised non-binding indication of
                    interest to acquire all of the outstanding shares of our common stock for $7.50 per share (the “October 20
                    Proposal”), representing a premium of approximately 112% over our closing stock price of $3.54 on October
                    20, 2022, and a revised draft of the Merger Agreement. Among other terms reflected in the draft Merger
                    Agreement, the Merger Agreement (i) included a “go-shop” period of 45 days, which was unchanged from
                    the initial draft Merger Agreement that Fenwick & West sent to Kirkland & Ellis, (ii) rejected our proposal
                    that Thoma Bravo pay us a reverse termination fee if the Proposed Transaction cannot close because of a
                    failure to obtain necessary antitrust approvals or clearances, (iii) proposed that we pay Thoma Bravo a
                    termination fee of 2.7% of the equity under certain circumstances (0.9% with respect to a proposal made
                    during the “go-shop” period), which was unchanged from the initial draft Merger Agreement that Fenwick &
                    West sent to Kirkland & Ellis and (iv) rejected our proposal that a portion of the unvested stock options and
                    RSUs held by employees be accelerated in the event that they were terminated without cause, or for “good
                    reason.”
                         Later on October 20, 2022, our management contacted representatives of Morgan Stanley to discuss the
                    October 20 Proposal and next steps, and determined to engage in further discussions with Thoma Bravo to
                    confirm that Thoma Bravo was firm on price and that Thoma Bravo did not require additional due diligence
                    that could be expected to affect their valuation, and determined that upon such confirmation from Thoma
                    Bravo, we would review the October 20 Proposal with the Board.
                         On October 21, 2022, at the direction of our management, representatives of Morgan Stanley discussed
                    the Proposed Transaction with representatives of Thoma Bravo, including Thoma Bravo’s plan to commit
                    equity capital to fund the entire cash consideration payable at closing under the Merger Agreement and that
                    Thoma Bravo would potentially seek debt financing for a portion of the purchase price following the signing
                    of the Merger Agreement. During such discussion and at the direction of our management, representatives
                    of Morgan Stanley also noted that we had updated the September Financial Forecast to reflect our third
                    quarter financial performance, and estimates for the fourth quarter. In addition, representatives of Morgan
                    Stanley mentioned that the Board would review the October 20 Proposal after Thoma Bravo confirmed it was
                    now firm on price and that no additional diligence items were needed for Thoma Bravo to complete its
                    valuation diligence. Representatives of Thoma Bravo replied that they needed to see our revenue and billing
                    results for the third quarter along with current revenue and billings estimates for the fourth quarter, and a
                    current fully-diluted share calculation.
                         Later on October 21, 2022, at the direction of our management, representatives of Fenwick & West sent a
                    revised draft of the Merger Agreement, and an initial draft of our related disclosure letter to representatives
                    of Kirkland & Ellis.

                         On October 22, 2022, we provided representatives of Thoma Bravo with our revenue and billing results
                    for the third quarter along with current revenue and billings estimates for the fourth quarter and a current
                    fully-diluted share calculation and, after reviewing this information, Thoma Bravo confirmed to
                    representatives of Morgan Stanley the $7.50 per share price included in the October 20 Proposal and that no
                    additional due diligence that could be expected to affect their valuation remained outstanding.

                         Later on October 22, 2022, representatives of Fenwick & West and Kirkland & Ellis discussed the
                    revised draft of the Merger Agreement, and between October 23, 2022 and October 26, 2022, representatives
                    of Fenwick & West and Kirkland & Ellis exchanged revised drafts of the Merger Agreement and our
                    disclosure letter and conducted a number of conference calls regarding the draft Merger Agreement. Among
                    other items in the draft Merger Agreement, the parties negotiated exceptions to the interim operating
                    covenants regarding actions that we could take following the execution of the Merger Agreement.
                         Later on October 22, 2022, Morgan Stanley provided us with an updated customary disclosure
                    document describing certain relationships between Morgan Stanley and representatives thereof on the one
                    hand and UserTesting and Thoma Bravo, and their respective affiliates, on the other hand, which reiterated
                    the relationships identified in the disclosure document previously provided to us. We provided a copy of
                    this disclosure document to the Board on October 23, 2022.


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                          On October 23, 2022, the Board held a meeting at which Mr. Pexton, Ms. Sabet and representatives of
                    Fenwick & West and Morgan Stanley were present. At the meeting, Mr. MacMillan and representatives of
                    Morgan Stanley reviewed the October 20 Proposal and the status of the Proposed Transaction, including
                    that Thoma Bravo had confirmed the price included in the October 20 Proposal and that no additional
                    valuation diligence remained outstanding. Mr. Pexton then presented the updated long-term financial
                    forecast that was developed by our management over the course of October, a copy of which had been
                    provided to the Board for review prior to the meeting, for the fiscal years ending December 31, 2022 through
                    2025 with certain extrapolations prepared by Morgan Stanley for the fiscal years ending December 31, 2026
                    through 2036 with the guidance of our management (the “October Financial Forecast”) that reflected the
                    potential impact of our financial results for the third quarter ended September 30, 2022 on future periods, and
                    which reflected reduced levels of revenue, gross margin, EBITDA and unlevered free cash flow as compared
                    to the September Financial Forecast as a result of our revenue and billing results for the third quarter and
                    estimates for the fourth quarter and trends in our end markets that we observed subsequent to our
                    preparation of the September 21 forecast. The October Financial Forecast is described in more detail in the
                    section of this proxy statement captioned “- Management Projections”. A representative of Fenwick & West
                    then described the status of negotiations of the Merger Agreement. The Board then discussed the October
                    20 Proposal in light of the October Financial Forecast and these trends in our end markets, and the risks to
                    our business of current increased economic and market uncertainty, and directed our senior management to
                    continue to work with Thoma Bravo to complete negotiations on the basis of the October 20 Proposal.
                    Representatives of Morgan Stanley left the meeting. The Board and a representative of Fenwick & West then
                    discussed the updated relationship disclosure that had been provided by Morgan Stanley, and the Board
                    determined to re-engage Morgan Stanley and we subsequently executed an addendum to the engagement
                    letter with Morgan Stanley on October 24, 2022 to reinstate the terms of such engagement letter. The Board
                    then approved the use of the October Financial Forecast by Morgan Stanley in its financial analyses of the
                    Proposed Transaction.
                          Later on October 23, 2022, representatives of Kirkland & Ellis sent to representatives of Fenwick & West
                    initial drafts of each of the Equity Commitment Letters and Guaranties to be entered into by the Thoma Bravo
                    Funds and by the Sunstone Partners Funds concurrently with the execution of the Merger Agreement. From
                    October 24, 2022 through October 26, 2022, representatives from Fenwick & West and Kirkland & Ellis
                    negotiated the Equity Commitment Letters and Guaranties.
                          On October 25, 2022, the Board held a meeting at which Mr. Pexton, Ms. Sabet and representatives of
                    Fenwick & West and Morgan Stanley were present. At the meeting, Mr. MacMillan, Ms. Sabet and Morgan
                    Stanley provided an update on the discussions with Thoma Bravo and Fenwick & West then led a
                    discussion regarding material terms of the Merger Agreement and certain open issues, including the
                    restrictions on the operation of our business following execution of the Merger Agreement.
                        On October 26, 2022, representatives of Kirkland & Ellis and representatives of Fenwick & West
                    completed their negotiation of the Merger Agreement, Equity Commitment Letters and Guaranties.

                         On October 26, 2022, the Board held a meeting at which Mr. Pexton, Mses. Sabet and Huff and
                    representatives of Fenwick & West and Morgan Stanley were present. Representatives of Morgan Stanley
                    delivered to the Board its oral opinion, which was subsequently confirmed by delivery of a written opinion
                    dated October 26, 2022, to the effect that, as of October 26, 2022, and based upon and subject to the
                    assumptions made, procedures followed, matters considered and qualifications and limitations on the scope
                    of review undertaken by Morgan Stanley as set forth in the written opinion, the per share consideration of
                    $7.50 in cash to be received by the holders of shares of our common stock (other than holders of the
                    Excluded Shares) pursuant to the Merger Agreement was fair from a financial point of view to such holders
                    of shares of our common stock. Morgan Stanley’s opinion is more fully described in the section of this proxy
                    statement captioned “- Opinion of Morgan Stanley & Co. LLC.” Representatives of Fenwick & West
                    reviewed with the Board its fiduciary duties and summarized the key terms of the transaction, including the
                    outcome of the negotiations with respect to the “go-shop” provision and the restrictions on the operation of
                    our business following execution of the Merger Agreement. Following discussion and consideration of the
                    Merger Agreement and the other transactions contemplated by the Merger Agreement (including the factors
                    described in the section titled “- Reasons for the Merger; Recommendation of the Board”), the members of
                    the Board unanimously (i) determined that it was in the best interests of us and our


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                     stockholders, and declared it advisable, to enter into the Merger Agreement; (ii) approved the execution and
                     delivery of the Merger Agreement by us, the performance by us of our covenants and other obligations
                     thereunder, and the consummation of the merger upon the terms and subject to the conditions set forth
                     therein; (iii) recommended that our stockholders adopt the Merger Agreement in accordance with the DGCL;
                     and (iv) directed that the adoption of the Merger Agreement be submitted for consideration by our
                     stockholders at a meeting thereof. Further, the members of the Board reviewed and approved the equity
                     commitment letters, the limited guaranties, our disclosure letter and other transaction documents.
                     Representatives of Morgan Stanley then reviewed the proposed “go-shop” process, including providing a
                     list of parties to be contacted by Morgan Stanley following announcement of the transaction, and the Board
                     directed Morgan Stanley to contact these parties to determine whether they would be interested in
                     evaluating an acquisition of our company.

                          Overnight on October 26, 2022, we and Thoma Bravo executed the Merger Agreement and delivered the
                     executed Equity Commitment Letters and Limited Guaranties. After execution of the transaction agreements,
                     we and Thoma Bravo issued a joint press release announcing the entry into the Merger Agreement before
                     the opening of The New York Stock Exchange on October 27, 2022.

                          From October 27, 2022, after the transaction was announced, and through December 5, 2022, at the
                     direction of the Board and the Transaction Committee, Morgan Stanley contacted 25 strategic counterparties
                     and 19 financial sponsor counterparties regarding a potential acquisition of us in connection with the “go-
                     shop” provision in the Merger Agreement. Over the course of this period, 22 of the strategic counterparties
                     contacted, and all 19 of the financial sponsor counterparties contacted, affirmatively declined to further
                     evaluate a potential transaction.

                         On December 10, 2022, at 11:59 p.m. Pacific Time, the go-shop period provided for in the Merger
                     Agreement will expire.

                     Recommendation of the Board of Directors and Reasons for the Merger

                     Recommendation of the Board of Directors
                          The Board carefully reviewed and considered the proposed Merger in consultation with UserTesting’s
                     management and legal and financial advisors and the Board has unanimously (i) determined that it is in the best
                     interests of UserTesting and our stockholders, and declared it advisable, to enter into the Merger Agreement, (ii)
                     approved the execution, delivery and performance of the Merger Agreement and the consummation of the transactions
                     contemplated thereby, including the Merger, and (iii) resolved to recommend that our stockholders adopt the Merger
                     Agreement and directed that such matter be submitted for the consideration of our stockholders at the Special
                     Meeting.

                          The Board unanimously recommends that you vote: (1) “FOR” the adoption of the Merger Agreement and (2)
                     “FOR” the adjournment of the Special Meeting, if necessary or appropriate, to solicit additional proxies if there are
                     insufficient votes to adopt the Merger Agreement at the time of the Special Meeting.

                     Reasons for the Merger

                          The Board carefully reviewed and considered the proposed Merger in consultation with our
                     management and legal and financial advisors and the Board has unanimously (i) determined that it is in the
                     best interests of us and our stockholders, and declared it advisable, to enter into the Merger Agreement, (ii)
                     approved the execution, delivery and performance of the Merger Agreement and the consummation of the
                     transactions contemplated thereby, and (iii) recommended that our stockholders adopt the Merger
                     Agreement and directed that such matter be submitted for the consideration of our stockholders at a special
                     meeting of our stockholders.

                         In reaching these decisions, the Board considered the following positive reasons to support the Merger
                     Agreement and the transactions contemplated thereby:
                          • the fact that the price of $7.50 per share in cash payable in the Merger provides certainty, immediate
                            value and liquidity to our stockholders;


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                    • the historical market prices, volatility and trading information with respect to shares of our common
                      stock, including the fact that $7.50 per share to be received by our stockholders in the Merger
                      constituted a premium of:
                        • approximately 94% over the closing price of our common stock as of October 26, 2022, the last
                          trading day before the public announcement of the Merger; and
                        • approximately 96% over the average price of our common stock for the 30 trading days ended
                          October 26, 2022;
                    • the current and prospective business environment in which we operate, including international,
                      national and local economic conditions, the competitive environment, and the likely effect of these
                      factors on us and the execution of our plans as a standalone company, including the risks of current
                      increased economic and market uncertainty;
                    • the Board’s belief that the $7.50 per share in cash payable in the Merger was more favorable to our
                      stockholders on a risk-adjusted basis than the potential value that might result from other alternatives
                      reasonably available to us, based upon the directors’ extensive knowledge of our business, assets,
                      financial condition and results of operations, the execution challenges that we potentially face, our
                      historical and projected financial performance, and market dynamics, and the belief that the Merger
                      represented an attractive and comparatively certain value for our stockholders relative to the risk-
                      adjusted prospects for us on a standalone basis;
                    • the fact that the consideration to be paid in the Merger is payable solely in cash, which allows our
                      stockholders to realize immediate liquidity and certainty of value in respect of their shares of common
                      stock, while eliminating the effect on our stockholders of long-term business and execution risk;
                    • the results of our outreach, with the assistance of Morgan Stanley, to the strategic parties and
                      financial sponsors that the Board believed would be most likely to be interested in evaluating a
                      potential transaction and able to provide an attractive valuation;
                    • the potential negative risk to the business in the event that discussions regarding a potential
                      acquisition should become publicly known;
                    • our right, pursuant to a go-shop period ending 11:59 p.m. Pacific Time on December 10, 2022, to solicit
                      Alternative Acquisition Proposals from, and participate in discussions and negotiations with, third
                      parties regarding Alternative Acquisition Proposals;
                    • the belief that, after multiple rounds of negotiations with Thoma Bravo and its representatives (as
                      described in more detail under the section of this proxy statement captioned “- Background of the
                      Merger”), $7.50 per share was the highest price that Thoma Bravo was willing to pay as of the date of
                      execution of the Merger Agreement and that the terms of the Merger Agreement include the most
                      favorable terms to us, in the aggregate, to which Thoma Bravo was willing to agree;
                    • the oral opinion of Morgan Stanley rendered to the Board, subsequently confirmed in writing, that, as
                      of October 26, 2022, and based upon and subject to the assumptions made, procedures followed,
                      matters considered and qualifications and limitations on the scope of review undertaken by Morgan
                      Stanley as set forth therein, the $7.50 per share in cash to be received by holders of shares of our
                      common stock (other than the holders of the Excluded Shares) pursuant to the Merger Agreement was
                      fair, from a financial point of view, to such holders of shares of our common stock, as more fully
                      described below under the section of this proxy statement captioned “- Opinion of Morgan Stanley &
                      Co. LLC,” which full text of the written opinion is attached as Annex B to this proxy statement and is
                      incorporated by reference in this proxy statement in its entirety;
                    • the fact that we have sufficient operating flexibility to conduct our business in the ordinary course
                      prior to the consummation of the Merger;
                    • the conditions to closing contained in the Merger Agreement, which are limited in number and scope,
                      and which, in the case of the condition related to the accuracy of our representations and warranties,
                      is generally subject to a Company Material Adverse Effect (as defined in the section of this proxy
                      statement captioned “Proposal 1: Adoption of the Merger Agreement - Representations and
                      Warranties”) qualification;


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                        • the ability of the Board to furnish information to, and conduct negotiations with, third parties in
                          certain circumstances, to terminate the Merger Agreement to accept a Superior Proposal upon
                          payment of a termination fee of $33,880,000 (which the Board believed was reasonable under the
                          circumstances) and to terminate the Merger Agreement to accept a Superior Proposal received prior to
                          11:59 p.m. Pacific Time on December 20, 2022 to enter into a definitive agreement with respect to a
                          Superior Proposal received from certain parties upon payment of a reduced termination fee equal to
                          $10,160,000;
                        • the End Date of April 26, 2023 (subject to extension under certain circumstances), which is expected
                          to allow for sufficient time to complete the Merger;
                        • the availability of statutory appraisal rights to our stockholders who do not vote in favor of the
                          adoption of the Merger Agreement and otherwise comply with all required procedures under the
                          DGCL;
                        • the absence of a financing condition in the Merger Agreement, the obligations of Parent under the
                          Merger Agreement to arrange and consummate the financing, and the limited number and nature of
                          the conditions in the Financing Letters;
                        • our ability, under circumstances specified in the Merger Agreement and the Equity Commitment
                          Letter, to specifically enforce Parent’s obligation to cause the equity financing to be funded as
                          contemplated by the Merger Agreement and the Equity Commitment Letter;
                        • the requirement that, in the event of a failure of the Merger to be consummated under certain
                          circumstances, Parent will pay us a termination fee of $67,760,000, and the obligations of the Thoma
                          Bravo Funds and the Sunstone Partners Funds under the Guaranties to fund such amount;
                        • representations by Parent in the Merger Agreement that it will have adequate resources to pay the
                          merger consideration and other amounts required to consummate the Merger, taking into account the
                          proceeds from the Financing Letters and our projected cash balance;
                        • our rights to specific performance under the terms and subject to the conditions set forth in the
                          Merger Agreement; and
                        • the likelihood that the Merger would be consummated, in light of the experience, reputation and
                          financial capabilities of Thoma Bravo and its equity financing sources.

                         In the course of its deliberations, the Board also considered, among other things, the following negative
                    factors:
                        • the fact that we would no longer exist as an independent, publicly traded company and our
                          stockholders would not benefit from any future growth potential or benefit from any future increase
                          in our value as a private company;
                        • the possibility that the Merger will not be consummated and the potential negative effects on our
                          business, operations, financial results and stock price;
                        • the potential negative effects of the public announcement of the Merger on our sales, operating
                          results and stock price, its ability to retain key management, sales, engineering and other personnel,
                          and its relationships with customers, suppliers and partners;
                        • the restrictions on the conduct of our business prior to the completion of the Merger, requiring us to
                          conduct our business in the ordinary course and preventing us from taking certain specified actions,
                          subject to specific limitations and exceptions, all of which may delay or prevent us from undertaking
                          business opportunities pending completion of the Merger;
                        • the significant costs involved in connection with entering into the Merger Agreement and completing
                          the Merger (many of which are payable whether or not the Merger is consummated) and the
                          substantial time and effort of our management required to complete the Merger, which may disrupt
                          our business operations and have a negative effect on its financial results;
                        • the conditions to the obligations of Parent to complete the Merger and the right of Parent to terminate
                          the Merger Agreement under certain circumstances;


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                          • the fact that the Merger Agreement precludes us from actively soliciting Alternative Acquisition
                            Proposals after the Go-Shop Period, and the possibility that we may be obligated to pay Parent a
                            termination fee of $33,880,000, or $10,160,000 in the event that we terminate the Merger Agreement
                            under certain circumstances;
                          • if Parent fails to complete the Merger as a result of the failure to obtain the financing under the Debt
                            Commitment Letter or a breach of the Merger Agreement in certain circumstances, remedies are
                            generally limited to the Parent termination fee payable by Parent as described above, which may be
                            inadequate to compensate us for the damage caused, and if available, other rights and remedies may
                            be expensive and difficult to enforce, and the success of any such action may be uncertain;
                          • the fact that completion of the Merger requires certain regulatory clearances, including under
                            applicable antitrust laws, and the fact that even if obtained, these clearances may delay the
                            completion of the Merger;
                          • the possible loss of our key management or other personnel during the pendency of the Merger;
                          • the risk of litigation;
                          • the fact that the consideration consists of cash and will therefore be taxable to our stockholders who
                            are subject to taxation for U.S. federal income tax purposes; and
                          • the interests that certain of our directors and executive officers may have with respect to the Merger,
                            in addition to their interests as our stockholders generally, as described in the section of this proxy
                            statement captioned “The Merger - Interests of Executive Officers and Directors of UserTesting in the
                            Merger.”
                          The foregoing discussion of reasons for the recommendation to adopt the Merger Agreement is not
                     meant to be exhaustive but addresses the material information and factors considered by the Board in
                     consideration of their respective recommendations. In view of the wide variety of factors considered by the
                     Board in connection with its evaluation of the Merger and the complexity of these matters, the Board did not
                     find it practicable to, and did not, quantify or otherwise assign relative weights to the specific factors
                     considered in reaching their respective determinations and recommendations. Rather, in considering the
                     information and factors described above, individual members of the Board each applied his or her own
                     personal business judgment to the process and may have given differing weights to differing factors. The
                     Board based their respective unanimous recommendations on the totality of the information presented. The
                     explanation of the factors and reasoning set forth above contain forward-looking statements that should be
                     read in conjunction with the section of this proxy statement captioned “Forward-Looking Statements.”

                     Opinion of Morgan Stanley & Co. LLC

                          UserTesting retained Morgan Stanley to provide it with financial advisory services and a financial
                     opinion in connection with the possible sale of UserTesting. The Board of Directors selected Morgan
                     Stanley to act as its financial advisor based on Morgan Stanley’s qualifications, expertise and reputation, its
                     extensive expertise and experience advising software companies in connection with potential strategic
                     transactions (including but not limited to numerous transactions with Thoma Bravo), and its knowledge of
                     UserTesting’s business and affairs based on its longstanding relationship with UserTesting, including as a
                     result of acting as UserTesting’s lead underwriter in its initial public offering in November 2021. At the
                     meeting of the Board of Directors on October 26, 2022, Morgan Stanley rendered its oral opinion,
                     subsequently confirmed in writing, that, as of October 26, 2022, and based upon and subject to the
                     assumptions made, procedures followed, matters considered and qualifications and limitations on the scope
                     of review undertaken by Morgan Stanley as set forth in the written opinion, the $7.50 per share in cash to be
                     received by holders of shares of UserTesting common stock (other than the holders of the Excluded Shares)
                     pursuant to the Merger Agreement was fair from a financial point of view to such holders of shares of
                     UserTesting common stock.
                          The full text of the written opinion of Morgan Stanley, dated as of October 26, 2022, which sets forth, among
                     other things, the assumptions made, procedures followed, matters considered and qualifications and limitations on the
                     scope of the review undertaken by Morgan Stanley in rendering its opinion, is attached to this proxy statement as
                     Annex B and incorporated by reference in this proxy statement in its entirety. The summary


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                    of the opinion of Morgan Stanley in this proxy statement is qualified in its entirety by reference to the full text of the
                    opinion. You are encouraged to read Morgan Stanley’s opinion carefully and in its entirety. Morgan Stanley’s opinion
                    was directed to the Board of Directors, in its capacity as such, and addresses only the fairness from a financial point of
                    view of the $7.50 per share in cash to be received by the holders of shares of UserTesting common stock (other than
                    the holders of the Excluded Shares) pursuant to the Merger Agreement as of the date of the opinion and does not
                    address the relative merits of the Merger as compared to any other alternative business transaction, or other
                    alternatives, or whether or not such alternatives could be achieved or are available. It was not intended to, and does not,
                    constitute an opinion or a recommendation as to how UserTesting stockholders should vote at the Special Meeting.
                    The summary of the opinion of Morgan Stanley set forth below is qualified in its entirety by reference to the full text of
                    the opinion.

                         In connection with rendering its opinion, Morgan Stanley, among other things:
                         • reviewed certain publicly available financial statements and other business and financial information
                           of UserTesting;
                         • reviewed certain internal financial statements and other financial and operating data concerning
                           UserTesting;
                         • reviewed certain financial projections prepared by the management of UserTesting and certain
                           extrapolations prepared with guidance from the management of UserTesting (which were reviewed
                           and approved by the Board of Directors for Morgan Stanley’s use);
                         • discussed the past and current operations and financial condition and the prospects of UserTesting
                           with senior executives of UserTesting;
                         • reviewed the reported prices and trading activity for UserTesting common stock;
                         • compared the financial performance of UserTesting and the prices and trading activity of UserTesting
                           common stock with that of certain other publicly-traded companies comparable with UserTesting, and
                           their securities;
                         • reviewed the financial terms, to the extent publicly available, of certain comparable acquisition
                           transactions;
                         • participated in certain discussions and negotiations among representatives of UserTesting, Parent
                           and their legal advisors;
                         • reviewed a draft of the Merger Agreement dated as of October 26, 2022, drafts of each of the Equity
                           Commitment Letters and the Guaranties, in each case substantially in the form of the drafts dated
                           October 26, 2022, and certain related documents; and
                         • performed such other analyses, reviewed such other information and considered such other factors
                           as Morgan Stanley deemed appropriate.

                         In arriving at its opinion, Morgan Stanley assumed and relied upon, without independent verification,
                    the accuracy and completeness of the information that was publicly available or supplied or otherwise made
                    available to Morgan Stanley by UserTesting, and formed a substantial basis for its opinion. With respect to
                    the October Financial Forecast, Morgan Stanley assumed that they had been reasonably prepared on bases
                    reflecting the best currently available estimates and judgments of UserTesting’s management of the future
                    financial performance of UserTesting. Morgan Stanley expressed no view as to such financial projections or
                    the assumptions on which they were based. In addition, Morgan Stanley assumed that the Merger would be
                    consummated in accordance with the terms set forth in the Merger Agreement without any waiver,
                    amendment or delay of any terms or conditions, including among other things, that Parent will obtain
                    financing in accordance with the terms set forth in the Equity Commitment Letters, and that the definitive
                    merger agreement and Equity Commitment Letters would not differ in any material respect from the drafts
                    thereof furnished to Morgan Stanley. Morgan Stanley assumed that, in connection with the receipt of all the
                    necessary governmental, regulatory or other approvals and consents required for the proposed Merger, no
                    delays, limitations, conditions or restrictions would be imposed that would have a material adverse effect on
                    the contemplated benefits expected to be derived in the proposed Merger. Morgan Stanley is not a legal, tax
                    or regulatory advisor. Morgan Stanley is a financial advisor only and relied upon, without independent
                    verification, the assessment of UserTesting and its legal, tax or regulatory advisors with respect


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                    to legal, tax or regulatory matters. Morgan Stanley’s opinion does not address the relative merits of the
                    Merger as compared to any other alternative business transaction, or other alternatives, or whether or not
                    such alternatives could be achieved or are available. Morgan Stanley expressed no opinion with respect to
                    the fairness of the amount or nature of the compensation to any of UserTesting’s officers, directors or
                    employees, or any class of such persons, relative to the $7.50 per share in cash to be received by the holders
                    of shares of UserTesting common stock (other than the holders of the Excluded Shares) in the Merger.
                    Morgan Stanley did not make any independent valuation or appraisal of the assets or liabilities of
                    UserTesting, nor was Morgan Stanley furnished with any such valuations or appraisals. Morgan Stanley’s
                    opinion was necessarily based on financial, economic, market and other conditions as in effect on, and the
                    information made available to Morgan Stanley as of, October 26, 2022. Events occurring after October 26,
                    2022 may affect Morgan Stanley’s opinion and the assumptions used in preparing it, and Morgan Stanley did
                    not assume any obligation to update, revise or reaffirm its opinion.

                    Summary of Financial Analyses
                         The following is a brief summary of the material analyses performed by Morgan Stanley in connection
                    with its oral opinion as of October 26, 2022, subsequently confirmed in writing as of such date, to the Board
                    of Directors. The following summary is not a complete description of Morgan Stanley’s opinion or the
                    financial analyses performed and factors considered by Morgan Stanley in connection with its opinion, nor
                    does the order of analyses described represent the relative importance or weight given to those analyses.
                    Some of these summaries of financial analyses include information presented in tabular format. In order to
                    fully understand the financial analyses used by Morgan Stanley, the tables must be read together with the
                    text of each summary. The tables alone do not constitute a complete description of the financial analyses.
                    The analyses listed in the tables and described below must be considered as a whole; considering any
                    portion of such analyses and the factors considered, without considering all analyses and factors, could
                    create a misleading or incomplete view of the process underlying Morgan Stanley’s opinion.

                          In performing the financial analyses summarized below and in arriving at its opinion, Morgan Stanley
                    utilized and was directed by the Board of Directors to rely upon, among other matters, (i) the October
                    Financial Forecast, which included extrapolations through calendar year 2036 prepared by Morgan Stanley
                    that were reviewed and approved for Morgan Stanley’s use by the Board of Directors, and (ii) certain
                    estimates of equity research analysts available as of October 26, 2022, which included extrapolations through
                    calendar year 2025 prepared by Morgan Stanley (the “Street Consensus”). The October Financial Forecast
                    are more fully described below in the section of this proxy statement captioned “- Projections.” In
                    accordance with direction from the Board of Directors, Morgan Stanley utilized the Street Consensus and the
                    October Financial Forecast in its financial analyses described below.

                    Public Trading Comparables Analysis

                         Morgan Stanley performed a public trading comparables analysis, which attempts to provide an implied
                    value of a company by comparing it to similar companies that are publicly traded. Morgan Stanley reviewed
                    and compared certain financial estimates for UserTesting with comparable publicly available consensus
                    equity analyst research estimates for companies, selected based on Morgan Stanley’s professional judgment
                    and experience, that share similar business characteristics and have certain comparable operating
                    characteristics including, among other things, similarly sized revenue and/or revenue growth rates, market
                    capitalizations, profitability, scale and/or other similar operating characteristics (these companies are referred
                    to as the “comparable companies”). These comparable companies are identified below.
                         For purposes of this analysis, Morgan Stanley analyzed the ratio of aggregate value to estimated
                    revenue for each of the comparable companies utilizing publicly available financial information from
                    consensus equity analyst research estimates for calendar year 2023 (which ratio is referred to herein as
                    “AV/CY2023E Revenue Multiple”). For purposes of its analyses, Morgan Stanley defined “aggregate value”
                    as a company’s fully diluted equity value plus total debt, less cash and cash equivalents.

                        The range of observed AV/CY2023E Revenue Multiples for the selected customer experience comparable
                    companies was 2.7x to 6.0x, with a median observed multiple of 4.8x, and for the selected software financial


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                    comparable companies was 1.3x to 4.8x, with a median observed multiple of 2.5x. The following is a list of the
                    selected comparable companies reviewed, together with the applicable multiples:
                                                                                                                     AV/
                                                                                                                   CY2023E
                                                                                                                   Revenue
                        Selected Comparable Company                                                                Multiple
                        Selected Customer Experience Comparable Companies
                        Amplitude, Inc.                                                                               6.0x
                        Braze, Inc.                                                                                   5.6x
                        Qualtrics International Inc.                                                                  4.0x
                        Sprinklr, Inc.                                                                                2.7x

                        Selected Software Financial Comparable Companies
                        BigCommerce Holdings, Inc.                                                                    3.2x
                        CS Disco, Inc.                                                                                2.5x
                        Couchbase, Inc.                                                                               2.6x
                        Semrush Holdings, Inc.                                                                        4.8x
                        Sumo Logic, Inc.                                                                              1.9x
                        WalkMe Ltd.                                                                                   1.3x

                         Based on an analysis of the relevant metrics for each of the comparable companies and upon the
                    application of its professional judgment and experience, Morgan Stanley selected a representative range of
                    AV/CY2023E Revenue Multiples of 2.0x - 4.0x and applied this range of multiples to the estimated revenue for
                    UserTesting for calendar year 2023 based on the Street Consensus. In addition, for the purpose of this
                    analysis, Morgan Stanley calculated UserTesting’s aggregate value assuming UserTesting’s net cash as of
                    September 30, 2022 as provided by UserTesting’s management. Based on the calculations set forth above
                    and the outstanding shares of UserTesting common stock on a fully diluted basis as provided by
                    UserTesting management on October 25, 2022, this analysis implied an estimated value per share of
                    UserTesting common stock of $3.80 to $6.46.
                          No company utilized in the public trading comparables analysis is identical to UserTesting. In
                    evaluating the comparable companies, Morgan Stanley made numerous assumptions with respect to industry
                    performance, general business, regulatory, economic, market and financial conditions and other matters,
                    many of which are beyond UserTesting’s control. These include, among other things, the impact of
                    competition on UserTesting’s business and the industry generally, industry growth, and the absence of any
                    adverse material change in the financial condition and prospects of UserTesting and the industry, and in the
                    financial markets in general. Mathematical analysis (such as determining the average or median) is not in
                    itself a meaningful method of using comparable company data.

                    Discounted Equity Value Analysis

                         Morgan Stanley performed a discounted equity value analysis, which is designed to provide insight
                    into a theoretical estimate of the potential future equity value of a company as a function of such company’s
                    estimated future revenue. The resulting estimated future equity value is subsequently discounted back to
                    the present day to arrive at an illustrative estimate of the implied present value for the company’s common
                    stock. In connection with this analysis, Morgan Stanley calculated a range of implied present equity values
                    per share of UserTesting common stock on a standalone basis for each of the Street Consensus and October
                    Financial Forecast.
                         To calculate the discounted equity value per share of UserTesting common stock, Morgan Stanley used
                    calendar year 2025 estimated revenue of approximately $335 million based on the Street Consensus and
                    approximately $348 million based on the October Financial Forecast. For each scenario, Morgan Stanley
                    calculated the future-implied aggregate value of UserTesting as of December 31, 2024 by applying its public
                    trading comparables analysis reference range for AV/CY2023E Revenue Multiples of 2.0x - 4.0x to
                    UserTesting’s calendar year 2025 estimated revenue based on each of the Street Consensus and the October


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                    Financial Forecast. In each case, Morgan Stanley then divided the future-implied aggregate value by
                    estimated future diluted shares outstanding (with such estimates provided by UserTesting’s management) to
                    calculate a future implied equity value per share. Morgan Stanley then discounted the resulting future
                    implied equity values per share to December 31, 2022 using a discount rate equal to UserTesting’s assumed
                    cost of equity of 13.5 percent, which cost of equity was selected based on the application of Morgan
                    Stanley’s professional judgment and experience. Based on these calculations, this analysis implied the
                    following value ranges per share of UserTesting’s common stock:

                                                                                                     Implied Value Per Share
                                                                                                            Range of
                                                                                                      UserTesting Common
                        Forecast Scenario                                                                   Stock ($)
                        Street Consensus                                                                   3.84 - 7.15
                        October Financial Forecast                                                         4.08 - 7.51

                    Discounted Cash Flow Analysis

                         Morgan Stanley performed a discounted cash flow analysis, which is designed to provide an implied
                    value of a company by calculating the present value of the estimated future cash flows and terminal value of
                    such company. Morgan Stanley calculated a range of fully diluted equity values per share for UserTesting
                    common stock based on a discounted cash flow analysis to value UserTesting as a standalone entity.
                    Morgan Stanley utilized estimates from the October Financial Forecast for purposes of its discounted cash
                    flow analysis, as more fully described below.

                         Morgan Stanley first calculated the estimated unlevered free cash flow, which is defined as non-GAAP
                    earnings before interest, taxes, depreciation and amortization (burdened by stock based compensation), less
                    taxes and capital expenditures, and adjusted for changes in net working capital (excluding deferred revenue)
                    and deferred revenue. To calculate terminal value, Morgan Stanley applied a range of perpetual growth rates
                    of 3.0 percent to 4.0 percent, based on Morgan Stanley’s professional judgment. Morgan Stanley then
                    discounted the unlevered free cash flows and terminal value to present values as of December 31, 2022 using
                    a range of discount rates from 12.5% to 14.5%, which discount rates were selected based on the application
                    of Morgan Stanley’s professional judgment and experience, to reflect an estimate of UserTesting’s weighted
                    average cost of capital. The resulting aggregate value was then adjusted to add net cash and further
                    adjusted to add the net present value of net operating losses.

                        Based on the outstanding shares of UserTesting common stock on a fully diluted basis as provided by
                    UserTesting’s management on October 25, 2022, this analysis implied an estimated value per share of
                    UserTesting common stock of $3.59 to $5.17.

                    Precedent Transactions Multiples Analysis

                         Morgan Stanley performed a precedent transactions multiples analysis, which is designed to imply a
                    value of a company based on publicly available financial terms, by reviewing publicly available statistics for
                    selected comparable transactions. Such comparable transactions included certain software transactions
                    since 2018 that were selected because they shared certain characteristics with the Merger, as determined
                    based on the application of Morgan Stanley’s professional judgment and experience. For each such
                    transaction, Morgan Stanley noted the aggregate value of the transaction as a multiple of the estimated
                    revenue of the target company for the twelve month period following the announcement date of the
                    applicable transaction (which multiple is referred to herein as “AV/NTM Revenue Multiple”).




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                    The following is the list of the selected software transactions reviewed:

                                                                                                               AV/NTM
                                                                                                Announcement   Revenue
                    Selected Software Transactions (Target/Acquiror)                                Date       Multiple
                    Strategic Acquirors
                    Callidus Software Inc. / SAP America, Inc.                                     2018          8.3x
                    Carbon Black, Inc. / VMware, Inc.                                              2019          8.0x
                    Carbonite, Inc. / Open Text Corporation                                        2019          2.7x
                    Datto, Inc. / Kaseya Limited                                                   2022          8.3x
                    MobileIron, Inc. / Ivanti, Inc.                                                2020          4.1x
                    VMware, Inc / Broadcom Inc.                                                    2022          4.7x

                    Financial Sponsor Acquirors
                    Apptio, Inc. / Vista Equity Partners Management, LLC                           2018          7.0x
                    Athenahealth, Inc. / Veritas Capital Fund Management, L.L.C.                   2018          3.9x
                    Avalara, Inc. / Vista Equity Partners Management, LLC                          2022          9.1x
                    Cambium Learning Group, Inc. / Veritas Capital Fund Management,
                      L.L.C.                                                                       2018          4.2x
                    CDK Global, Inc. / Brookfield Business Partners L.P.                           2022          4.5x
                    Cision Ltd. / Platinum Equity Advisors, LLC                                    2019          3.5x
                    Citrix Systems, Inc. / Vista Equity Partners Management, LLC                   2022          5.0x
                    Cloudera, Inc. / Clayton Dubilier & Rice, LLC; Kohlberg Kravis Roberts
                      & Co. L.P.                                                                   2021          5.3x
                    Ellie Mae, Inc. / Thoma Bravo LLC                                              2019          6.8x
                    Endurance International Group Holdings, Inc. / Clearlake Capital Group
                      L.P.                                                                         2020          2.7x
                    Forescout Technologies, Inc. / Advent International Corporation;
                      Crosspoint Capital Partners, LP                                              2020          4.9x
                    ForgeRock, Inc. / Thoma Bravo LP                                               2022          8.3x
                    Imperva, Inc. / Thoma Bravo LLC                                                2018          4.7x
                    Instructure, Inc. / Thoma Bravo LLC                                            2019          6.6x
                    LogMeIn, Inc. / Francisco Partners Management L.P.; Evergreen Coast
                      Capital Corporation                                                          2019          3.4x
                    McAfee Corp. / Advent International Corporation; Permira Advisers
                     LLC; Crosspoint Capital Partners, L.P.                                        2021          7.3x
                    MINDBODY, Inc. / Vista Equity Partners Management, LLC                         2018          6.8x
                    Ping Identity Holding Corp. / Thoma Bravo LP                                   2022          7.9x
                    Pluralsight, Inc. / Vista Equity Partners Management, LLC                      2020          7.8x
                    Proofpoint, Inc. / Thoma Bravo LP                                              2021          9.3x
                    QAD Inc. / Thoma Bravo LP                                                      2021          5.3x
                    RealPage, Inc. / Thoma Bravo LP                                                2020          8.2x
                    Sophos Ltd. / Thoma Bravo LP                                                   2019          5.1x
                    Talend S.A. / Thoma Bravo LP                                                   2021          7.3x
                    Ultimate Software Group, Inc. / Hellman & Friedman LLC                         2019          8.2x
                    Zendesk, Inc. / Hellman & Friedman LLC; Permira Advisors LLC                   2022          5.4x


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                         Based on its analysis of the AV/NTM Revenue Multiples for each of the transactions listed above and
                    upon the application of its professional judgment and experience, Morgan Stanley selected a representative
                    multiple range of 4.5x to 7.5x and applied this range to UserTesting’s estimated calendar year 2023 revenue
                    based on each of the Street Consensus and the October Financial Forecast. The results of this analysis were
                    as follows:

                                                                                                            Implied Value Per
                                                                                                             Share Range of
                                                                                                               UserTesting
                                                                                                                Common
                        Forecast Scenario                                                                       Stock ($)
                        Street Consensus                                                                          7.12 - 11.10
                        October Financial Forecast                                                                6.92 - 10.77
                         No company or transaction utilized in the precedent transactions analysis is identical to UserTesting or
                    the Merger. In evaluating the precedent transactions, Morgan Stanley made numerous assumptions with
                    respect to industry performance, general business, regulatory, economic, market and financial conditions and
                    other matters, many of which are beyond UserTesting’s control. These include, among other things, the
                    impact of competition on UserTesting’s business and the industry generally, industry growth, and the
                    absence of any adverse material change in the financial condition and prospects of UserTesting and the
                    industry, and in the financial markets in general, which could affect the public trading value of the companies
                    and the aggregate value and fully diluted equity value of the transactions to which they are being compared.
                    The fact that points in the range of implied present value per share of UserTesting derived from the valuation
                    of precedent transactions were less than or greater than the $7.50 per share in cash to be received by the
                    holders of shares of UserTesting common stock (other than the holders of the Excluded Shares) is not
                    necessarily dispositive in connection with Morgan Stanley’s analysis of the consideration for the Merger,
                    but is one of many factors Morgan Stanley considered.

                    Other Information

                         Morgan Stanley observed additional factors that were not considered part of Morgan Stanley’s financial
                    analysis with respect to its opinion, but which were noted as reference data for the Board of Directors.

                        Illustrative Precedent Transaction Premiums
                          Morgan Stanley reviewed the premiums paid by acquirers in selected public software company
                    transactions occurring in 2022 with an aggregate value greater than $1 billion. For each such transaction,
                    Morgan Stanley noted the distributions of the following financial statistics, where available: (i) the implied
                    premium to the acquired company’s closing share price on the last trading day prior to announcement (or the
                    last full trading day prior to the share price being affected by acquisition rumors or similar merger-related
                    news); and (ii) the implied premium to the acquired company’s 30-day average closing share price prior to
                    announcement (or the last full trading day prior to the share price being affected by acquisition rumors or
                    similar merger-related news).
                         Based on its analysis of the premia for such transactions and based upon the application of its
                    professional judgment and experience, Morgan Stanley selected (i) a representative range of premia and
                    applied such range to UserTesting’s closing share price on October 26, 2022 and (ii) a representative range of
                    premia and applied such range to UserTesting’s closing share price during the 30 trading days prior to and
                    including October 26, 2022.

                        The following table summarizes such calculations:

                                                                                                                      Implied
                                                                                                                     Value per
                                                                                                                    Share Range
                                                                                                                         of
                                                                                                                    UserTesting
                                                                                                                     Common
                                                                                                 Representative        Stock
                        Premia                                                                      Range               ($)
                                                                                                                         5.02 -
                        Premia to 1-Day Unaffected Share Price                                    30% - 65%                6.37
                                                                                                                         4.96 -
                        Premia to 30-day Average Unaffected Share Price                           30% - 55%                5.92


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                        Historical Trading Ranges
                        Morgan Stanley reviewed the historical trading range of UserTesting common stock for various periods
                    ending on October 26, 2022. Morgan Stanley observed the following:

                                                                                                          Historical Per Share Range
                                                                                                                      of
                                                                                                            UserTesting Common
                              Trading Periods                                                                      Stock ($)
                              Last 30 Days ending on October 26, 2022                                            3.43 - 4.29
                              Last 90 Days ending on October 26, 2022                                            3.43 - 6.42
                              Since IPO on November 17, 2021 and ending on October 26, 2022                      3.43 - 14.01

                        Equity Research Analysts’ Future Price Targets
                         Morgan Stanley reviewed certain future public market trading price targets for UserTesting common
                    stock prepared and published by equity research analysts prior to October 26, 2022. These targets reflected
                    each analyst’s estimate of the future public market trading price of UserTesting common stock. The range of
                    undiscounted analyst price targets for the UserTesting common stock was $4.50 to $9.00 per share, with a
                    median of $8.00 per share. Morgan Stanley then discounted the range of analyst price targets per share for
                    the UserTesting common stock to December 31, 2022 at a rate of 13.5%, which was the discount rate selected
                    by Morgan Stanley, upon the application of its professional judgment and experience, to reflect
                    UserTesting’s cost of equity. This analysis indicated an implied range of fully diluted equity values for
                    UserTesting common stock of $4.06 to $8.12 per share.

                         The public market trading price targets published by equity research analysts do not necessarily reflect
                    current market trading prices for UserTesting common stock, and these estimates are subject to
                    uncertainties, including the future financial performance of UserTesting and future financial market
                    conditions.

                        Illustrative Leveraged Buyout Analysis.

                         Morgan Stanley reviewed a hypothetical leveraged buyout analysis to determine the prices at which a
                    financial sponsor might effect a leveraged buyout of UserTesting. Morgan Stanley based its analysis on the
                    October Financial Forecast. Based on its professional judgment and experience, Morgan Stanley assumed (i)
                    a transaction date of December 31, 2022 and an investment period ending December 31, 2027, (ii) a target
                    range of annualized internal rates of return for the financial sponsor of 20% to 22.5%, (iii) a 21.4% debt-to-
                    capitalization ratio, and balance sheet cash at December 31, 2022 of $165 million as provided by
                    UserTesting’s management as of September 30, 2022, (iv) a range from 3.0x to 4.0x applied to the estimated
                    calendar year 2027 next twelve (12) month revenue exit multiples and (v) no synergies. Based on these
                    calculations, this analysis indicated a range of implied equity value per share of UserTesting common stock
                    of $5.43 to $7.47 per share.

                    General

                         In connection with the review of the Merger by the Board of Directors, Morgan Stanley performed a
                    variety of financial and comparative analyses for purposes of rendering its opinion. The preparation of a
                    financial opinion is a complex process and is not necessarily susceptible to a partial analysis or summary
                    description. In arriving at its opinion, Morgan Stanley considered the results of all of its analyses as a whole
                    and did not attribute any particular weight to any analysis or factor it considered. Morgan Stanley believes
                    that selecting any portion of its analyses, without considering all analyses as a whole, would create an
                    incomplete view of the process underlying its analyses and opinion. In addition, Morgan Stanley may have
                    given various analyses and factors more or less weight than other analyses and factors, and may have
                    deemed various assumptions more or less probable than other assumptions. As a result, the ranges of
                    valuations resulting from any particular analysis described above should not be taken to be Morgan
                    Stanley’s view of the actual value of UserTesting. In performing its analyses, Morgan Stanley made
                    numerous assumptions with respect to industry performance, general business, regulatory, economic, market
                    and financial conditions and other matters, many of which are beyond UserTesting’s control. These include,
                    among other things, the impact of competition on UserTesting’s business and the industry generally,
                    industry growth, and the absence of any adverse material change in the financial condition and prospects of
                    UserTesting and


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                    the industry, and in the financial markets in general. Any estimates contained in Morgan Stanley’s analyses
                    are not necessarily indicative of future results or actual values, which may be significantly more or less
                    favorable than those suggested by such estimates.

                        Morgan Stanley conducted the analyses described above solely as part of its analysis of the fairness
                    from a financial point of view of the $7.50 per share in cash to be received by the holders of shares of
                    UserTesting common stock (other than the holders of the Excluded Shares) pursuant to the Merger
                    Agreement and in connection with the delivery of its opinion dated as of October 26, 2022 to the Board of
                    Directors. These analyses do not purport to be appraisals or to reflect the prices at which shares of
                    UserTesting common stock might actually trade.
                         The $7.50 per share in cash to be received by the holders of shares of UserTesting common stock (other
                    than the holders of the Excluded Shares) pursuant to the Merger Agreement was determined through arm’s-
                    length negotiations between UserTesting and Parent and was approved by the Board of Directors. Morgan
                    Stanley provided advice to the Board of Directors during these negotiations but did not, however,
                    recommend any specific consideration to UserTesting or the Board of Directors, nor did Morgan Stanley
                    opine that any specific consideration constituted the only appropriate consideration for the Merger. Morgan
                    Stanley’s opinion did not address the relative merits of the Merger as compared to any other alternative
                    business transaction, or other alternatives, or whether or not such alternatives could be achieved or are
                    available. Morgan Stanley’s opinion was not intended to, and does not, constitute an opinion or a
                    recommendation as to how UserTesting stockholders should vote at the Special Meeting.

                         Morgan Stanley’s opinion and its presentation to the Board of Directors was one of many factors taken
                    into consideration by the Board of Directors to approve and adopt the Merger Agreement. Consequently, the
                    analyses as described above should not be viewed as determinative of the opinion of the Board of Directors
                    with respect to the consideration pursuant to the Merger Agreement or of whether the Board of Directors
                    would have been willing to agree to a different consideration. Morgan Stanley’s opinion was approved by a
                    committee of Morgan Stanley investment banking and other professionals in accordance with Morgan
                    Stanley’s customary practice.

                         The Board of Directors retained Morgan Stanley based upon Morgan Stanley’s qualifications,
                    experience and expertise. Morgan Stanley is a global financial services firm engaged in the securities,
                    investment management and individual wealth management businesses. Its securities business is engaged in
                    securities underwriting, trading and brokerage activities, foreign exchange, commodities and derivatives
                    trading, prime brokerage, as well as providing investment banking, financing and financial advisory services.
                    Morgan Stanley, its affiliates, directors and officers may at any time invest on a principal basis or manage
                    funds that invest, hold long or short positions, finance positions, and may trade or otherwise structure and
                    effect transactions, for their own account or the accounts of their customers, in debt or equity securities or
                    loans of UserTesting, Parent, Thoma Bravo and their respective affiliates, or any other company, or any
                    currency or commodity, that may be involved in the Merger, or any related derivative instrument. In addition,
                    Morgan Stanley, its affiliates, directors or officers, including individuals working with UserTesting in
                    connection with the Merger, may have committed and may commit in the future to invest in private equity
                    funds managed by Thoma Bravo or its affiliates and their affiliated funds’ respective portfolio companies
                    (which are referred to collectively herein as the “Thoma Bravo Related Entities”) or in affiliates of Morgan
                    Stanley that may hold direct equity and/or partnership interests in private equity funds managed by Thoma
                    Bravo or the Thoma Bravo Related Entities.
                         Under the terms of its engagement letter, Morgan Stanley provided UserTesting financial advisory
                    services and an opinion, described in this section and attached to this proxy statement as Annex B, in
                    connection with the Merger, and UserTesting has agreed to pay Morgan Stanley a fee of approximately $20.4
                    million for its services, $3 million of which was earned following delivery of the opinion described in this
                    section and attached to this proxy statement as Annex B and the remainder of which is contingent upon the
                    consummation of the Merger. UserTesting has also agreed to reimburse Morgan Stanley for its expenses,
                    including fees of outside counsel and other professional advisors, incurred in connection with its
                    engagement. In addition, UserTesting has agreed to indemnify Morgan Stanley and its affiliates, its and their
                    respective officers, directors, employees and agents and each other person, if any, controlling Morgan
                    Stanley or any of its affiliates against certain liabilities and expenses related to, arising out of or in
                    connection with Morgan Stanley’s engagement, including certain liabilities under the federal securities laws.


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                           In the two years prior to the date of Morgan Stanley’s opinion, Morgan Stanley and its affiliates have
                      provided financial advisory and financing services for UserTesting and received aggregate fees of
                      approximately $2 to $5 million in connection with such services. In the two years prior to the date of Morgan
                      Stanley’s opinion, Morgan Stanley and its affiliates have provided financing services for Thoma Bravo and
                      the Thoma Bravo Related Entities, and have received aggregate fees of approximately $10 to $20 million in
                      connection with such services. Morgan Stanley may also seek to provide financial advisory and financing
                      services to UserTesting, Thoma Bravo, or the Thoma Bravo Related Entities and their respective affiliates in
                      the future and would expect to receive fees for the rendering of these services. In addition, as of the date of
                      Morgan Stanley’s opinion, Morgan Stanley or one of its affiliates was a lender to certain portfolio companies
                      of Thoma Bravo, and acted as administrative agent with respect to the credit facilities of two such portfolio
                      companies, including UserZoom.

                      Management Projections

                      Summary of Projections

                           Except for financial outlooks with respect to the current fiscal quarter and year issued in connection
                      with our ordinary course earnings announcements, we do not, as a matter of course, publicly disclose
                      forecasts or projections as to future performance, earnings or other results due to the inherent
                      unpredictability of the underlying assumptions, estimates and projections, especially over the longer term
                      periods. In connection with the evaluation of the Merger, however, our management prepared the following
                      preliminary financial forecasts:
                             • the October Financial Forecast, which was prepared by our management in October 2022 for the fiscal
                               years ending December 31, 2022 through 2025 and included certain extrapolations prepared by
                               Morgan Stanley for the fiscal years ending December 31, 2026 through 2036 with the guidance of our
                               management; and
                             • the September Financial Forecast, which was prepared by our management in September 2022 for the
                               fiscal years ending December 31, 2022 through 2025.

                         The October Financial Forecast and September Financial Forecast are referred to collectively as the
                      “Management Projections”.

                           The October Financial Forecast was provided to the Board in connection with its consideration of the
                      Merger, and, at the direction of the Board, was used by Morgan Stanley in connection with its financial
                      analysis for purposes of its fairness opinion (as described in more detail in the section of this proxy
                      statement captioned “- Opinion of Morgan Stanley & Co. LLC”). The September 2022 Projections, together
                      with our billings and revenue results for the third quarter of 2022 of approximately $46.4 million and $49.4
                      million, respectively, and our billings and revenue estimates for the fourth quarter of 2022 of approximately
                      $54.3 million and $50.6 million, respectively, were provided to Parent and Merger Sub in connection with their
                      due diligence review of our company.

                             The following tables present a summary of the Management Projections.

                      October Financial Forecast

                                     Management Case                                                              Extrapolations
                        CY2022E CY2023E CY2024E CY2025E CY2026E CY2027E CY2028E CY2029E CY2030E CY2031E CY2032E CY2033E CY2034E CY2035E                                CY2036E

       Revenue              $194      $220     $264     $348     $449     $567     $ 703        $ 853   $ 1,013    $ 1,178    $ 1,339    $ 1,489   $ 1,617   $ 1,714   $ 1,774
       Gross Profit         $152      $170     $205     $274     $353     $446     $ 553        $ 671   $ 797      $   926    $ 1,053    $ 1,171   $ 1,272   $ 1,348   $ 1,396
       EBITDA(1)            $ (33)    $ (26)   $ (22)   $ (14)   $ (8)    $   3    $ 21         $ 46    $    78    $   119    $    167   $   220   $   275   $   330   $   382
       uFCF(2)              $ (59)    $ (60)   $ (48)   $ (47)   $ (50)   $ (37)   $ (16)       $ 16    $    57    $   106    $    151   $   173   $   192   $   208   $   217



                      (1)    EBITDA is a non-GAAP financial measure defined as net loss or income adjusted to exclude interest, taxes, depreciation
                             and amortization.



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                    (2)   uFCF (Unlevered Free Cash Flow) is a non-GAAP financial measure defined as EBITDA less stock-based compensation,
                          taxes, capital expenditures and plus any decrease (and minus any increase) in net working capital and deferred revenue.

                    September Financial Forecast

                                                                                                   CY2022E      CY2023E      CY2024E      CY2025E
                          Revenue                                                                    $ 195        $ 242        $ 308        $ 412
                          Gross Profit                                                               $ 152        $ 186        $ 238        $ 321
                          Non-GAAP Net Income(1)                                                     $ (40)       $ (21)       $ (14)       $   2
                          Calculated Billings(2)                                                     $ 213        $ 261        $ 341        $ 455


                    (1)   Non-GAAP net income is a non-GAAP financial measure defined as net income, excluding the impact of stock-based
                          compensation, amortization of intangibles, other non-operating income, benefit from income taxes and certain other
                          items.
                    (2)   Calculated billings is a non-GAAP financial measure defined as total revenue plus the change in contract liabilities from
                          the beginning to the end of the period, and is intended to reflect amounts invoiced to customers. 2022 Calculated
                          Billings includes actual calculated billings of $50 million and $53 million for the quarters ended March 31, 2022 and June
                          30, 2022, respectively, and estimated calculated billings of $51 million and $60 million for the quarters ending
                          September 30, 2022 and December 31, 2022, respectively.

                    Important Information Regarding the Management Projections

                         The Management Projections were developed by our management on a standalone basis without giving
                    effect to the Merger and the other transactions contemplated by the Merger Agreement. Furthermore, the
                    Management Projections do not take into account the effect of any failure of the transactions contemplated
                    by the Merger Agreement to be completed and should not be viewed as accurate or continuing in that
                    context. Although the Management Projections are presented with numerical specificity, they were based on
                    numerous variables and assumptions made by our management with respect to industry performance,
                    general business, economic, regulatory, market and financial conditions and other future events, as well as
                    matters specific to our business, all of which are difficult or impossible to predict accurately and many of
                    which are beyond our control. The Management Projections constitute forward-looking information and are
                    subject to many risks and uncertainties that could cause actual results to differ materially from the results
                    forecasted in the Management Projections, including, but not limited to, our performance, industry
                    performance, general business and economic conditions, customer requirements, competition, adverse
                    changes in applicable laws, regulations or rules, the ability to successfully pursue and complete
                    acquisitions, and the various risks set forth in our reports filed with the SEC. There can be no assurance that
                    the Management Projections will be realized or that actual results will not be significantly higher or lower
                    than the Management Projections. The Management Projections cover several years, and such information
                    by its nature becomes less reliable with each successive year. In addition, the Management Projections will
                    be affected by our ability to achieve strategic goals, objectives and targets over the applicable periods. The
                    Management Projections reflect assumptions as to certain business decisions that are subject to change and
                    cannot, therefore, be considered a guarantee of future operating results, and this information should not be
                    relied on as such. The inclusion of the Management Projections should not be regarded as an indication that
                    we, Morgan Stanley, our and their respective officers, directors, affiliates, advisors, or other representatives
                    or anyone who received this information then considered, or now considers, them a reliable prediction of
                    future events, and this information should not be relied upon as such. The inclusion of the Management
                    Projections in this proxy statement should not be regarded as an indication that the Management Projections
                    will be necessarily predictive of actual future events. No representation is made by us or any other person
                    regarding the Management Projections or our ultimate performance compared to such information. The
                    Management Projections should be evaluated, if at all, in conjunction with the historical financial statements
                    and other information about us contained in our public filings with the SEC. For more information, please see
                    the section of this proxy statement captioned “Where You Can Find More Information.” In light of the
                    foregoing factors, and the uncertainties inherent in the Management Projections, our stockholders are
                    cautioned not to place undue, if any, reliance on the Management Projections.

                        The Management Projections were not prepared with a view toward public disclosure or with a view
                    toward complying with the published guidelines of the SEC regarding projections or accounting principles
                    generally accepted in the United States (“GAAP”), or the guidelines established by the American Institute of


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                     Certified Public Accountants with respect to the preparation or presentation of prospective financial
                     information. The Management Projections included in this proxy statement have been prepared by, and are
                     the responsibility of, the Company’s management. Ernst & Young LLP has not audited, reviewed, examined,
                     compiled nor applied agreed-upon procedures with respect to the accompanying Management Projections
                     and, accordingly, Ernst & Young LLP does not express an opinion or any other form of assurance with
                     respect thereto. The Ernst & Young LLP report incorporated by reference into this proxy statement relates to
                     the Company’s previously issued financial statements. It does not extend to the Management Projections
                     and should not be read to do so.

                          EBITDA, unlevered free cash flow and non-GAAP net income contained in the Management Projections
                     summarized above are “non-GAAP financial measures,” which are financial performance measures that are
                     not calculated in accordance with GAAP. The non-GAAP financial measures used in the Management
                     Projections were relied upon by Morgan Stanley for purposes of its opinion and by the Board of Directors in
                     connection with their evaluation of the Merger. The SEC rules which would otherwise require a reconciliation
                     of a non-GAAP financial measure to a GAAP financial measure do not apply to non-GAAP financial
                     measures included in disclosures relating to a proposed business combination such as the Merger if the
                     disclosure is included in a document such as this proxy statement. In addition, reconciliations of non-GAAP
                     financial measures were not relied upon by Morgan Stanley for purposes of its opinion or by the Board of
                     Directors in connection with its evaluation of the Merger. Accordingly, we have not provided a reconciliation
                     of the financial measures included in the Management Projections to the relevant GAAP financial measures.
                     Non-GAAP financial measures should not be considered in isolation from, or as a substitute for, financial
                     information presented in compliance with GAAP, and non-GAAP financial measures as used by us may not
                     be comparable to similarly titled amounts used by other companies. Furthermore, there are limitations
                     inherent in non-GAAP financial measures because they exclude charges and credits that are required to be
                     included in a GAAP presentation. Accordingly, these non-GAAP financial measures should be considered
                     together with, and not as an alternative to, financial measures prepared in accordance with GAAP.

                          The summary of such information above is included solely to give our stockholders access to the
                     information that was made available to the Board of Directors, Morgan Stanley, Parent and Merger Sub, and
                     is not included in this proxy statement in order to influence any stockholder to make any investment decision
                     with respect to the Merger, including whether or not to seek appraisal rights with respect to their shares of
                     our common stock. In addition, the Management Projections have not been updated or revised to reflect
                     information or results after the date they were prepared or as of the date of this proxy statement, and except
                     as required by applicable securities laws, we do not intend to update or otherwise revise the Management
                     Projections or the specific portions presented to reflect circumstances existing after the date when made or
                     to reflect the occurrence of future events, even in the event that any or all of the underlying assumptions are
                     shown to be in error.

                         BY INCLUDING IN THIS PROXY STATEMENT A SUMMARY OF THE MANAGEMENT PROJECTIONS, WE
                     UNDERTAKE NO OBLIGATIONS TO UPDATE, OR PUBLICLY DISCLOSE ANY UPDATE TO, THE
                     MANAGEMENT PROJECTIONS TO REFLECT CIRCUMSTANCES OR EVENTS, INCLUDING UNANTICIPATED
                     EVENTS, THAT MAY HAVE OCCURRED OR THAT MAY OCCUR AFTER THE PREPARATION OF THE
                     MANAGEMENT PROJECTIONS, EVEN IN THE EVENT THAT ANY OR ALL OF THE ASSUMPTIONS
                     UNDERLYING THE MANAGEMENT PROJECTIONS ARE SHOWN TO BE IN ERROR OR CHANGE, EXCEPT
                     AND ONLY TO THE EXTENT THAT MAY BE OTHERWISE REQUIRED BY APPLICABLE LAW.

                     Interests of Our Executive Officers and Directors in the Merger

                          In considering the recommendation of the Board of Directors that UserTesting stockholders vote to
                     adopt the Merger Agreement, our stockholders should be aware that certain of our non-employee directors
                     and executive officers have interests in the Merger that are different from, or in addition to, those of
                     UserTesting stockholders generally. The Board of Directors was aware of and considered these interests,
                     among other matters, in evaluating and negotiating the Merger Agreement, approving the Merger Agreement
                     and the Merger, and recommending that the Merger Agreement be adopted by our stockholders.


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                    Certain Assumptions

                        Except as otherwise specifically noted, for purposes of quantifying the potential payments and benefits
                    described in this section, the following assumptions were used:
                        • The Effective Time is October 31, 2022, which is the assumed date of the Closing of the Merger solely
                          for purposes of the disclosure in this section (the “Change in Control Date”);
                        • The employment of each of our executive officers will have been terminated by us without “cause” or
                          due to the executive officer’s resignation for “good reason” (as such terms are defined in each of
                          their Change in Control and Severance Agreements), in either case, immediately following the Change
                          in Control Date; and
                        • The potential payments and benefits described in this section are not at a level subject to a “cutback”
                          to avoid the “golden parachute” excise tax that may be imposed under Section 4999 of the Internal
                          Revenue Code of 1986, as amended (the “Code”).

                          For purposes of this disclosure, (1) UserTesting’s executive officers are: (i) Andy MacMillan, our
                    President, Chief Executive Officer and Chairperson; (ii) Jon Pexton, our Chief Financial Officer; (iii) Mona
                    Sabet, our Chief Corporate Strategy Officer; (iv) Kaj van de Loo, our Chief Technology Officer; (v) Michelle
                    Huff, our Chief Marketing Officer; (vi) David Satterwhite, our Chief Revenue Officer; and (vii) Matthew
                    Zelen, our Chief Operating Officer, and (2) UserTesting’s named executive officers are: (i) Andy MacMillan;
                    (ii) Jon Pexton; and (iii) David Satterwhite.

                         As the amounts provided below are estimates based on multiple assumptions that may or may not
                    actually occur or be accurate as of the date referenced, the actual amounts, if any, that may be paid or
                    become payable may materially differ from the amounts set forth below.

                    Treatment and Quantification of Company Equity Awards

                    Company Options

                         At the Effective Time, each Vested Company Option will, automatically and without any required action
                    on the part of the holder thereof, be cancelled and converted into the right to receive an amount in cash,
                    without interest, equal to the product obtained by multiplying (x) the excess, if any, of (i) the Per Share
                    Merger Consideration over (ii) the per share exercise price for such Vested Company Option by (y) the total
                    number of shares of UserTesting common stock underlying such Vested Company Option, subject to
                    applicable withholding taxes, provided, however, that if the exercise price per share of UserTesting common
                    stock of such Vested Company Option is equal to or greater than the Per Share Merger Consideration, such
                    Vested Company Option will be cancelled without any cash payment or other consideration being made in
                    respect thereof.

                          At the Effective Time, each Unvested Company Option will, automatically and without any required
                    action on the part of the holder thereof, be converted into the contingent right to receive an amount in cash,
                    without interest, equal to the product obtained by multiplying (x) the excess, if any, of (i) the Per Share
                    Merger Consideration over (ii) the per-share exercise price for such Unvested Company Option by (y) the
                    total number of shares of UserTesting common stock underlying such Unvested Company Option, subject to
                    applicable withholding taxes, provided, however, that if the exercise price per share of UserTesting common
                    stock of such Unvested Company Option is equal to or greater than the Per Share Merger Consideration,
                    such Unvested Company Option will be cancelled without any cash payment or other consideration being
                    made in respect thereof. Subject to the holder’s continued service with Parent and its affiliates (including the
                    Surviving Corporation and its subsidiaries) through the applicable vesting dates, such Unvested Company
                    Option Consideration amounts will vest and become payable at the same time as the Unvested Company
                    Option from which such Unvested Company Option Consideration was converted would have vested and
                    been payable pursuant to its terms and, subject to certain exceptions, will otherwise remain subject to the
                    same terms and conditions as were applicable to the underlying Unvested Company Option immediately prior
                    to the Effective Time with respect to the receipt of the Unvested Company Option Consideration (without
                    limitation to any rights that the holder may have under any agreement with the Company in effect on the date
                    of the Merger Agreement).


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                    Company RSUs

                         At the Effective Time, each Vested Company RSU will, automatically and without any required action on
                    the part of the holder thereof, be cancelled and converted into the right to receive an amount in cash,
                    without interest, equal to the product obtained by multiplying (x) the total number of shares of UserTesting
                    common stock underlying such Vested Company RSU by (y) the Per Share Merger Consideration, subject to
                    applicable withholding taxes.

                         At the Effective Time, each Unvested Company RSU will, automatically and without any required action
                    on the part of the holder thereof, be converted into the contingent right to receive an amount in cash,
                    without interest, equal to the product obtained by multiplying (x) the total number of shares of UserTesting
                    common stock underlying such Unvested Company RSU by (y) the Per Share Merger Consideration, subject
                    to applicable withholding taxes. Subject to the holder’s continued service with Parent and its affiliates
                    (including the Surviving Corporation and its subsidiaries) through the applicable vesting dates, such
                    Unvested Company RSU Consideration amounts will vest and become payable at the same time as the
                    Unvested Company RSU from which such Unvested Company RSU Consideration was converted would
                    have vested and been payable pursuant to its terms and, subject to certain exceptions, will otherwise remain
                    subject to the same terms and conditions as were applicable to the underlying Unvested Company RSU
                    immediately prior to the Effective Time with respect to the receipt of the Unvested Company RSU
                    Consideration (without limitation to any rights that the holder may have under any agreement with the
                    Company in effect on the date of the Merger Agreement).

                    Quantification of Company Equity Awards

                         At the Effective Time, each Company RSU (whether vested or unvested) held by a non-employee
                    member of the Board of Directors is considered a Vested Company RSU and will convert into Merger
                    Consideration in the manner described above. Based on the assumptions described above under the section
                    of this proxy statement captioned “- Interests of Our Executive Officers and Directors in the Merger - Certain
                    Assumptions,” the estimated aggregate amounts that would become payable to UserTesting’s six (6) non-
                    employee directors in respect of their Vested Company RSUs is $645,337.50, which excludes any grants of
                    Company RSUs that may be made by UserTesting to the non-employee directors following the date of this
                    proxy statement.

                         At the Effective Time, each Unvested Company RSU and Unvested Company Option held by the
                    executive officers will convert into cash awards of Unvested Company RSU Consideration and Unvested
                    Company Option Consideration in the manner described above and will generally remain subject to the same
                    vesting conditions and other terms and conditions as were applicable immediately prior to the Effective Time.
                    Each award of Unvested Company RSU Consideration and Unvested Company Option Consideration will
                    vest in the event that an executive officer experiences a termination of employment by UserTesting without
                    “cause” or by the executive officer for “good reason,” in either case, within three (3) months prior to the
                    Change in Control Date or within twelve (12) months following the Change in Control Date.

                    Change in Control and Severance Agreements

                         Prior to the initiation of discussions and negotiations regarding the Merger Agreement, we entered into
                    individual Change in Control and Severance Agreements (the “Severance Agreements”) with each of our
                    executive officers (other than with respect to our Chief Product Officer, who commenced employment shortly
                    prior to the signing of the Merger Agreement, and entered into our standard form of Severance Agreement in
                    the ordinary course of business and consistent with our prior practice for our executive officers), under
                    which each of our executive officers is eligible to receive certain severance payments and benefits upon a
                    qualifying termination of employment. The Severance Agreements generally provide that if the executive
                    officer’s employment is terminated by us without “cause” or the executive officer terminates his or her
                    employment with “good reason,” in either case, within three (3) months prior to the Change in Control Date
                    or within twelve (12) months following the Change in Control Date, then the executive officer will be eligible
                    to receive:
                        • a lump-sum cash severance amount equal to 100% of the executive officer’s annual base salary;


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                         • an additional cash payment equal to a pro-rated portion of his or her annual target bonus (or the full
                           target bonus in the case of our Chief Executive Officer);
                         • to the extent that the applicable executive officer elects continued coverage under COBRA, he or she
                           will also receive a further cash payment in an amount equal to his or her COBRA premiums for twelve
                           (12) months plus an additional amount designed to account for the fact that such payment is made on
                           an after-tax basis; and
                         • accelerated vesting of 100% of the unvested shares subject to all outstanding equity compensation
                           awards held by the executive officer immediately prior to such termination of employment, with
                           performance-based equity awards vesting based on actual achievement or, if not yet determined, then
                           at 100% of target achievement.

                         The provision of payments and benefits described above is conditioned upon the executive officer’s
                    execution of a release of claims. The Severance Agreement further provides that if an executive officer
                    receives any amount that is subject to the “golden parachute” excise tax imposed pursuant to Section 280G
                    and 4999 of the Code, the amount of the payments to be made to the executive officer will be reduced to the
                    extent such reduction would result in a greater amount of after-tax proceeds.

                    Vesting Acceleration

                         At the Effective Time, the Unvested Company Options pursuant to the stock option agreement granted
                    on June 4, 2020, by and between UserTesting and Mr. MacMillan will fully vest and accelerate and will be
                    considered Vested Company Options.

                    Equity Grants to Non-Employee Directors

                         We may grant and issue up to 22,667 Company RSUs (in addition to any Permitted Equity Grants
                    granted and issued) to our non-employee directors, on terms consistent with UserTesting’s Independent
                    Director Compensation Policy, in the event the Closing has not occurred on or prior to June 1, 2023.

                    Compensation Arrangements with Parent

                         As of the date of this proxy statement, none of our executive officers have discussed or entered into
                    any agreement with Parent or any of its affiliates regarding employment with, or the right to purchase or
                    participate in the equity of, Parent or one or more of its affiliates. Prior to or following the Closing of the
                    Merger, however, some or all of our executive officers may discuss or enter into agreements with Parent or
                    any of its affiliates regarding employment with, or the right to purchase or participate in the equity of, Parent
                    or one or more of its affiliates.

                    Indemnification and Insurance

                         Pursuant to the terms of the Merger Agreement, our directors and executive officers will be entitled to
                    certain ongoing indemnification and coverage for a period of six (6) years following the Effective Time under
                    directors’ and officers’ liability insurance policies from the Surviving Corporation. This indemnification and
                    insurance coverage is further described in the section of this proxy statement captioned “Proposal 1:
                    Adoption of the Merger Agreement - Indemnification and Insurance.”

                    Post-Closing Management of UserTesting and UserZoom

                         In addition, upon completion of the Merger, it is anticipated that our Chief Executive Officer and,
                    potentially, other members of our management team, will serve as members of the management team of the
                    Surviving Corporation. Following the closing of the transaction, Thoma Bravo and Sunstone Partners intend
                    to combine UserTesting and UserZoom. As of the date of this proxy statement, none of our executive officers
                    has entered into any agreement with Parent or any of its affiliates regarding employment with, or the right to
                    purchase or participate in the equity of, the Surviving Corporation or one or more of its affiliates. Prior to and
                    following the closing of the Merger, however, certain of our executive officers may have discussions, and
                    following the closing of the Merger, may enter into agreements with, Parent or Merger


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                     Sub, their subsidiaries or their respective controlled affiliates regarding employment with, or the right to
                     purchase or participate in the equity of, the Surviving Corporation or one or more of its affiliates.

                     Financing of the Merger

                          We presently anticipate that the total funds needed to complete the Merger and the related transactions
                     will be approximately $1.3 billion, which will be funded via equity and, potentially, debt financing described
                     below together with our cash on hand as of the Closing Date.

                          Parent and Merger Sub have represented to us that, subject to the satisfaction of certain conditions set
                     forth in the Merger Agreement, the equity financing contemplated by the Equity Commitment Letters, if
                     funded in accordance with the Equity Commitment Letters, will, together with cash on hand, or other sources
                     of immediately available funds, provide Parent with sufficient funds to pay the fees and expenses required to
                     be paid at the Closing of the Merger by Parent and Merger Sub and Parent’s other affiliates on the Closing
                     Date. This includes funds needed to: (1) pay our stockholders the amounts due under the Merger Agreement
                     for their UserTesting common stock, (2) make payments in respect of our outstanding Company Options and
                     Company RSUs payable at the Closing of the Merger pursuant to the Merger Agreement; and (3) repayment
                     or refinancing of certain indebtedness.

                          Parent and Merger Sub have obtained committed financing consisting of equity to be provided by the
                     Thoma Bravo Funds and the Sunstone Partners Funds pursuant to the terms of their respective Equity
                     Commitment Letters. In connection with the Merger Agreement, Parent and Merger Sub have delivered to us
                     copies of the Equity Commitment Letters. Notwithstanding anything in the Merger Agreement to the
                     contrary, in no event shall the receipt or availability of any funds or financing (including the financing
                     contemplated by the Equity Commitment Letters or any debt financing) by or to Parent or any of its affiliates
                     or any other financing transaction be a condition precedent to any of the obligations of Parent or Merger
                     Sub under the Merger Agreement.

                     Equity Financing

                          Pursuant to the Equity Commitment Letters, the Thoma Bravo Funds and the Sunstone Partners Funds
                     have each committed to contribute or cause to be contributed to Parent at the Closing of the Merger certain
                     equity financing for the purpose of funding the Required Amounts. We refer to the equity financing
                     described in the preceding sentence as the “Equity Financing.” The obligations of the Thoma Bravo Funds
                     and the Sunstone Partners Funds to provide the Equity Financing under the Equity Commitment Letters are
                     subject to a number of conditions, including, but not limited to: (i) the execution and delivery of the Merger
                     Agreement, (ii) the satisfaction or written waiver (to the extent permitted under the Merger Agreement) by
                     the parties, as applicable, of each the conditions to the parties’ obligations to consummate the Merger
                     contemplated by the Merger Agreement (other than any conditions that by their nature are to be satisfied at
                     the Closing, but subject to the prior or substantially concurrent satisfaction of such conditions), and the
                     substantially concurrent consummation of the Merger in accordance with the terms of the Merger Agreement
                     and (iii) no material amendment or modification of the Merger Agreement, unless Parent has consented in
                     writing to such amendment or modification.
                          The obligation of each of the Thoma Bravo Funds and the Sunstone Partners Funds to fund the equity
                     commitment will automatically and immediately terminate upon the earliest to occur of: (i) the consummation
                     of the Closing and the payment of the aggregate Per Share Merger Consideration payable at the Closing in
                     accordance with the Merger Agreement, (ii) the termination of the Merger Agreement in accordance with its
                     terms, and (iii) the occurrence of any event which, by the terms of the Guaranties, is an event which
                     terminates the guarantors’ obligations or liabilities under their respective Guaranties.

                          We are an intended and express third-party beneficiary of the Equity Commitment Letters solely with
                     respect to the right to cause Parent to enforce, and to enforce against the other investors party thereto, the
                     commitment under the Equity Commitment Letters to be funded to Parent in accordance with the applicable
                     Equity Commitment Letter, in each case subject to (i) the limitations and conditions set forth in the Equity
                     Commitment Letters and (ii) the terms and conditions of the Merger Agreement.


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                     Guaranties
                          Pursuant to the Guaranties, the Thoma Bravo Funds and the Sunstone Partners Funds together have
                     agreed to guarantee the due, punctual and complete payment and performance of: (1) the aggregate amount
                     of the Parent Termination Fee (as defined in the section of this proxy statement captioned “Proposal 1:
                     Adoption of the Merger Agreement - Termination Fee”) if and when any of the Parent Termination Fee is
                     payable pursuant to the Merger Agreement (with the Thoma Bravo Funds covering 83.33% and the Sunstone
                     Partners Funds covering the remaining 16.67%); (2) any out-of-pocket fees, costs and expenses of
                     enforcement due by Parent pursuant to legal proceedings as a result of certain defaults under the Merger
                     Agreement together with interest on the amount of the Parent Termination Fee, if due pursuant to the terms
                     of the Merger Agreement (with the Thoma Bravo Funds covering 83.33% and the Sunstone Partners Funds
                     covering the remaining 16.67%); and (3) the reimbursement obligations of Parent pursuant to the
                     indemnification obligations of UserTesting and our representatives in connection with any debt financing
                     (with the Thoma Bravo Funds covering 83.33% and the Sunstone Partners Funds covering the remaining
                     16.67%). We refer to the obligations set forth in the preceding sentence as the “Guaranteed Obligations.”
                     The obligations of the Thoma Bravo Funds under the Guaranties are subject to an aggregate cap equal to
                     $56,464,408 and the obligations of the Sunstone Partners Funds under the Guaranties are subject to an
                     aggregate cap equal to $11,295,592.

                          Subject to specified exceptions, the applicable Guaranty will terminate upon the earliest of:
                          • funding of the equity commitments as set forth in the applicable Equity Commitment Letter;
                          • the Effective Time;
                          • the date that is thirty (30) days following the valid termination of the Merger Agreement in
                            accordance with its terms, other than a termination pursuant to which we would be entitled to the
                            Parent Termination Fee under the Merger Agreement, in which case the Guaranty shall terminate
                            ninety (90) days after such termination unless we shall have delivered a written notice with respect to
                            the Guaranteed Obligations prior to such ninetieth (90th) day; provided that if the Merger Agreement
                            has been so terminated and such notice has been provided, the Thoma Bravo Funds or Sunstone
                            Partners Funds, as applicable, as the guarantor entities under the Guaranty, shall have no further
                            liability or obligation under the applicable Guaranty from and after the earliest of (x) the Closing of the
                            Merger, including payment of the aggregate Per Share Merger Consideration payable at the Closing
                            of the Merger in accordance with the Merger Agreement, (y) a final, non-appealable order of a court
                            of competent jurisdiction determining that the Thoma Bravo Funds or Sunstone Partners Funds, as
                            applicable, as the guarantor entities under the applicable Guaranty, do not owe any amount under
                            such Guaranty and (z) a written agreement between the Thoma Bravo Funds or Sunstone Partners
                            Funds, as applicable, as the guarantor entities under the applicable Guaranty, and us terminating the
                            obligations and liabilities of the Thoma Bravo Funds or Sunstone Partners Funds, as applicable, as
                            the guarantor entities under the applicable Guaranty, pursuant to such Guaranty; and
                          • payment of the portion of the Guaranteed Obligations validly claimed as payable by us by or on
                            behalf of the Thoma Bravo Funds or the Sunstone Partners Funds, as applicable, as the guarantor
                            entities under the applicable Guaranty, to Parent and/or Merger Sub.

                     Debt Financing

                          Pursuant to the Merger Agreement, to the extent reasonably requested by Parent in writing and prior to
                     the Closing Date, we will use our reasonable best efforts to provide, and to cause our subsidiaries (and our
                     respective representatives) to use their reasonable best efforts to provide, subject to certain exceptions,
                     customary cooperation to Parent and Merger Sub, in each case at Parent’s sole cost and expense in
                     connection with the arrangement of the potential debt financing for the transactions contemplated by the
                     Merger Agreement.

                     Closing and Effective Time

                          The Closing of the Merger will take place at 5:00 a.m., Pacific Time, on the second (2nd) business day
                     following the satisfaction or waiver of all conditions to Closing of the Merger (as described in the section of


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                     this proxy statement captioned, “Proposal 1: Adoption of the Merger Agreement - Conditions to the Closing
                     of the Merger”), other than conditions that by their terms are to be satisfied at the Closing but subject to the
                     satisfaction or waiver of such conditions.

                     Appraisal Rights

                          If the Merger is consummated, UserTesting stockholders and beneficial owners who continuously hold
                     or own shares of UserTesting common stock through the Effective Time, who do not vote in favor of the
                     adoption of the Merger Agreement, who properly demand appraisal of their shares and who do not withdraw
                     their demands or otherwise lose their rights of appraisal will be entitled to seek appraisal of their shares in
                     connection with the Merger under Section 262 the DGCL (“Section 262”). The following discussion is not a
                     complete statement of the law pertaining to appraisal rights under the DGCL and is qualified in its entirety by
                     the full text of Section 262, which is attached to this proxy statement as Annex C and incorporated herein by
                     reference. The following summary does not constitute any legal or other advice and does not constitute a
                     recommendation that record holders or beneficial owners of UserTesting common stock exercise their
                     appraisal rights under Section 262.
                          Any person contemplating the exercise of such appraisal rights should carefully review the provisions
                     of Section 262, which is attached hereto as Annex C, particularly the procedural steps required to properly
                     demand and perfect such rights. Failure to follow the steps required by Section 262 for demanding and
                     perfecting appraisal rights may result in the loss of such rights. All references in Section 262 and in this
                     summary to a (i) “stockholder” are to the record holder of shares of UserTesting common stock unless
                     otherwise expressly noted herein, (ii) “beneficial owner” are to a person who is the beneficial owner of
                     shares of UserTesting common stock held either in voting trust or by a nominee on behalf of such person,
                     and (iii) “person” are to an individual, corporation, partnership, unincorporated association or other entity.
                           Under Section 262, if the Merger is completed, UserTesting stockholders and beneficial owners who: (i)
                     properly submit a written demand for appraisal of their shares; (ii) do not submit a proxy or otherwise vote in
                     favor of the adoption of the Merger Agreement; (iii) hold or own such shares upon the making of a demand
                     under clause (i) and continue to hold or own their shares through the Effective Time; (iv) do not thereafter
                     withdraw their demand for appraisal of their shares or otherwise lose their appraisal rights, each in
                     accordance with the DGCL; and (v) otherwise exactly follow the procedures set forth in Section 262, may be
                     entitled to have their shares appraised by the Delaware Court of Chancery and to receive payment in cash of
                     the “fair value” of the shares of UserTesting common stock, exclusive of any element of value arising from
                     the accomplishment or expectation of the Merger, together with interest to be paid on the amount determined
                     to be “fair value,” if any, as determined by the court. A beneficial owner may, in such person’s name, demand
                     in writing an appraisal of such beneficial owner’s shares in accordance with the procedures of subsection (d)
                     (1) of Section 262 summarized above, provided that (i) such beneficial owner continuously owns such shares
                     through the Effective Time and otherwise satisfies the requirements applicable to a stockholder under the
                     first sentence of subsection (a) of Section 262, and (ii) the demand made by such beneficial owner
                     reasonably identifies the holder of record of the shares for which the demand is made, is accompanied by
                     documentary evidence of such beneficial owner’s beneficial ownership of stock and a statement that such
                     documentary evidence is a true and correct copy of what it purports to be, and provides an address at which
                     such beneficial owner consents to receive notices given by the Surviving Corporation under Section 262 and
                     to be set forth on the Verified List (defined below). The shares of UserTesting common stock are currently
                     listed on a national securities exchange, and, assuming such shares remain listed on a national securities
                     exchange immediately prior to the Merger (which we expect to be the case), after an appraisal petition has
                     been filed, the Delaware Court of Chancery will dismiss appraisal proceedings as to all persons who have
                     asserted appraisal rights unless (a) the total number of shares entitled to appraisal exceeds 1% of the
                     outstanding shares of UserTesting common stock eligible for appraisal as measured in accordance with
                     subsection (g) of Section 262; or (b) the value of the aggregate Per Share Merger Consideration provided for
                     such total number of shares exceeds $1 million (conditions (a) and (b) referred to as the “ownership
                     thresholds”).

                          Unless the Delaware Court of Chancery, in its discretion, determines otherwise for good cause shown,
                     interest on an appraisal award from the effective date of the Merger through the date of payment of the
                     judgment will compound quarterly and accrue at 5% over the Federal Reserve System (the “Federal
                     Reserve”)


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                    discount rate (including any surcharge) as established from time to time during the period between the
                    Effective Time and the date the judgment is paid. However, at any time before the Delaware Court of
                    Chancery enters judgment in the appraisal proceedings, the Surviving Corporation may voluntarily pay to
                    each person entitled to appraisal an amount in cash pursuant to subsection (h) of Section 262, in which case
                    interest will accrue after the time of such payment as provided herein only on the sum of (i) the difference, if
                    any, between the amount so paid and the “fair value” of the shares as determined by the Delaware Court of
                    Chancery, and (ii) any interest accrued prior to the time of such voluntary cash payment, unless paid at that
                    time. The Surviving Corporation is under no obligation to make such voluntary cash payment prior to such
                    entry of judgment. Persons considering seeking appraisal should be aware that the “fair value” of their
                    shares as determined pursuant to Section 262 of the DGCL could be more than, the same as, or less than the
                    value of the Per Share Merger Consideration that they would receive pursuant to the Merger Agreement if
                    they did not seek appraisal of their shares.
                          Under Section 262, where a merger agreement is to be submitted for adoption at a meeting of
                    stockholders, the corporation, not less than twenty (20) days prior to the meeting, must notify each of its
                    stockholders who was such on the record date for notice of such meeting with respect to shares for which
                    appraisal rights are available that appraisal rights are available and include in the notice a copy of Section
                    262 or information directing the stockholders to a publicly available electronic resource at which Section 262
                    may be accessed without subscription or cost. This proxy statement constitutes UserTesting’s notice to our
                    stockholders that appraisal rights are available in connection with the Merger, and the full text of Section 262
                    is attached to this proxy statement as Annex C. In connection with the Merger, any person who wishes to
                    exercise appraisal rights, or who wishes to preserve his, her or its right to do so, should review Annex C
                    carefully. Failure to strictly comply with the requirements of Section 262 in a timely and proper manner may
                    result in the loss of appraisal rights under the DGCL. A person who loses his, her or its appraisal rights will
                    be entitled to receive the Per Share Merger Consideration described in the Merger Agreement. Moreover,
                    because of the complexity of the procedures for exercising the right to seek appraisal, we believe that if a
                    person considers exercising such rights, that person should seek the advice of legal counsel.

                         UserTesting stockholders and beneficial owners wishing to exercise the right to seek an appraisal of
                    their shares of UserTesting common stock must do ALL of the following:
                         • the person must not vote in favor of the proposal to approve and adopt the Merger Agreement;
                         • the person must deliver to us a written demand for appraisal before the vote is taken on the proposal
                           to approve and adopt the Merger Agreement at the Special Meeting;
                         • the person must continuously hold the shares upon the making of the demand through the Effective
                           Time (a person will lose appraisal rights if the person transfers the shares before the Effective Time);
                           and
                         • the person or the Surviving Corporation must file a petition in the Delaware Court of Chancery
                           requesting a determination of the “fair value” of the shares within one hundred twenty (120) days
                           after the Effective Time. The Surviving Corporation is under no obligation to file any petition and has
                           no intention of doing so.

                         In addition, one of the ownership thresholds must be met.
                         Because a proxy that does not contain voting instructions will, unless timely revoked, be voted in favor
                    of the adoption of the Merger Agreement, a stockholder who votes by proxy and who wishes to exercise
                    appraisal rights should not return a blank proxy, but rather must vote against the adoption of the Merger
                    Agreement, abstain or not vote his, her or its shares. Beneficial owners should consult with their bank,
                    broker or other nominee regarding methods of voting.

                    Filing Written Demand

                         Any UserTesting stockholder or beneficial owner wishing to exercise appraisal rights must deliver to us,
                    before the vote on the adoption of the Merger Agreement at the Special Meeting at which the proposal to
                    adopt the Merger Agreement will be submitted for stockholder approval, a written demand for the appraisal
                    of such person’s shares, and that person must not vote or submit a proxy in favor of the adoption of the
                    Merger Agreement. A person exercising appraisal rights must hold the shares for which they will seek


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                    appraisal upon the making of the demand for appraisal and must continue to hold the shares through the
                    Effective Time. A proxy that is submitted and does not contain voting instructions will, unless timely
                    revoked, be voted in favor of the adoption of the Merger Agreement and will therefore constitute a waiver of
                    the person’s right of appraisal and nullify any previously delivered written demand for appraisal. Therefore, a
                    person who submits a proxy and who wishes to exercise appraisal rights must ensure that the proxy
                    submitted contains instructions to vote against the adoption of the Merger Agreement or to abstain from
                    voting. Neither voting against the adoption of the Merger Agreement nor abstaining from voting on the
                    proposal to adopt the Merger Agreement will, in and of itself, constitute a written demand for appraisal
                    satisfying the requirements of Section 262. The written demand for appraisal must be in addition to and
                    separate from any proxy or vote on the adoption of the Merger Agreement. A stockholder’s or beneficial
                    owner’s failure to make the written demand prior to the taking of the vote on the adoption of the Merger
                    Agreement at the Special Meeting will constitute a waiver of appraisal rights.

                    Record Holders
                          A demand for appraisal in respect of shares of UserTesting common stock by a holder of record must be
                    executed by or on behalf of the holder of record, and must reasonably inform us of the identity of the holder
                    and state that the person intends thereby to demand appraisal of the holder’s shares in connection with the
                    Merger. If the shares are owned of record in a fiduciary or representative capacity, such as by a trustee,
                    guardian or custodian, such demand must be executed by or on behalf of the record owner, and if the shares
                    are owned of record by more than one (1) person, as in a joint tenancy and tenancy in common, the demand
                    must be executed by or on behalf of all joint owners. An authorized agent, including an authorized agent for
                    two (2) or more joint owners, may execute a demand for appraisal on behalf of a holder of record; however,
                    the agent must identify the record owner or owners and expressly disclose that, in executing the demand, the
                    agent is acting as agent for the record owner or owners. A holder of record, such as a brokerage firm, bank,
                    trust or other nominee, who holds shares of UserTesting common stock as nominee or intermediary for one
                    or more beneficial owners may exercise appraisal rights with respect to shares of UserTesting common stock
                    held for one (1) or more beneficial owners while not exercising appraisal rights for other beneficial owners. In
                    that case, the written demand should state the number of shares of UserTesting common stock as to which
                    appraisal is sought. Where no number of shares of UserTesting common stock is expressly mentioned, the
                    demand will be presumed to cover all shares of UserTesting common stock held in the name of the holder of
                    record.

                    Beneficial Owners

                         A beneficial owner may, in such person’s name, demand in writing an appraisal of such beneficial
                    owner’s shares in accordance with the procedures of subsection (d)(1) of Section 262 summarized above,
                    provided that (i) such beneficial owner continuously owns such shares through the Effective Time and
                    otherwise satisfies the requirements applicable to a stockholder under the first sentence of subsection (a) of
                    Section 262, and (ii) the demand made by such beneficial owner reasonably identifies the holder of record of
                    the shares for which the demand is made, is accompanied by documentary evidence of such beneficial
                    owner’s beneficial ownership of stock and a statement that such documentary evidence is a true and correct
                    copy of what it purports to be, and provides an address at which such beneficial owner consents to receive
                    notices given by the Surviving Corporation under Section 262 and to be set forth on the Verified List
                    (defined below). Although not expressly required by Section 262, we reserve the right to take the position
                    that we may require the submission of all information required of a beneficial owner under subsection (d)(3)
                    of Section 262 with respect to any person sharing beneficial ownership of the shares for which such demand
                    is submitted.

                        All written demands for appraisal pursuant to Section 262 should be mailed or delivered to:
                                                                  UserTesting, Inc.
                                                           Attention: Corporate Secretary
                                                                144 Townsend Street
                                                           San Francisco, California 94107

                       Any person entitled to appraisal rights who has delivered a written demand to us and who has not
                    commenced an appraisal proceeding or joined that proceeding as a named party may withdraw his, her or


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                    its demand for appraisal and accept the Per Share Merger Consideration by delivering to us a written
                    withdrawal of the demand for appraisal at any time within sixty (60) days after the Effective Time of the
                    Merger. No appraisal proceeding in the Delaware Court of Chancery will be dismissed as to any person
                    without the approval of the Delaware Court of Chancery, and such approval may be conditioned upon such
                    terms as the Delaware Court of Chancery deems just; provided, however, that this shall not affect the right of
                    any person who has not commenced an appraisal proceeding or joined that proceeding as a named party to
                    withdraw such person’s demand for appraisal and to accept the Per Share Merger Consideration within sixty
                    (60) days after the Effective Time. If an appraisal proceeding is commenced, except with respect to any
                    person who withdraws such person’s demand in accordance with the proviso in the immediately preceding
                    sentence, if the Delaware Court of Chancery does not approve the dismissal of an appraisal proceeding with
                    respect to a UserTesting stockholder or beneficial owner, such stockholder or beneficial owner will be
                    entitled to receive only the appraised value determined in any such appraisal proceeding, which value could
                    be less than, equal to or more than the Per Share Merger Consideration.

                    Notice by the Surviving Corporation

                         If the Merger is completed, within ten (10) days after the Effective Time, the Surviving Corporation will
                    notify each UserTesting stockholder who has properly made a written demand for appraisal pursuant to
                    Section 262 and who has not voted in favor of the adoption of the Merger Agreement, and any beneficial
                    owner who has demanded appraisal under subsection (d)(3) of Section 262, of the effective date of the
                    Merger.

                    Filing a Petition for Appraisal

                         Within one hundred twenty (120) days after the Effective Time, but not thereafter, the Surviving
                    Corporation or any person who has complied with Section 262 and is entitled to seek appraisal under Section
                    262 (including for this purpose any beneficial owner of the relevant shares) may commence an appraisal
                    proceeding by filing a petition in the Delaware Court of Chancery, with a copy served on the Surviving
                    Corporation in the case of a petition filed by a UserTesting stockholder or beneficial owner, demanding a
                    determination of the “fair value” of the shares held by all such persons. The Surviving Corporation is under
                    no obligation, and has no present intention, to file a petition, and no person should assume that the
                    Surviving Corporation will file a petition or initiate any negotiations with respect to the “fair value” of the
                    shares of UserTesting common stock. Accordingly, any UserTesting stockholders or beneficial owners who
                    desire to have their shares appraised should initiate all necessary action to perfect their appraisal rights in
                    respect of their shares of UserTesting common stock within the time and in the manner prescribed in Section
                    262. The failure of a record holder or beneficial owner of UserTesting common stock to file such a petition
                    within the period specified in Section 262 could nullify such person’s previous written demand for appraisal.

                         Within one hundred twenty (120) days after the Effective Time, any person who has complied with the
                    requirements of Section 262 and who is entitled to appraisal rights thereunder will be entitled, upon written
                    request, to receive from the Surviving Corporation a statement setting forth the aggregate number of shares
                    not voted in favor of the adoption of the Merger Agreement and with respect to which we have received
                    demands for appraisal, and the aggregate number of stockholders or beneficial owners holding or owning
                    such shares (provided that, where a beneficial owner makes a demand on his, her or its own behalf, the
                    record holder of such shares shall not be considered a separate stockholder holding such shares for
                    purposes of such aggregate number). The Surviving Corporation must mail this statement to the requesting
                    UserTesting stockholder within ten (10) days after receipt by the Surviving Corporation of the written
                    request for such a statement or within ten (10) days after the expiration of the period for delivery of demands
                    for appraisal, whichever is later. A beneficial owner of shares of UserTesting common stock held either in a
                    voting trust or by a nominee on behalf of such person may, in such person’s own name, file a petition
                    seeking appraisal or request from the Surviving Corporation the foregoing statements.
                         If a petition for an appraisal is duly filed by any person other than the Surviving Corporation and a copy
                    thereof is served upon the Surviving Corporation, the Surviving Corporation will then be obligated within
                    twenty (20) days after such service to file with the Delaware Register in Chancery a duly verified list (the
                    “Verified List”) containing the names and addresses of all persons who have demanded appraisal for their


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                    shares and with whom agreements as to the value of their shares have not been reached. Upon the filing of
                    any such petition, the Delaware Court of Chancery may order that notice of the time and place fixed for the
                    hearing on the petition be mailed to the Surviving Corporation and all of the persons shown on the Verified
                    List at the addresses stated therein. The form of the notice by mail shall be approved by the Delaware Court
                    of Chancery, and the costs thereof shall be borne by the Surviving Corporation.

                         After notice to the persons shown on the Verified List as required by the court, the Delaware Court of
                    Chancery is empowered to conduct a hearing on the petition to determine those persons who have complied
                    with Section 262 and who have become entitled to appraisal rights thereunder. The Delaware Court of
                    Chancery may require persons who have demanded an appraisal for their shares and who hold stock
                    represented by certificates (if any) to submit their stock certificates to the Delaware Register in Chancery for
                    notation thereon of the pendency of the appraisal proceedings and, if any person fails to comply with the
                    direction, the Delaware Court of Chancery may dismiss the proceedings as to such person. In addition,
                    assuming the UserTesting common stock remained listed on a national securities exchange immediately prior
                    to the effective time of the Merger, the Delaware Court of Chancery will dismiss appraisal proceedings as to
                    all persons who have asserted appraisal rights if neither of the ownership thresholds is met.

                    Determination of “Fair Value”

                         After determining persons entitled to appraisal and that at least one of the ownership thresholds
                    described above has been satisfied as to the persons seeking appraisal rights, the appraisal proceeding will
                    be conducted in accordance with the rules of the Delaware Court of Chancery, including any rules
                    specifically governing appraisal proceedings. Through such proceeding, the Delaware Court of Chancery will
                    determine the “fair value” of the shares of UserTesting common stock, exclusive of any element of value
                    arising from the accomplishment or expectation of the Merger, together with interest, if any, to be paid upon
                    the amount determined to be the “fair value.” In determining “fair value,” the Delaware Court of Chancery
                    will take into account all relevant factors. Unless the court in its discretion determines otherwise for good
                    cause shown, interest from the Effective Time through the date of payment of the judgment will compound
                    quarterly and accrue at 5% over the Federal Reserve discount rate (including any surcharge) as established
                    from time to time during the period between the Effective Time and the date the judgment is paid. However, at
                    any time before the Delaware Court of Chancery enters judgment in the appraisal proceedings, the Surviving
                    Corporation may pay to each person entitled to appraisal an amount in cash, in which case such interest will
                    accrue after the time of such payment only on the sum of (i) the difference, if any, between the amount so
                    paid and the “fair value” of the shares as determined by the Delaware Court of Chancery, and (ii) interest
                    accrued prior to the time of such voluntary payment, unless paid at that time.

                         In Weinberger v. UOP, Inc., the Supreme Court of Delaware discussed the factors that could be
                    considered in determining “fair value” in an appraisal proceeding, stating that “proof of value by any
                    techniques or methods which are generally considered acceptable in the financial community and otherwise
                    admissible in court” should be considered, and that “[f]air price obviously requires consideration of all
                    relevant factors involving the value of a company.” The Supreme Court of Delaware stated that, in making
                    this determination of “fair value,” the court must consider market value, asset value, dividends, earnings
                    prospects, the nature of the enterprise and any other facts that could be ascertained as of the date of the
                    Merger that throw any light on future prospects of the merged corporation. Section 262 provides that “fair
                    value” is to be “exclusive of any element of value arising from the accomplishment or expectation of the
                    Merger.” In Cede & Co. v. Technicolor, Inc., the Supreme Court of Delaware stated that such exclusion is a
                    “narrow exclusion [that] does not encompass known elements of value,” but which rather applies only to the
                    speculative elements of value arising from such accomplishment or expectation. In Weinberger, the Supreme
                    Court of Delaware also stated that “elements of future value, including the nature of the enterprise, which are
                    known or susceptible of proof as of the date of the Merger and not the product of speculation, may be
                    considered.”

                         Persons considering seeking appraisal should be aware that the “fair value” of their shares as so
                    determined by the Delaware Court of Chancery could be more than, the same as or less than the Per Share
                    Merger Consideration they would receive pursuant to the Merger if they did not seek appraisal of their
                    shares and that an opinion of an investment banking firm as to the fairness from a financial point of view of
                    the Per Share Merger Consideration payable in a Merger is not an opinion as to, and may not in any manner


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                    address, “fair value” under Section 262. No representation is made as to the outcome of the appraisal of “fair value”
                    as determined by the Delaware Court of Chancery, and persons seeking appraisal should recognize that such an
                    appraisal could result in a determination of a value higher or lower than, or the same as, the Per Share Merger
                    Consideration. Neither UserTesting nor Parent anticipates offering more than the Per Share Merger
                    Consideration to any person exercising appraisal rights, and each of UserTesting and Parent reserves the
                    rights to make a voluntary cash payment pursuant to subsection (h) of Section 262 and to assert, in any
                    appraisal proceeding, that for purposes of Section 262, the “fair value” of a share of UserTesting common
                    stock is less than the Per Share Merger Consideration. If a demand for appraisal is duly withdrawn, if a
                    petition for appraisal is not timely filed, if neither of the ownership thresholds described above has been
                    satisfied as to persons seeking appraisal rights (assuming the UserTesting common stock remained listed on
                    a national securities exchange immediately prior to the effective time of the Merger), or other requirements
                    imposed by Section 262 to perfect and seek appraisal are not satisfied, then the right to an appraisal will
                    cease.
                          Upon application by the Surviving Corporation or by any person entitled to participate in the appraisal
                    proceeding, the Delaware Court of Chancery may, in its discretion, proceed to trial upon the appraisal prior to
                    the final determination of the persons entitled to an appraisal. Any person whose name appears on the
                    Verified List may participate fully in all proceedings until it is finally determined that such person is not
                    entitled to appraisal rights under Section 262.

                         The Delaware Court of Chancery will direct the payment of the fair value of the shares, together with
                    interest, if any, by the Surviving Corporation to the persons entitled thereto. Payment will be made to each
                    such person upon such terms and conditions as the Delaware Court of Chancery may order. The Delaware
                    Court of Chancery’s decree may be enforced as other decrees in such court may be enforced.
                         The costs of the appraisal proceedings (which do not include attorneys’ fees or the fees and expenses
                    of experts) may be determined by the Delaware Court of Chancery and charged upon the parties as the
                    Delaware Court of Chancery deems equitable under the circumstances. Upon application of a person whose
                    name appears on the Verified List who participated in the proceeding and incurred expenses in connection
                    therewith, the Delaware Court of Chancery may also order that all or a portion of such expenses, including,
                    without limitation, reasonable attorneys’ fees and the fees and expenses of experts, be charged pro rata
                    against the value of all the shares entitled to appraisal not dismissed pursuant to subsection (k) of Section
                    262 or subject to such an award pursuant to a reservation of jurisdiction under subsection (k) of Section 262.
                    In the absence of such determination or assessment, each party bears its own expenses.
                         If any person who demands appraisal of his, her or its shares of UserTesting common stock under
                    Section 262 fails to perfect, or effectively loses or withdraws, such person’s right to appraisal, the
                    stockholder’s shares of UserTesting common stock will be deemed to have been converted at the Effective
                    Time into the right to receive the Per Share Merger Consideration, without interest. A person will fail to
                    perfect, or effectively lose or withdraw, such person’s right to appraisal if no petition for appraisal is filed
                    within one hundred twenty (120) days after the Effective Time, if neither of the ownership thresholds
                    described above has been satisfied as to persons seeking appraisal rights (assuming the UserTesting
                    common stock remained listed on a national securities exchange immediately prior to the effective time of the
                    Merger) or if the person delivers to the Surviving Corporation a written withdrawal of the person’s demand
                    for appraisal in accordance with Section 262.

                          From and after the Effective Time, no person who has demanded appraisal rights with respect to some or
                    all of such person’s shares will be entitled to vote such shares of UserTesting common stock for any
                    purpose or to receive payment of dividends or other distributions on such shares, except dividends or other
                    distributions payable to stockholders of record at a date which is prior to the Effective Time. If no petition
                    for an appraisal is filed, if neither of the ownership thresholds described above has been satisfied as to
                    persons seeking appraisal rights (assuming the UserTesting common stock remained listed on a national
                    securities exchange immediately prior to the effective time of the Merger), or if the person delivers to the
                    Surviving Corporation a written withdrawal of the demand for an appraisal in respect of some or all of such
                    person’s shares within sixty (60) days after the Effective Time, then the right of such person to an appraisal
                    of the shares subject to the withdrawal will cease. Once a petition for appraisal is filed with the Delaware
                    Court of Chancery, however, the appraisal proceeding may not be dismissed as to any person without the
                    approval of the court, and such approval may be conditioned upon such terms as the court deems just,
                    including without limitation a reservation of jurisdiction for any application to the court made under
                    subsection (j) of


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                      Section 262; provided, however, that the foregoing shall not affect the right of any person who has not
                      commenced an appraisal proceeding or joined that proceeding as a named party to withdraw such person’s
                      demand for appraisal and to accept the terms offered upon the Merger within sixty (60) days after the
                      Effective Time.
                           Failure to comply strictly with all of the procedures set forth in Section 262 may result in the loss of a
                      record holder’s or beneficial owner’s statutory appraisal rights. Consequently, any stockholder or beneficial
                      owner wishing to exercise appraisal rights is encouraged to consult legal counsel before attempting to
                      exercise those rights.

                      Litigation Related to the Merger

                           Two lawsuits have been filed in federal courts against UserTesting and its directors: O’Dell v.
                      UserTesting, Inc., et al., 1:22-cv-10071 (S.D.N.Y.), and Glanville v. UserTesting, Inc., et al., 3:22-cv-07568
                      (N.D. Cal.) (collectively, the “Stockholder Litigation”). The complaints name UserTesting and our directors as
                      defendants. The complaints assert claims under Section 14(a) and Section 20(a) of the Exchange Act and
                      Rule 14a-19 promulgated thereunder, and generally allege that the preliminary proxy statement misrepresents
                      and/or omits certain purportedly material information relating to the Merger, including allegations relating to
                      the background of the Merger, financial projections, analyses of our financial advisor and conflicts of
                      interest by company insiders in pursuing the Merger. The complaints seek a variety of equitable and
                      injunctive relief including, among other things, an injunction enjoining the consummation of the Merger,
                      rescission of the Merger Agreement, rescission of the Merger if it is consummated, rescissory damages and
                      costs and attorneys’ fees. We have not yet responded to the complaints filed in the Stockholder Litigation.
                           In addition, three purported stockholders of UserTesting sent demand letters regarding the preliminary
                      proxy statement (the “Demand Letters”). Based on the same core allegations as the Stockholder Litigation,
                      the Demand Letters request that we disseminate corrective disclosures in an amendment or supplement to
                      the preliminary proxy statement.
                           We believe the Stockholder Litigation and the Demand Letters are without merit, but there can be no
                      assurance that we will ultimately prevail in the Stockholder Litigation or all such lawsuits. Additionally,
                      additional lawsuits may be filed and demand letters may be sent before the Special Meeting and/or the
                      consummation of the Merger.

                      Accounting Treatment

                           The Merger will be accounted for as a “purchase transaction” for financial accounting purposes.

                      U.S. Federal Income Tax Consequences of the Merger
                           The following discussion is a summary of certain U.S. federal income tax consequences of the Merger
                      that may be relevant to our stockholders whose shares are converted into the right to receive cash pursuant
                      to the Merger. This discussion is based upon the Code, Treasury Regulations promulgated under the Code,
                      rulings and other published positions of the Internal Revenue Service (the “IRS”) and judicial decisions, all
                      as in effect on the date of this proxy statement and all of which are subject to change or differing
                      interpretations, possibly with retroactive effect. Any such change, which may or may not be retroactive,
                      could alter the tax consequences to our stockholders as described herein. This discussion is limited to
                      holders who hold their shares of UserTesting common stock as “capital assets” within the meaning of
                      Section 1221 of the Code (generally, property held for investment purposes). For purposes of this
                      discussion, a “holder” means either a U.S. Holder (as defined below) or a Non-U.S. Holder (as defined below)
                      or both, as the context may require.

                           This discussion does not address all of the tax consequences that may be relevant to holders in light of
                      their particular facts and circumstances, nor does it address any consequences to holders subject to special
                      rules under the U.S. federal income tax laws, such as:
                           • banks and other financial institutions;
                           • insurance companies;


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                        • dealers in securities;
                        • traders in securities who elect to apply a mark-to-market method of accounting;
                        • regulated investment companies;
                        • real estate investment trusts;
                        • tax-exempt entities;
                        • holders who hold their shares of UserTesting common stock as part of a “straddle,” hedge,
                          constructive sale, or other integrated transaction or conversion transaction or similar transactions;
                        • holders whose functional currency is not the U.S. dollar;
                        • partnerships, other entities classified as partnerships for U.S. federal income tax purposes, “S
                          corporations,” or any other pass-through entities for U.S. federal income tax purposes (or investors in
                          such entities);
                        • controlled foreign corporations or passive foreign investment companies;
                        • holders who hold their shares of UserTesting common stock as qualified small business stock for
                          purposes of sections 1045 and/or 1202 of the Code;
                        • persons subject to the alternative minimum tax;
                        • U.S. expatriates and former citizens or long-term residents of the United States;
                        • holders that own or have owned (directly, indirectly or constructively) 5% or more of UserTesting
                          common stock (by vote or value) at any point during the five-year period prior to the Merger; and
                        • holders that received their shares of UserTesting common stock pursuant to the exercise of employee
                          stock options or otherwise as compensation.

                          This discussion does not address any U.S. federal tax consequences other than those pertaining to the
                    income tax (such as estate, gift or other non-income tax consequences) or any state, local or non-U.S. income
                    or non-income tax consequences, or the consequences of the Medicare tax on net investment income. If a
                    partnership (including an entity or arrangement treated as a partnership for U.S. federal income tax purposes)
                    is a beneficial owner of shares of UserTesting common stock, the U.S. federal income tax treatment of a
                    partner in such partnership will generally depend upon the status of the partner and the activities of the
                    partnership. Partnerships holding shares of UserTesting common stock and partners therein should consult
                    their own tax advisors regarding the consequences of the Merger to their particular circumstances.
                         No ruling has been or will be sought from the IRS regarding the U.S. federal income tax consequences of
                    the Merger described herein. This summary is not binding on the IRS or a court, and there can be no
                    assurance that the tax consequences described in this summary will not be challenged by the IRS or that
                    they would be sustained by a court if so challenged.
                        HOLDERS SHOULD CONSULT THEIR OWN TAX ADVISORS CONCERNING THE U.S. FEDERAL INCOME
                    TAX CONSEQUENCES RELATING TO THE MERGER IN LIGHT OF THEIR PARTICULAR CIRCUMSTANCES
                    AND ANY CONSEQUENCES ARISING UNDER ANY STATE, LOCAL, NON-U.S. OR OTHER TAX LAWS.

                    U.S. Holders

                       For purposes of this discussion, a “U.S. Holder” means a beneficial owner of shares of UserTesting
                    common stock that is, for U.S. federal income tax purposes:
                        • an individual who is a citizen or resident of the United States;
                        • a corporation, or other entity taxable as a corporation for U.S. federal income tax purposes, created or
                          organized in or under the laws of the United States or any state thereof or the District of Columbia;
                        • an estate, the income of which is subject to U.S. federal income taxation regardless of its source; or
                        • a trust (i) that is subject to the primary supervision of a court within the United States and the control
                          of one or more United States persons as defined in section 7701(a)(30) of the Code or (ii) that


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                            has a valid election in effect under applicable Treasury Regulations to be treated as a United States
                            person as defined in section 7701(a)(30) of the Code.
                          The receipt of cash by a U.S. Holder in exchange for shares of UserTesting common stock pursuant to
                     the Merger will be a taxable transaction for U.S. federal income tax purposes. In general, a U.S. Holder will
                     recognize gain or loss in an amount equal to the difference, if any, between the amount of cash received and
                     the U.S. Holder’s adjusted tax basis in the shares of UserTesting common stock surrendered pursuant to the
                     Merger. A U.S. Holder’s adjusted tax basis generally will equal the amount that such U.S. Holder paid for the
                     shares of UserTesting common stock. Such gain or loss will be capital gain or loss and will be long-term
                     capital gain or loss if such U.S. Holder’s holding period in such shares is more than one year at the time of
                     the Merger. A reduced tax rate on capital gain will generally apply to long-term capital gain of a non-
                     corporate U.S. Holder. The deductibility of capital losses is subject to limitations.

                     Non-U.S. Holders

                        For purposes of this discussion, a “Non-U.S. Holder” means a beneficial owner of shares of UserTesting
                     common stock that is neither a U.S. Holder nor a partnership for U.S. federal income tax purposes.
                          Any gain realized by a Non-U.S. Holder pursuant to the Merger will generally not be subject to U.S.
                     federal income tax unless:
                         • the gain is effectively connected with a trade or business of such Non-U.S. Holder in the United
                           States (and, if required by an applicable income tax treaty, is attributable to a permanent
                           establishment or fixed base maintained by such Non-U.S. Holder in the United States), in which case
                           such gain will generally be subject to U.S. federal income tax at rates generally applicable to a United
                           States person as defined under the Code, and, if the Non-U.S. Holder is a corporation, such gain may
                           also be subject to an additional branch profits tax at a rate of 30% (or a lower rate under an applicable
                           tax treaty); or
                         • such Non-U.S. Holder is an individual who is present in the United States for one hundred eighty-
                           three (183) days or more in the taxable year of the Merger, and certain other specified conditions are
                           met, in which case such gain will be subject to U.S. federal income tax at a rate of 30% (or a lower rate
                           under an applicable tax treaty).

                     Information Reporting and Backup Withholding

                           Information reporting and backup withholding (currently, at a rate of 24%) may apply to the proceeds
                     received by a holder pursuant to the Merger. Backup withholding generally will not apply to (i) a U.S. Holder
                     that furnishes a correct taxpayer identification number and certifies that such U.S. Holder is not subject to
                     backup withholding on IRS Form W-9 (or a substitute successor form) or (ii) a Non-U.S. Holder that provides
                     a certification of such Non-U.S. Holder’s foreign status on the appropriate series of IRS Form W-8 (or a
                     substitute or successor form) or otherwise establishes an exemption from backup withholding. Backup
                     withholding is not an additional tax. Any amounts withheld under the backup withholding rules will be
                     allowed as a refund or a credit against the holder’s U.S. federal income tax liability; provided that the
                     required information is timely furnished to the IRS.
                         HOLDERS OF USERTESTING COMMON STOCK SHOULD CONSULT THEIR OWN TAX ADVISORS
                     REGARDING THE U.S. FEDERAL INCOME TAX CONSEQUENCES OF THE MERGER TO THEIR PARTICULAR
                     CIRCUMSTANCES, INCLUDING THE APPLICABILITY OF ANY STATE, LOCAL, NON-U.S. OR OTHER TAX
                     LAWS.

                     Regulatory Approvals Required for the Merger

                     General

                          We and Parent have agreed to take all action necessary to comply with all regulatory notification
                     requirements, and, subject to certain limitations, to obtain all regulatory approvals required to consummate
                     the Merger and the other transactions contemplated by the Merger Agreement. These approvals include
                     approval under the HSR Act and any other applicable antitrust laws (whether domestic or foreign).


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                    HSR Act and U.S. Antitrust Matters
                         Under the HSR Act and the rules promulgated thereunder, the Merger may not be completed until
                    UserTesting and Thoma Bravo each files a Notification and Report Form with the Antitrust Division of the
                    DOJ and the FTC, and the applicable 30-calendar-day waiting period has expired or been terminated. If the
                    FTC or DOJ issues a request for additional information and documents (which we refer to as a “Second
                    Request”) prior to the expiration of the initial waiting period, the parties must observe a second 30-day
                    waiting period, which would begin to run only after both parties have substantially complied with the
                    Second Request, unless earlier terminated or extended by court order.

                        We and Thoma Bravo each filed a Notification and Report Form under the HSR Act with respect to the
                    Merger with the FTC and DOJ on November 9, 2022.

                         At any time before or after consummation of the Merger, notwithstanding the termination or expiration
                    of the waiting period under the HSR Act, the FTC, the DOJ or any state attorneys general could take such
                    action under the antitrust laws as it deems necessary or desirable in the public interest, including seeking to
                    enjoin the completion of the Merger, seeking divestiture of substantial assets of the parties, or seeking to
                    require the parties to license or hold separate assets or terminate existing relationships and contractual
                    rights. Private parties may also seek to take legal action under the antitrust laws under certain circumstances.
                    We cannot be certain that a challenge to the Merger will not be made or that, if a challenge is made, we will
                    prevail.

                    Other Regulatory Approvals
                         The Merger is also subject to certain regulatory actions by the CMA and ACCC. The relevant regulatory
                    bodies could take action under applicable regulatory laws as they deem necessary or desirable in the public
                    interest, including, without limitation, seeking to enjoin or otherwise prevent the completion of the Merger or
                    permitting completion subject to regulatory conditions. Private parties may also seek to take legal action
                    under regulatory laws under some circumstances. There can be no assurance that a challenge to the Merger
                    on regulatory grounds will not be made or, if such a challenge is made, that it would not be successful.




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                                                 PROPOSAL 1: ADOPTION OF THE MERGER AGREEMENT

                           The following summary describes the material provisions of the Merger Agreement. The descriptions of
                      the Merger Agreement in this summary and elsewhere in this proxy statement are not complete and are
                      qualified in their entirety by reference to the Merger Agreement, a copy of which is attached to this proxy
                      statement as Annex A and incorporated into this proxy statement by reference. You should carefully read
                      and consider the entire Merger Agreement, which is the legal document that governs the Merger, because
                      this summary may not contain all the information about the Merger Agreement that is important to you.
                      The rights and obligations of the parties are governed by the express terms of the Merger Agreement and not by this
                      summary or any other information contained in this proxy statement.
                           The representations, warranties, covenants and agreements described below and included in the
                      Merger Agreement (i) were made only for purposes of the Merger Agreement and as of specific dates; (ii)
                      were made solely for the benefit of the parties to the Merger Agreement; and (iii) may be subject to
                      important qualifications, limitations and supplemental information agreed to by UserTesting, Parent and
                      Merger Sub in connection with negotiating the terms of the Merger Agreement. In addition, the
                      representations and warranties have been included in the Merger Agreement for the purpose of allocating
                      contractual risk between UserTesting, Parent and Merger Sub rather than to establish matters as facts,
                      and may be subject to standards of materiality applicable to such parties that differ from those applicable
                      to investors. Stockholders are not third-party beneficiaries under the Merger Agreement and should not
                      rely on the representations, warranties, covenants and agreements or any descriptions thereof as
                      characterizations of the actual state of facts or condition of UserTesting, Parent or Merger Sub or any of
                      their respective affiliates or businesses. Moreover, information concerning the subject matter of the
                      representations and warranties may change after the date of the Merger Agreement. In addition, you
                      should not rely on the covenants in the Merger Agreement as actual limitations on the respective
                      businesses of UserTesting, Parent and Merger Sub, because the parties may take certain actions that are
                      either expressly permitted in the confidential disclosure letter to the Merger Agreement or as otherwise
                      consented to by the appropriate party, which consent may be given without notice to the public. The
                      Merger Agreement is described below, and included as Annex A, only to provide you with information
                      regarding its terms and conditions, and not to provide any other factual information regarding
                      UserTesting, Parent, Merger Sub or their respective businesses. Accordingly, the representations,
                      warranties, covenants and other agreements in the Merger Agreement should not be read alone, and you
                      should read the information provided elsewhere in this document and in our filings with the SEC
                      regarding UserTesting and our business.

                      Effects of the Merger; Directors and Officers; Certificate of Incorporation; Bylaws

                           The Merger Agreement provides that, subject to the terms and conditions of the Merger Agreement,
                      and in accordance with the DGCL, at the Effective Time (as defined in the section of this proxy statement
                      captioned “- Closing and Effective Time”): (i) Merger Sub will be merged with and into UserTesting, with
                      UserTesting becoming a wholly owned subsidiary of Parent; (ii) the separate corporate existence of Merger
                      Sub will thereupon cease; and (iii) UserTesting will continue as the Surviving Corporation. From and after
                      the Effective Time, the Surviving Corporation will possess all properties, rights, privileges, powers and
                      franchises of UserTesting and Merger Sub, and all of the debts, liabilities and duties of UserTesting and
                      Merger Sub will become the debts, liabilities and duties of the Surviving Corporation.

                           At the Effective Time, the initial directors of the Surviving Corporation will be the directors of Merger
                      Sub as of immediately prior to the Effective Time, each to hold office in accordance with the certificate of
                      incorporation and bylaws of the Surviving Corporation until their respective successors are duly elected or
                      appointed and qualified. At the Effective Time, the initial officers of the Surviving Corporation will be the
                      officers of UserTesting as of immediately prior to the Effective Time, each to hold office in accordance with
                      the certificate of incorporation and bylaws of the Surviving Corporation until their respective successors are
                      duly appointed. At the Effective Time, the certificate of incorporation of UserTesting as the Surviving
                      Corporation will be amended and restated in its entirety to read substantially identically to the certificate of
                      incorporation of Merger Sub as in effect immediately prior to the Effective Time, and the bylaws of Merger
                      Sub, as in effect immediately prior to the Effective Time, will become the bylaws of the Surviving
                      Corporation, until thereafter amended.


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                      Closing and Effective Time

                           The closing of the Merger (the “Closing”) will take place at 5:00 a.m., Pacific Time, on the second (2nd)
                      business day following the satisfaction or waiver of all conditions to Closing of the Merger (described below
                      under the caption, “- Conditions to the Closing of the Merger”) (other than those conditions to be satisfied
                      at the Closing of the Merger) or such other time agreed to in writing by Parent and UserTesting.

                           On the Closing Date, the parties will file a certificate of merger with the Secretary of State for the State of
                      Delaware as provided under the DGCL. The Effective Time will be the time at which the Merger will become
                      effective.

                      Merger Consideration

                      UserTesting Common Stock
                          At the Effective Time, each then-outstanding share of UserTesting common stock (other than the
                      Excluded Shares) will be cancelled and automatically converted into the right to receive the Per Share Merger
                      Consideration, less any applicable withholding taxes.

                           Prior to or at the Effective Time, Parent will deposit (or cause to be deposited) with the Paying Agent an
                      amount of cash sufficient to pay the aggregate Per Share Merger Consideration payable at Closing. For more
                      information, please see the section of this proxy statement captioned “- Exchange and Payment Procedures.”

                      Treatment of Company Equity Awards

                           The Merger Agreement provides that UserTesting’s equity awards that are outstanding immediately
                      prior to the Effective Time will be subject to the following treatment as of the Effective Time:

                      Company Options
                           Each Vested Company Option will, automatically and without any required action on the part of the
                      holder thereof, be cancelled and converted into the right to receive an amount in cash, without interest,
                      equal to the product obtained by multiplying (x) the excess, if any, of (i) the Per Share Merger Consideration
                      over (ii) the per share exercise price for such Vested Company Option by (y) the total number of shares of
                      UserTesting common stock underlying such Vested Company Option, subject to applicable withholding
                      taxes, provided, however, that if the exercise price per share of UserTesting common stock of such Vested
                      Company Option is equal to or greater than the Per Share Merger Consideration, such Vested Company
                      Option will be cancelled without any cash payment or other consideration being made in respect thereof.

                            Each Unvested Company Option will, automatically and without any required action on the part of the
                      holder thereof, be converted into the contingent right to receive an amount in cash, without interest, equal to
                      the product obtained by multiplying (x) the excess, if any, of (i) the Per Share Merger Consideration over (ii)
                      the per share exercise price for such Unvested Company Option by (y) the total number of shares of
                      UserTesting common stock underlying such Unvested Company Option, subject to applicable withholding
                      taxes, provided, however, that if the exercise price per share of UserTesting common stock of such Unvested
                      Company Option is equal to or greater than the Per Share Merger Consideration, such Unvested Company
                      Option will be cancelled without any cash payment or other consideration being made in respect thereof.
                      Subject to the holder’s continued service with Parent and its affiliates (including the Surviving Corporation
                      and its subsidiaries) through the applicable vesting dates, such Unvested Company Option Consideration
                      amounts will vest and become payable at the same time as the Unvested Company Option from which such
                      Unvested Company Option Consideration was converted would have vested and been payable pursuant to
                      its terms and, subject to certain exceptions, will otherwise remain subject to the same terms and conditions
                      as were applicable to the underlying Unvested Company Option immediately prior to the Effective Time with
                      respect to the receipt of the Unvested Company Option Consideration (without limitation to any rights that
                      the holder may have under any agreement with the Company in effect on the date of the Merger Agreement).


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                     Company RSUs

                          Each Vested Company RSU will, automatically and without any required action on the part of the holder
                     thereof, be cancelled and converted into the right to receive an amount in cash, without interest, equal to the
                     product obtained by multiplying (x) the total number of shares of UserTesting common stock underlying
                     such Vested Company RSU by (y) the Per Share Merger Consideration, subject to applicable withholding
                     taxes.
                          Each Unvested Company RSU will, automatically and without any required action on the part of the
                     holder thereof, be converted into the contingent right to receive an amount in cash, without interest, equal to
                     the product obtained by multiplying (x) the total number of shares of UserTesting common stock underlying
                     such Unvested Company RSU by (y) the Per Share Merger Consideration, subject to applicable withholding
                     taxes. Subject to the holder’s continued service with Parent and its affiliates (including the Surviving
                     Corporation and its subsidiaries) through the applicable vesting dates, such Unvested Company RSU
                     Consideration amounts will vest and become payable at the same time as the Unvested Company RSU from
                     which such Unvested Company RSU Consideration was converted would have vested and been payable
                     pursuant to its terms and, subject to certain exceptions, will otherwise remain subject to the same terms and
                     conditions as were applicable to the underlying Unvested Company RSU immediately prior to the Effective
                     Time with respect to the receipt of the Unvested Company RSU Consideration (without limitation to any
                     rights that the holder may have under any agreement with the Company in effect on the date of the Merger
                     Agreement).

                     Treatment of Company ESPP

                          In accordance with the terms of the Merger Agreement, on October 26, 2022, the Board of Directors
                     adopted resolutions providing that with respect to the Company ESPP, (i) participation in the Company ESPP
                     will be limited to those employees who are participants on the date of the Merger Agreement, (ii) participants
                     may not increase their payroll deduction elections or rate of contributions from those in effect on the date of
                     the Merger Agreement or make any separate non-payroll contributions to the Company ESPP on or following
                     the date of the Merger Agreement, (iii) no offering or purchase period will be commenced after the date of the
                     Merger Agreement, (iv) each then-outstanding purchase right shall be exercised as of the earlier of (A) the
                     end of the offering or purchase period in effect on the date of the Merger Agreement or (B) ten (10) days
                     prior to the date on which the Effective Time occurs, and (v) the Company ESPP will terminate immediately
                     prior to, but contingent upon the occurrence of, the Effective Time, but subsequent to the exercise of
                     purchase rights on such purchase date (in accordance with the terms of the Company ESPP). On such
                     exercise date, we will apply the funds credited as of such date pursuant to the Company ESPP within each
                     participant’s payroll withholding account to the purchase of whole shares of UserTesting common stock in
                     accordance with the terms of the Company ESPP and each share purchased thereunder immediately prior to
                     the Effective Time will be canceled at the Effective Time and converted into the right to receive the Per Share
                     Merger Consideration, subject to any applicable withholding taxes. Any accumulated contributions of each
                     participant under the Company ESPP as of immediately prior to the Effective Time will, to the extent not used
                     to purchase shares in accordance with the terms and conditions of the Company ESPP, be refunded to such
                     participant as promptly as practicable following the Effective Time (without interest).

                     Exchange and Payment Procedures

                         Prior to the Closing of the Merger, Parent will designate the Paying Agent to make payments of the Per
                     Share Merger Consideration to our stockholders. At or prior to the Effective Time, Parent will deposit (or
                     cause to be deposited) with the Paying Agent cash sufficient to pay the aggregate Per Share Merger
                     Consideration to our stockholders.
                          As soon as reasonably practicable following the Effective Time (and in any event within five (5)
                     business days), the Parent shall cause the Paying Agent to mail to each holder of record (as of immediately
                     prior to the Effective Time) a letter of transmittal in customary form and instructions for use in effecting the
                     surrender of such holder’s shares of UserTesting common stock represented by such holder’s certificate(s)
                     or book-entry shares in exchange for the Per Share Merger Consideration payable in respect of such shares.
                     The amount of any Per Share Merger Consideration paid to our stockholders may be reduced by applicable
                     withholding taxes.


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                     Representations and Warranties

                         The Merger Agreement contains representations and warranties of UserTesting, Parent and Merger Sub.
                         Some of the representations and warranties in the Merger Agreement made by us are qualified as to
                     “materiality” or “Company Material Adverse Effect.” For purposes of the Merger Agreement, “Company
                     Material Adverse Effect” means, with respect to UserTesting, any event, change, occurrence, effect or
                     development that (A) individually or taken together with all other events, changes, occurrences, effects or
                     developments that have occurred prior to the date of determination of the occurrence of such an effect
                     would reasonably be expected to have a material adverse effect on the business, operations or financial
                     condition of UserTesting and our subsidiaries, taken as a whole, or (B) would reasonably be expected to
                     prevent, materially impair or materially delay the consummation by UserTesting of the Merger prior to the
                     End Date, but, with respect to clause (A) only, shall not include events, changes, occurrences, effects or
                     developments relating to or resulting from:
                         • changes in general economic or political conditions or the securities, equity, credit or financial
                           markets in general, or changes in or affecting domestic or foreign interest or exchange rates;
                         • any decline in the market price or trading volume of our common stock or our preferred stock or any
                           change in our credit rating or any of our securities (except that the facts and circumstances
                           underlying any such decline or change may be taken into account in determining whether a Company
                           Material Adverse Effect has occurred to the extent not otherwise excluded by the definition thereof);
                         • changes or developments in the industries in which we or our subsidiaries operate;
                         • (i) changes in laws or the interpretation or enforcement thereof or (ii) any quarantine, “shelter in
                           place,” “stay at home,” workforce reduction, social distancing, shut down, closure, sequester or any
                           similar law, decree, judgment, injunction or other order, directive, guidelines or recommendations by
                           any governmental entity or industry group in connection with or in response to COVID-19, including
                           the Coronavirus Aid, Relief, and Economic Security Act (the “CARES Act”) (“COVID-19 Measures”);
                         • the execution, delivery or performance of the Merger Agreement or the public announcement or
                           pendency or consummation of the Merger or other transactions contemplated thereby, including the
                           impact thereof on the relationships, contractual or otherwise, of us or any of our subsidiaries with
                           employees, partnerships, customers or suppliers or governmental entities (except with respect to any
                           representation or warranty to the extent that such representation or warranty expressly addresses
                           consequences resulting from the execution of the Merger Agreement or the consummation or
                           pendency of the transactions contemplated thereby conflicting with organizational documents or
                           existing material obligations, or contravening with applicable laws);
                         • the identity of Parent or any of its affiliates as the acquiror of UserTesting;
                         • compliance with the terms of, or the taking or omission of any action expressly required by, the
                           Merger Agreement or consented to or requested by Parent or any of its representatives (except with
                           respect to any representation or warranty to the extent that such representation or warranty expressly
                           addresses consequences resulting from the execution of the Merger Agreement or the consummation
                           or pendency of the transactions contemplated thereby conflicting with organizational documents or
                           existing material obligations, or contravening with applicable laws or with respect to any covenants
                           relating to our conduct during pendency of the Merger);
                         • any act of civil unrest, civil disobedience, war, terrorism, cyberterrorism, military activity, sabotage or
                           cybercrime, including an outbreak or escalation of hostilities involving the United States or any other
                           governmental entity or the declaration by the United States or any other governmental entity of a
                           national emergency or war, or any worsening or escalation of any such conditions threatened or
                           existing on the date of Merger Agreement;
                         • any hurricane, tornado, flood, earthquake, natural disasters, acts of God or other comparable events;
                         • any pandemic, epidemic or disease outbreak (including COVID-19) or other comparable events;


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                        • changes in generally accepted accounting principles or the interpretation or enforcement thereof;
                        • any stockholder litigation relating to or resulting from the Merger Agreement or the transactions
                          contemplated thereby;
                        • any failure to meet internal or published projections, forecasts, guidance or revenue or earning
                          predictions (except that the facts and circumstances underlying any such failure may be taken into
                          account in determining whether a Company Material Adverse Effect has occurred to the extent not
                          otherwise excluded by the definition thereof);
                        • any matter set forth in the confidential disclosure letter to the Merger Agreement; or
                        • the availability of equity, debt or other financing to Parent or Merger Sub (except, that the facts and
                          circumstances underlying any such failure may be taken into account in determining whether a
                          Company Material Adverse Effect has occurred to the extent not otherwise excluded by the definition
                          thereof);
                    except, with respect to bullets 1, 3-4, and 8-11 above (other than, in the case of bullets 4 or 10, any change,
                    event, effect or circumstance with respect to COVID-19 or the COVID-19 Measures or any escalation or
                    worsening thereof (including any subsequent waves) if the impact thereof is materially and
                    disproportionately adverse to us and our subsidiaries, taken as a whole, relative to the operations of other
                    companies operating in the industries in which we and our subsidiaries operate, the incremental material and
                    disproportionate impact may be taken into account in determining whether there has been a Company
                    Material Adverse Effect.
                        In the Merger Agreement, we have made customary representations and warranties to Parent and
                    Merger Sub that are subject, in some cases, to specified exceptions and qualifications contained in the
                    Merger Agreement. These representations and warranties relate to, among other things:
                        • due organization, valid existence and good standing of UserTesting and our subsidiaries;
                        • our subsidiaries;
                        • the organizational documents of UserTesting and our subsidiaries;
                        • our capital structure;
                        • the absence of any undisclosed exchangeable security, option, convertible security, warrant or other
                          right convertible into UserTesting common stock;
                        • the absence of any undisclosed contract relating to the voting of, requiring registration of, or
                          granting any preemptive rights, anti-dilutive rights or rights of first refusal or other similar rights with
                          respect to any of our securities;
                        • our corporate power and authority to enter into and perform the Merger Agreement, the approval of
                          the Board of Directors, the necessary vote of our stockholders in connection with the Merger
                          Agreement, and the enforceability of the Merger Agreement;
                        • required consents, approvals and regulatory filings in connection with the Merger Agreement and
                          performance thereof;
                        • the absence of any conflict, violation or material alteration of any organizational documents, existing
                          material contracts, applicable laws to us or the resulting creation of any lien upon our assets (except
                          in limited circumstances) due to the performance of the Merger Agreement;
                        • the accuracy and required filings of our SEC filings and financial statements;
                        • our disclosure controls and procedures;
                        • our internal accounting controls and procedures;
                        • the absence of specified undisclosed liabilities;
                        • since June 30, 2022, the absence of certain changes;
                        • our compliance with laws, standards and requirements and possession of necessary permits;
                        • export controls matters and compliance with applicable anti-corruption and anti-money laundering
                          laws;


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                        • litigation and regulatory matters;
                        • employee benefit plans;
                        • labor matters;
                        • tax matters;
                        • certain real property leased by us and our subsidiaries;
                        • trademarks, patents, copyrights and other intellectual property matters, including data security
                          requirements and privacy;
                        • the existence and enforceability of specified categories of our material contracts, and certain
                          limitations with respect thereto, such as restrictions on operations, and any notices with respect to
                          termination or intent not to renew those material contracts therefrom;
                        • insurance matters;
                        • the absence of any undisclosed transactions, relations or understandings between us or any of our
                          subsidiaries, on the one hand, and any affiliate or related person thereof, on the other hand;
                        • this proxy statement;
                        • the rendering of Morgan Stanley’s opinion to the Board of Directors;
                        • payment of fees to Morgan Stanley in connection with the Merger Agreement and the absence of any
                          other brokers used;
                        • the inapplicability of anti-takeover statutes to the Merger;
                        • environmental matters;
                        • certain indebtedness of UserTesting; and
                        • the exclusivity and terms of the representations and warranties made by Parent and Merger Sub.

                         In the Merger Agreement, Parent and Merger Sub have made customary representations and warranties
                    to us that are subject, in some cases, to specified exceptions and qualifications contained in the Merger
                    Agreement. These representations and warranties relate to, among other things:
                        • due organization, good standing and authority and qualification to conduct business with respect to
                          Parent and Merger Sub and availability of these documents;
                        • Parent’s organizational chart;
                        • Parent’s and Merger Sub’s corporate or similar authority to enter into and perform the Merger
                          Agreement, the enforceability of the Merger Agreement and the absence of conflicts with laws,
                          Parent’s or Merger Sub’s organizational documents and Parent’s or Merger Sub’s contracts;
                        • the absence of any conflict, violation or material alteration of any organizational documents, existing
                          contracts, applicable laws or the resulting creation of any lien upon Parent’s or Merger Sub’s assets
                          due to the performance of the Merger Agreement;
                        • required consents and regulatory filings in connection with the Merger Agreement;
                        • delivery and enforceability of each of the Guaranties and Equity Commitment Letters;
                        • the capital structure of Merger Sub;
                        • litigation and regulatory matters;
                        • accuracy of information to be provided for this proxy statement;
                        • payment of fees to brokers in connection with the Merger Agreement;
                        • absence of any undisclosed transactions, relations or understandings between Parent or Merger Sub,
                          the Thoma Bravo Funds, the Sunstone Partners Funds or any of their affiliates, on the one hand, and
                          any beneficial owner of five percent or more of the outstanding shares of UserTesting common stock
                          or any member of our management or the Board, on the other hand;


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                         • Parent and Merger Sub not being a “foreign person” within the meaning of title 31 of the Code of
                           Federal Regulations part 800 section 800.224;
                         • ownership of our capital stock;
                         • the solvency of Parent and its subsidiaries following the consummation of the Merger and the
                           transactions contemplated by the Merger Agreement; and
                         • the exclusivity and terms of the representations and warranties made by us.

                         The representations and warranties contained in the Merger Agreement will not survive the
                     consummation of the Merger.

                     Conduct of Business Pending the Merger
                          During the period of time between the date of signing of the Merger Agreement and the first to occur of
                     the Effective Time and the termination of the Merger Agreement (the “Interim Period”), except (i) as required
                     by applicable law, (ii) as agreed in writing by Parent (which consent shall not be unreasonably withheld,
                     delayed or conditioned); provided that Parent shall be deemed to have approved in writing if it provides no
                     response within five (5) business days after written request by us for such approval, (iii) as expressly
                     required or permitted by the Merger Agreement or (iv) as disclosed in our disclosure schedules to the
                     Merger Agreement, we will, and will cause our subsidiaries to:
                         • conduct our business in all material respects in the ordinary course consistent with past practices;
                           and
                         • use our commercially reasonable efforts to preserve intact in all material respects our business
                           organization and business relationships.

                          During the Interim Period, except (i) as required by applicable law, (ii) as agreed in writing by Parent
                     (which consent shall not be unreasonably withheld, delayed or conditioned); provided that Parent shall be
                     deemed to have approved in writing if it provides no response within five (5) business days after written
                     request by us for such approval, (iii) as contemplated, required or permitted by the Merger Agreement, (iv) to
                     the extent necessary to comply with the express obligations set forth in any material contract in effect on the
                     date of the Merger Agreement, or (v) as disclosed in our disclosure schedules to the Merger Agreement, we
                     will not, and will not allow our subsidiaries, as applicable to, among other things (and subject to certain
                     exceptions):
                         • authorize or pay any dividend or other distribution;
                         • adjust, split, subdivide, combine, or reclassify any of our capital stock;
                         • other than in the ordinary course of business consistent with past practice, materially increase the
                           compensation or other benefits payable or provided to any director, officer, employee or other service
                           provider of UserTesting or our subsidiaries;
                         • enter into any employment, consulting, change of control, severance or retention agreement or other
                           compensation or benefit agreement with any current or former independent contractor, director or
                           employee of UserTesting or our subsidiaries (except for employment or consulting agreements
                           entered into in the ordinary course of business or that are terminable on no more than 30 days’ notice
                           without penalty or severance unless such severance is in accordance with the Company Severance
                           Plans (as defined below));
                         • grant new change of control, severance, retention, pension or other cash compensation or benefits in
                           respect of or accelerate the funding, vesting or payment of any compensation or benefit for, any such
                           current or former independent contractor, director or employee;
                         • grant any new equity or equity-based compensation or benefits in respect of any independent
                           contractor, director or employee;
                         • except as provided in the Merger Agreement, enter into, adopt, materially amend, terminate or
                           materially increase the coverage or benefits available under any UserTesting benefit plan;


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                        • other than in the ordinary course of business consistent with past practice, hire or engage any
                          person at the level of Vice President or above or terminate (without cause), furlough, or temporarily
                          layoff any employee or independent contractor at the level of Vice President or above;
                        • materially change accounting practices;
                        • amend the organizational documents of UserTesting or our subsidiaries;
                        • issue, sell, pledge, dispose of or encumber, or authorize the issuance, sale, pledge, disposition or
                          encumbrance of, any shares of our capital stock or other ownership or equity or equity-based
                          interests in UserTesting or our subsidiaries;
                        • purchase, repurchase, redeem or otherwise acquire any securities of UserTesting, except for
                          transactions solely among UserTesting and our subsidiaries or solely among our subsidiaries;
                        • incur, assume or guarantee any indebtedness for borrowed money;
                        • sell, lease, license, transfer, exchange, swap, or subject to any lien (except with regards to certain
                          liens), or otherwise dispose of, any portion of our material properties or assets, in each case, in
                          excess of $25,000 individually or $250,000 in the aggregate, other than in the ordinary course of
                          business;
                        • enter into, terminate or amend material contracts except in the ordinary course of business;
                        • settle, pay discharge or satisfy any action, other than any action that involves only the payment of
                          monetary damages not in excess of $150,000 individually or $1,000,000 in the aggregate;
                        • make or authorize any capital expenditures other than those not in excess of $1,000,000 individually or
                          $2,500,000 in the aggregate in any 12-month period;
                        • adopt or enter into a plan of complete or partial liquidation, dissolution, merger, consolidation,
                          restructuring, recapitalization or other reorganization of UserTesting or our subsidiaries;
                        • undertake certain tax-related actions;
                        • make any acquisition of or make any investment in any interest in, any corporation, partnership or
                          other business organization or material assets or division thereof, except for (i) purchases of
                          inventory and supplies in the ordinary course of business consistent with past practice or pursuant
                          to an existing contract in effect as of the date of the Merger Agreement or (ii) acquisitions or
                          investments not to exceed $15,000,000 in the aggregate;
                        • negotiate, enter into, adopt, extend, amend or terminate or agree to any collective bargaining
                          agreement;
                        • recognize or certify any labor union, labor organization, works council, or group of employees as the
                          bargaining representative for any employees of UserTesting or our subsidiaries;
                        • effect certain layoffs without complying with applicable laws;
                        • grant any material refunds, credits, rebates or other allowances to any end user, customer, reseller or
                          distributor;
                        • enter into a transaction with an affiliate of UserTesting or other person covered by Item 404 of
                          Regulation S-K under the Securities Act that would be required to be disclosed pursuant to Item 404;
                        • make any loans or advances to any other person or entity;
                        • sell, assign, transfer, license, abandon, permit to lapse or otherwise dispose of or subject to any lien
                          any intellectual property that is material to the business of UserTesting and our subsidiaries;
                        • intentionally disclose any trade secrets that are material to the business of UserTesting and our
                          subsidiaries or intentionally disclose, make available, deliver, license or place into escrow any source
                          code owned by UserTesting or any of our subsidiaries with respect to software that is material to the
                          business of UserTesting and our subsidiaries; or
                        • enter into agreements to do any of the foregoing.

                        Notwithstanding the restrictions set out above, nothing shall prevent UserTesting or our subsidiaries
                    from taking any action that would otherwise be prohibited reasonably in response to COVID-19 or any


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                     COVID-19 Measures or in response to sanctions imposed in connection with the current conflict between the
                     Russian Federation and Ukraine, so long as, in each case, we consult in good faith with Parent prior to taking
                     such action.
                           In addition, from the date of the Merger Agreement until the earlier of the date the Merger Agreement is
                     terminated and the expiration or termination of the waiting period under the HSR Act applicable to the
                     Merger and the receipt of the required governmental consents, Parent and Merger Sub have agreed not to,
                     and to not permit the Thoma Bravo Funds and the Sunstone Partners Funds or any of their subsidiaries and
                     affiliates to, acquire or agree to acquire by merger or consolidation with, or by purchasing a material portion
                     of the assets of or equity in, any person (a “Specified Acquisition”), if the entering into a definitive
                     agreement with respect to or the consummation of a Specified Acquisition would reasonably be expected to
                     (i) prevent, materially delay or materially impede the obtaining of the expiration or termination of the waiting
                     period under the HSR Act applicable to the Merger and the receipt of governmental authority consents (or
                     expiration of applicable waiting periods), or (ii) materially increase the risk of any governmental entity
                     seeking or entering an order, ruling, judgment or injunction prohibiting the consummation of the transactions
                     contemplated under the Merger Agreement.

                     The Go-Shop Period - Solicitation of Other Offers

                           Under the Merger Agreement, from the date of the Merger Agreement until 11:59 p.m. Pacific Time on the
                     No-Shop Period Start Date, UserTesting, our subsidiaries and our and their respective representatives have
                     the right to: (i) solicit, initiate, propose, induce the making or submission of, encourage or facilitate in any
                     way any offer or proposal that constitutes, or could reasonably be expected to lead to, an Alternative
                     Acquisition Proposal (as defined in this section of this proxy statement below), including by providing
                     information (including non-public information and data) relating to UserTesting and any of our subsidiaries
                     and affording access to the businesses, properties, assets, books, records or other non-public information,
                     or to any personnel, of UserTesting and our subsidiaries to any third person (and its representatives,
                     including potential financing sources of the third person) that has entered into an Acceptable Confidentiality
                     Agreement; provided that we must provide Parent and Merger Sub (and their representatives, including
                     financing sources) with access to any information or data that is provided to any third person given such
                     access that was not previously made available (whether prior to or after the execution of the Merger
                     Agreement) to Parent or Merger Sub substantially concurrently with the time it is provided to the third
                     person (and in any event within twenty-four (24) hours thereof) and (ii) continue, enter into, engage in or
                     otherwise participate in any discussions or negotiations with any third person (and their respective
                     representatives, including potential financing sources of the third person) regarding any Alternative
                     Acquisition Proposals (or inquiries, offers or proposals or any other effort or attempt that could reasonably
                     be expected to lead to an Alternative Acquisition Proposal), and cooperate with or assist or participate in, or
                     facilitate in any way, any such inquiries, offers, proposals, discussions or negotiations or any effort or
                     attempt to make any Alternative Acquisition Proposals or other proposals that could reasonably be expected
                     to lead to Alternative Acquisition Proposals, including by granting a waiver, amendment or release under any
                     pre-existing “standstill” or other similar provision to the extent necessary to allow for an Alternative
                     Acquisition Proposal or amendment to an Alternative Acquisition Proposal to be made confidentially to us
                     or to the Board of Directors. We must also notify Parent within twenty-four (24) hours of entering into any
                     Acceptable Confidentiality Agreement.

                          If we terminate the Merger Agreement prior to 11:59 p.m. Pacific Time on December 20, 2022 to enter into
                     a definitive agreement with respect to a Superior Proposal received from an Excluded Party, then we would be
                     required to pay a termination fee of $10,160,000 to Parent. For more information, please see the section of this
                     proxy statement captioned “- The Board of Directors’ Recommendation; Change of Recommendation.”
                          For purposes of this proxy statement and the Merger Agreement:

                          “Acceptable Confidentiality Agreement” means an agreement with us that is either (i) in effect as of the
                     date the Merger Agreement was entered into, or (ii) executed, delivered and effective after the date the
                     Merger Agreement was entered into, in either case containing provisions that require any counterparty
                     thereto (and any of its affiliates and representatives named therein) that receive non-public information of or
                     with respect to UserTesting and/or our subsidiaries to keep such information confidential; provided,
                     however, that,


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                     with respect to such agreements executed and delivered following the execution and delivery of the Merger
                     Agreement, the provisions contained therein relating to the confidential treatment of information and the use
                     thereof are not materially less restrictive in the aggregate to such counterparty (and any of its affiliates and
                     representatives named therein) than the terms of the non-disclosure letter agreement entered into between us
                     and Thoma Bravo (it being understood that such agreement need not contain any “standstill” or similar
                     provisions or otherwise prohibit the making of any Alternative Acquisition Proposal) and that such
                     agreement does not contain provisions which prohibit us from providing any information to Parent in
                     accordance with the Merger Agreement.

                           “Alternative Acquisition Proposal” means any offer, proposal or indication of interest by a third person
                     relating to or concerning (i) a merger, reorganization, share exchange, consolidation, tender offer, business
                     combination, recapitalization, liquidation, dissolution or similar transaction involving us, in each case, as a
                     result of which our stockholders immediately prior to such transaction would cease to own at least 75% of
                     the total voting power of UserTesting or the surviving entity (or any direct or indirect parent company
                     thereof), as applicable, immediately following such transaction, (ii) the direct or indirect acquisition by any
                     third person of assets constituting or accounting for more than 25% of the consolidated assets, revenue or
                     net income of UserTesting and our subsidiaries, on a consolidated basis (including equity interests in any
                     subsidiaries), or (iii) the direct or indirect acquisition by any third person of more than 25% of the
                     outstanding shares of UserTesting common stock or securities representing more than 25% of the total
                     voting power of UserTesting.
                          “Excluded Party” means any third person (i) from whom we received a written Alternative Acquisition
                     Proposal prior to the No-Shop Period Start Date and (ii) whose Alternative Acquisition Proposal the Board of
                     Directors determines in good faith prior to the start of the No-Shop Period Start Date, after consultation with
                     its outside financial advisors and legal counsel, either to be a Superior Proposal or an Alternative
                     Acquisition Proposal that could reasonably be expected to lead to a Superior Proposal; provided, however,
                     that a third person will immediately cease to be an Excluded Party (and the provisions of the Merger
                     Agreement applicable to Excluded Parties will cease to apply with respect to such third person) if (1) the
                     Alternative Acquisition Proposal is withdrawn by the third person or (2) the Alternative Acquisition
                     Proposal, in the good faith determination of the Board of Directors, after consultation with its outside
                     financial advisors and legal counsel, no longer is or could no longer be reasonably expected to lead to a
                     Superior Proposal.
                           “Superior Proposal” means a written Alternative Acquisition Proposal substituting in the definition
                     thereof “80%” for “25%” and for “75%” in each place each such phrase appears, that (i) was not solicited in
                     violation of the non-solicitation obligations pursuant to the Merger Agreement and (ii) the Board of
                     Directors determines in good faith, after consultation with UserTesting’s outside legal counsel and financial
                     advisors, and considering such factors as the Board of Directors considers to be appropriate (including (a)
                     all legal, regulatory and financial aspects of the proposal (including certainty of closing) and the identity of
                     the third person making the Alternative Acquisition Proposal and (b) any revisions to the Merger Agreement
                     made or proposed in writing by Parent prior to the time of such determination in accordance with the change
                     of recommendation provisions of the Merger Agreement), to be more favorable to us and our stockholders
                     than the transactions contemplated by the Merger Agreement.

                     The No-Shop Period - No Solicitation of Other Offers

                          From the date of the No-Shop Period Start Date until the earlier to occur of the termination of the Merger
                     Agreement and the Effective Time, we have agreed not to, and to cause our subsidiaries and our and their
                     respective representatives not to, directly or indirectly:
                          • solicit, initiate or knowingly encourage, or knowingly facilitate the making or submission of any offer
                            or proposal that constitutes, or would reasonably be expected to lead to, an Alternative Acquisition
                            Proposal;
                          • participate in any discussions or negotiations regarding an Alternative Acquisition Proposal with, or
                            furnish any non-public information relating to UserTesting or our subsidiaries for the purpose of
                            facilitating an Alternative Acquisition Proposal to, any third person that has made or, to our
                            knowledge, is considering making an Alternative Acquisition Proposal, or afford any third person


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                           access to the business, properties, assets, books, records or other non-public information, or to any
                           personnel, of UserTesting or our subsidiaries for the purpose of encouraging, inducing or facilitating
                           an Alternative Acquisition Proposal;
                         • approve, endorse or recommend any proposal that constitutes, or would reasonably be expected to
                           lead to an Alternative Acquisition Proposal; or
                         • enter into any letter of intent, agreement in principle, memorandum of understanding, or other
                           acquisition agreement, merger agreement or similar agreement with respect to an Alternative
                           Acquisition Proposal, other than an Acceptable Confidentiality Agreement permitted pursuant to the
                           terms of the Merger Agreement.

                         In addition, we have agreed to (i) cease and cause to be terminated any discussions or negotiations
                    with any third person and its representatives, (ii) request the prompt return or destruction of all non-public
                    information concerning us and our subsidiaries furnished to any person with whom a confidentiality
                    agreement with respect to an Alternative Acquisition Proposal was entered into at any time during the period
                    between November 16, 2021 and the No-Shop Period Start Date, (iii) cease providing any further such
                    information with respect to us or any Alternative Acquisition Proposal to any such third person or its
                    representatives and (iv) terminate all access granted to any such third person or its representatives to any
                    physical or electronic data room (or any other diligence access) containing any such information.
                         Notwithstanding these restrictions, we may continue to engage in the activities delineated in the
                    previous two paragraphs with respect to any Excluded Party (but only for so long as such person is and
                    remains an Excluded Party), including with respect to any amended or modified Alternative Acquisition
                    Proposal received from any Excluded Party following the No-Shop Period Start Date.
                         Additionally, under certain specified circumstances, at any time prior to the adoption of the Merger
                    Agreement by our stockholders, if we receive an Alternative Acquisition Proposal from a third party that was
                    not received in response to, or as a result of, any material breach of our non-solicitation obligations pursuant
                    to the Merger Agreement, (i) we and our representatives may contact the third party making such Alternative
                    Acquisition Proposal solely to clarify the terms and conditions thereof, and (ii) if the Board of Directors
                    determines in good faith, after consultation with outside legal counsel and financial advisors, that such
                    Alternative Acquisition Proposal either constitutes a Superior Proposal or could reasonably be expected to
                    lead to a Superior Proposal and the Board of Directors (or a committee thereof) has determined in good faith
                    (after consultation with its financial advisors and outside legal counsel) that the failure to take the actions in
                    respect of such Alternative Acquisition Proposal would be inconsistent with its fiduciary duties under
                    applicable law, then we may: (A) engage in discussions or negotiations with the third party (including its
                    representatives and potential equity and debt financing sources) with respect to such Alternative
                    Acquisition Proposal, and (B) furnish non-public information to the third party making such Alternative
                    Acquisition Proposal (and its representatives and potential equity and debt financing sources) if, prior to so
                    furnishing such information, the third party has executed an Acceptable Confidentiality Agreement with us;
                    provided that we provide to Parent and Merger Sub (and their respective representatives) any information or
                    data that is provided to such third party that was not previously made available to Parent or Merger Sub
                    prior to or substantially concurrently with the time it is provided to such third party (and in any event within
                    twenty-four (24) hours thereof). We will notify Parent that we have entered into an Acceptable
                    Confidentiality Agreement within twenty-four (24) hours after the execution thereof.
                         Both during the Go-Shop Period and after the No-Shop Period Start Date but prior to the adoption of the
                    Merger Agreement by our stockholders, we are not entitled to terminate the Merger Agreement for the
                    purpose of entering into an agreement in respect of a Superior Proposal unless we comply with certain
                    procedures in the Merger Agreement, including, but not limited to, negotiating with Parent in good faith over
                    a four (4)-business-day period in an effort to amend the terms and conditions of the Merger Agreement
                    and/or the Equity Commitment Letters, so that such Superior Proposal no longer constitutes a “Superior
                    Proposal” relative to the transactions contemplated by the Merger Agreement, as amended pursuant to such
                    negotiations.
                         As promptly as reasonably practicable, and in any event within twenty-four (24) hours following the
                    expiration of the Go-Shop Period, we shall deliver to Parent a written notice setting forth: (i) the identity of
                    each Excluded Party from which we have received an Alternative Acquisition Proposal that remains


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                     pending and (ii) the material terms and conditions of any such pending Alternative Acquisition Proposal
                     made by each such Excluded Party. We shall (whether during or after the Go-Shop Period) promptly (and in
                     any event within twenty-four (24) hours) notify Parent of (A) the entry by us or any of our subsidiaries into
                     an Acceptable Confidentiality Agreement with a third party who has made or could make an Alternative
                     Acquisition Proposal (or, if such third party was already party to a confidentiality agreement with us or any
                     of our subsidiaries, then we shall instead notify Parent within twenty-four (24) hours of granting data room
                     access to such third party or its representatives, it being understood that such notification need only be
                     made one time with respect to such third party and its representatives) and (B) any Alternative Acquisition
                     Proposal received by us or any of our subsidiaries or representatives, which notice shall be provided orally
                     and in writing, and which shall identify the material terms and conditions thereof (and, thereafter, any
                     material change to the terms thereof) and (unless expressly prohibited pursuant to a confidentiality
                     agreement in effect as of the date of the Merger Agreement) the person or group making such Alternative
                     Acquisition Proposal and include copies of all documents and other written materials (including any letter of
                     intent, term sheet or draft of definitive agreement) submitted with such Alternative Acquisition Proposal.
                     From and after the expiration of the Go-Shop Period, we shall keep Parent reasonably informed on a
                     reasonably current basis of the status and any material developments (including all amendments or proposed
                     amendments, whether or not in writing) regarding any Alternative Acquisition Proposals or any material
                     change to the terms of any such Alternative Acquisition Proposal, and promptly (and in any event within
                     twenty-four (24) hours) provide Parent with copies of any letter of intent, term sheet, draft or definitive
                     agreement or similar documents relating to any Alternative Acquisition Proposal (including the financing
                     thereof).
                           The termination of the Merger Agreement by us following the Board of Directors’ authorization for us to
                     enter into a definitive agreement to consummate an alternative transaction contemplated by a Superior
                     Proposal will result in the payment by us of a termination fee of either (i) $10,160,000 if the Merger Agreement
                     is terminated before 11:59 p.m. Pacific Time on December 20, 2022 for the purpose of entering into an
                     agreement with respect to a Superior Proposal received from an Excluded Party and we have complied in all
                     material respects with the non-solicitation provisions set forth in the Merger Agreement with respect to such
                     Superior Proposal or (ii) $33,880,000, in the case of any other such termination. For more information, please
                     see the section of this proxy statement captioned “Proposal 1: Adoption of the Merger Agreement - The
                     Board of Directors’ Recommendation; Change of Recommendation.”

                     The Board of Directors’ Recommendation; Change of Recommendation

                          As described above, and subject to the provisions described below, the Board of Directors has made
                     the recommendation that our stockholders vote “FOR” the proposal to adopt the Merger Agreement. The
                     Merger Agreement provides that the Board of Directors will not affect a Change of Recommendation (as
                     defined below) except as described below.

                          Prior to the adoption of the Merger Agreement by our stockholders, the Board of Directors may not take
                     any action described in the following (any such action, a “Change of Recommendation”):
                         • withdraw (or qualify or modify in any manner adverse to Parent), or propose publicly to withdraw (or
                           qualify or modify in any manner adverse to Parent), the recommendation of the Board of Directors (it
                           being understood that it shall be considered a modification adverse to Parent if (1) any Alternative
                           Acquisition Proposal structured as a tender or exchange offer is commenced and the Board of
                           Directors fails to publicly recommend against acceptance of such tender or exchange offer by our
                           stockholders within ten (10) business days of commencement thereof pursuant to Rule 14d-2 of the
                           Exchange Act or (2) any Alternative Acquisition Proposal is publicly announced (other than by the
                           commencement of a tender or exchange offer) and the Board of Directors fails to issue a public press
                           release within five (5) business days of such public announcement providing that the Board of
                           Directors reaffirms the recommendation of the Board of Directors);
                         • approve, recommend or declare advisable any Alternative Acquisition Proposal (or propose to
                           approve, recommend or declare advisable any Alternative Acquisition Proposal);
                         • fail to publicly reaffirm the recommendation of the Board of Directors within five (5) business days
                           after Parent so requests in writing (it being understood that we will have no obligation to make such
                           reaffirmation on more than three (3) separate occasions); or


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                         • fail to include the recommendation of the Board of Directors to approve the Merger in this proxy
                           statement.

                         Nothing contained in the Merger Agreement prohibits us or the Board of Directors from (i) complying
                    with our disclosure obligations under applicable law or rules and policies of the NYSE, as determined in good
                    faith by us, including taking and disclosing to our stockholders a position contemplated by Rule 14d-9 or
                    Rule 14e-2(a) or Item 1012(a) of Regulation M-A under the Exchange Act (or any similar communication to
                    our stockholders) or from issuing a “stop, look and listen” statement pending disclosure of our position
                    thereunder or (ii) making any disclosure to our stockholders if the Board of Directors determines in good
                    faith, after consultation with UserTesting’s outside legal counsel, that the failure of the Board of Directors to
                    make such disclosure would reasonably be expected to be inconsistent with the exercise of its fiduciary
                    duties under applicable law; provided that (1) any such statement or disclosure must be subject to the terms
                    and conditions of the Merger Agreement and will not limit or otherwise affect the obligations of UserTesting
                    or the Board of Directors and the rights of Parent under the applicable section of the Merger Agreement, and
                    (2) nothing in the foregoing will be deemed to permit us or the Board of Directors to effect a Change of
                    Recommendation other than in accordance with the applicable section of the Merger Agreement.

                         Notwithstanding the restrictions described above, prior to the adoption of the Merger Agreement by
                    our stockholders, the Board of Directors may effect a Change of Recommendation if (i) we have received a
                    Superior Proposal or (ii) there has been an Intervening Event (as defined below), in each case, that the Board
                    of Directors has determined in good faith (after consultation with its outside legal counsel and financial
                    advisors) that the failure to effect a Change of Recommendation would reasonably be expected to be
                    inconsistent with its fiduciary duties under applicable law.
                         The Board of Directors may only effect a Change of Recommendation or authorize us to terminate the
                    Merger Agreement to enter into an agreement with respect to a Superior Proposal substantially concurrently
                    with the termination of the Merger Agreement if:
                         • the Board of Directors has determined in good faith (after consultation with its outside legal counsel
                           and financial advisors) that the failure to do so would reasonably be expected to be inconsistent with
                           its fiduciary duties under applicable law;
                         • we have provided prior written notice to Parent at least four (4) business days in advance of our
                           intention to effect a Change of Recommendation or terminate the Merger Agreement in response to
                           such Superior Proposal, which shall include a description of the terms and conditions of the Superior
                           Proposal, the identity of the person or entity making the Superior Proposal and a copy of any
                           proposed definitive agreement(s) relating to such Superior Proposal, including any related financing
                           commitments, if any;
                         • we have complied in all material respects with its obligations pursuant to the Merger Agreement with
                           respect to such Superior Proposal;
                         • we have negotiated in good faith with Parent and its representatives (to the extent Parent notifies
                           UserTesting in writing that it desires to negotiate) with respect to the terms and conditions of the
                           Merger Agreement and/or the Equity Commitment Letters so that such Alternative Acquisition
                           Proposal would cease to constitute a Superior Proposal;
                         • following such four (4)-business-day period, the Board of Directors (after consultation with its
                           financial advisors and outside legal counsel and taking into account Parent’s proposed revisions to
                           the terms and conditions of the Merger Agreement that are binding on Parent and Merger Sub and
                           irrevocable by Parent and Merger Sub until the expiration of the foregoing four (4)-business-day
                           period (assuming the execution and delivery by us of the applicable definitive agreement) and any
                           other information provided by Parent) has determined that the failure of the Board of Directors to
                           make such a Change of Recommendation or to terminate the Merger Agreement would reasonably be
                           expected to be inconsistent with its fiduciary duties under applicable law; and
                         • in the event of a termination of the Merger Agreement in order to cause us to enter into a definitive
                           agreement with respect to such Superior Proposal, we will have validly terminated the Merger
                           Agreement in accordance with the terms of the Merger Agreement, including paying to Parent a


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                            termination fee of either (i) $10,160,000 if the Merger Agreement is terminated prior to 11:59 p.m.
                            Pacific Time on December 20, 2022 for the purpose of entering into an agreement with respect to a
                            Superior Proposal received from any Excluded Party, or (ii) $33,880,000, in the case of any other such
                            termination.

                          In the event of any material amendments or modifications to such Alternative Acquisition Proposal, we
                     are required to deliver a new written notice to Parent and to comply with the requirements of the Merger
                     Agreement with respect to such new written notice (it being understood that the four (4)-business-day
                     period shall be three (3) business days with respect to such new written notice, but in no event shorter than
                     four (4) business days following the original written notice).
                          In addition, the Board of Directors may only effect a Change of Recommendation for an Intervening
                     Event if the Board of Directors determines in good faith, after consultation with the UserTesting’s outside
                     legal counsel, that the failure of the Board of Directors to take such action would reasonably be expected to
                     be inconsistent with its fiduciary duties under applicable Law, provided that:
                         • the Board of Directors has provided prior written notice to Parent at least four (4) business days in
                           advance of our intention to effect a Change of Recommendation in response to such Intervening
                           Event, which notice must specify the basis for such Change of Recommendation, which shall include
                           a description in reasonable detail of the applicable Intervening Event;
                         • prior to effecting such Change of Recommendation, the Board of Directors have given Parent an
                           opportunity to meet and negotiate with us and our advisors during the foregoing four (4)-business-
                           day period (to the extent that Parent desires to so meet and negotiate) to discuss the foregoing
                           Intervening Event and any adjustments or revisions to the terms of the Merger Agreement proposed
                           by Parent in response thereto to obviate the need to effect a Change of Recommendation; and
                         • following such four (4)-business-day period, the Board of Directors, after consultation with our
                           outside legal counsel and taking into account Parent’s proposed revisions to the terms and
                           conditions of the Merger Agreement, shall have determined that the failure of the Board of Directors
                           to make such a Change of Recommendation in response to such Intervening Event would reasonably
                           be expected to be inconsistent with its fiduciary duties under applicable law; provided that each time
                           any material amendment or modification to the Intervening Event occurs, we shall notify Parent of
                           such amendment or modification in writing and the time period set forth in the preceding second (2nd)
                           bullet shall recommence and be extended for two (2) business days from the day of such notification
                           (provided that the time period shall in no event be shorter than four (4) business days following the
                           original written notice).

                          For purposes of this proxy statement and the Merger Agreement, an “Intervening Event” means any
                     event, change, occurrence or development that is unknown and not reasonably foreseeable to the Board of
                     Directors as of the date of the Merger Agreement, or if known or reasonably foreseeable to the Board of
                     Directors as of the date of the Merger Agreement, the material consequences of which were not known or
                     reasonably foreseeable to the Board of Directors as of the date of Merger Agreement; provided that (a) the
                     receipt, existence or terms of an Alternative Acquisition Proposal or Superior Proposal, or (b) the mere fact,
                     in and of itself, that we meet or exceed any internal or published projections, forecasts, estimates or
                     predictions of revenue, earnings or other financial or operating metrics for any period ending on or after the
                     date of the Merger Agreement, or changes after the date of the Merger Agreement in the market price or
                     trading volume of our common stock or our credit rating (it being understood that the underlying cause of
                     any of the foregoing in this clause (b) may be considered and taken into account), in each case, shall not be
                     deemed to be an Intervening Event under the Merger Agreement.

                     Employee Benefits

                          The Merger Agreement provides that from and after the Effective Time, we will honor all UserTesting
                     employee plans in accordance with their terms. Parent acknowledges that a “change in control” (or similar
                     phrase) within the meaning of the Company Benefit Plans (as defined in the Merger Agreement) will occur at
                     the Effective Time.

                          For a period commencing at the Effective Time and ending on the earlier of (A) the first (1st) anniversary
                     of the Effective Time and (B) the date of termination of the Company Employee (as defined below) (such


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                    earlier period, the “Continuation Period”), Parent will cause the Surviving Corporation or its affiliates to
                    provide to each current employee of UserTesting and our subsidiaries as of the Effective Time who remains
                    so employed immediately after the Effective Time (“Company Employees”) (i) base compensation and target
                    annual or short-term cash incentive opportunities (including target short-term commission-based cash
                    incentive opportunities) that, in each case, are no less favorable than were provided to the Company
                    Employee immediately before the Effective Time, and (ii) employee benefits (excluding equity and equity-
                    based compensation) that are substantially comparable in the aggregate to those that were provided to the
                    Company Employee immediately before the Effective Time, provided, however, that nothing set forth in the
                    Merger Agreement will require Parent to provide compensation in the form of equity or equity-based
                    compensation. Without limiting the generality of the foregoing, Parent shall cause the Surviving Corporation
                    to provide to each Company Employee whose employment terminates during the Continuation Period under
                    circumstances that would give rise to cash severance pay or benefits under the existing terms of the United
                    States Company Benefit Plans set forth in the confidential disclosure letter and designated as a severance
                    plan, policy or practice, and any Company Benefit Plan outside of the United States (the “Company
                    Severance Plans”), cash severance pay equal to the cash severance pay provided under the Company
                    Severance Plans. Notwithstanding anything in the Merger Agreement to the contrary, the terms and
                    conditions of employment of any Company Employee whose terms and conditions of employment are subject
                    to a collective bargaining agreement will be governed by such applicable collective bargaining agreement.

                         For all purposes of vesting, eligibility to participate and level of benefits under the corresponding
                    employee benefit plans of Parent and its subsidiaries providing benefits to any Company Employees after
                    the Effective Time (the “New Plans”), each Company Employee will be credited with his or her years of
                    service with UserTesting and our subsidiaries and our and their respective predecessors before the Effective
                    Time, to the same extent and for the same purpose as such Company Employee was entitled, before the
                    Effective Time, to credit for such service under any similar Company Benefit Plan in which such Company
                    Employee participated or was eligible to participate immediately prior to the Effective Time. However, the
                    foregoing will not apply with respect to any defined benefit pension benefits or to the extent that its
                    application would result in a duplication of benefits. In addition, and without limiting the generality of the
                    foregoing, (i) each Company Employee will be immediately eligible to participate, without any waiting time, in
                    any New Plans to the extent coverage under such New Plan is comparable to and replaces a Company Benefit
                    Plan in which such Company Employee participated immediately before the Effective Time (such plans,
                    collectively, the “Old Plans”), and (ii) for purposes of each New Plan providing medical, dental,
                    pharmaceutical, and vision insurance benefits to any Company Employee, Parent will use commercially
                    reasonable efforts to cause all preexisting condition exclusions and actively-at-work requirements of such
                    New Plan to be waived for such employee and his or her covered dependents, unless such conditions would
                    not have been waived or satisfied under the comparable plans of UserTesting or our subsidiaries in which
                    such employee participated immediately prior to the Effective Time, and Parent will cause any eligible
                    expenses incurred by such employee and his or her covered dependents during the portion of the plan year
                    of the Old Plans ending on the date such employee’s participation in the corresponding New Plan begins to
                    be taken into account under such New Plan for purposes of satisfying the corresponding deductible,
                    coinsurance and maximum out-of-pocket requirements applicable to such employee and his or her covered
                    dependents for the applicable plan year as if such amounts had been paid in accordance with such New Plan
                    to the extent such amounts were credited to such person for the same purpose under the Old Plan.

                         With respect to each of our annual cash incentive plans set forth in the confidential disclosure letter or
                    entered into following the date of the Merger Agreement in accordance with the terms of the Merger
                    Agreement (each, a “Company Incentive Plan”), the Surviving Corporation and its subsidiaries will (and
                    Parent will cause the Surviving Corporation and its subsidiaries to) pay to each Company Employee who
                    remains employed with Parent, the Surviving Corporation or their respective subsidiaries (i) in the case of
                    fiscal year 2022, through the end of fiscal year 2022, at the same time or times that we or any of our
                    subsidiaries has historically paid such annual bonuses in respect of the prior fiscal year, but in no event later
                    than March 15 immediately after the end of fiscal year 2022, a bonus for such fiscal year (the “Annual
                    Bonus”) that is equal to the Annual Bonus that such Company Employee would have been entitled to
                    receive under the terms and conditions of the applicable Company Incentive Plan for such fiscal year based
                    on actual levels of performance, solely to the extent such Company Employee has not been previously paid
                    such Annual Bonus by us or any of our subsidiaries for such fiscal year, and (ii) in the case of fiscal year
                    2023,


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                      through the Effective Time, pay out bonuses in accordance with the terms of the Company Incentive Plan
                      pursuant to its terms and consistent with our past practice for paying bonuses and commissions, and within
                      thirty (30) days of the Effective Time, make a further payment equal to the Annual Bonus that such Company
                      Employee would have been entitled to receive under the terms and conditions of the applicable Company
                      Incentive Plan for fiscal year 2023 based on actual levels of performance, multiplied by a fraction, the
                      numerator of which equals the number of calendar days of fiscal year 2023 that has elapsed prior to the
                      Effective Time, and the denominator of which is 365, solely to the extent such Company Employee has not
                      been previously been paid such portion of the Annual Bonus by us or any of our subsidiaries for such fiscal
                      year.

                      Efforts to Close the Merger

                          Under the Merger Agreement, and subject to certain exceptions set forth therein, Parent, Merger Sub
                      and UserTesting agreed to promptly take (or cause to be taken) all actions, and promptly do (or cause to be
                      done) and assist and cooperate with the other party or parties in doing (or causing to be done) all things, in
                      each case that are necessary, proper or advisable under applicable laws or otherwise to consummate and
                      make effective the Merger and the other transactions contemplated by the Merger Agreement in the most
                      expeditious manner possible after the date of the Merger Agreement (subject to the terms of the Merger
                      Agreement) and in any event prior to the End Date.

                      Cooperation with Debt Financing

                           To the extent reasonably requested by Parent in writing and prior to the Closing Date, we shall use our
                      reasonable best efforts to provide, and to cause our subsidiaries (and our and their respective
                      representatives) to use their reasonable best efforts to provide customary cooperation to Parent and Merger
                      Sub, in each case at Parent’s sole cost and expense, in connection with the arrangement of the debt
                      financing for the transactions contemplated by the Merger Agreement (the “Debt Financing”) (provided, that
                      such requested cooperation does not unreasonably interfere with the ongoing operations of the UserTesting
                      or any of its affiliates), including using its reasonable best efforts to, upon Parent’s reasonable request in
                      writing and subject to certain exceptions set forth in the Merger Agreement:
                           • furnish Parent as promptly as practicable, after written request therefor by Parent, any Required
                             Financial Information (as defined below);
                           • assist in preparation for and participate in a reasonable number of investor and lender meetings
                             (including a reasonable and limited number of one-on-one meetings and calls that are requested in
                             advance with or by the parties acting as lead arrangers or agents for, and prospective lenders of, the
                             Debt Financing), presentations, road shows, due diligence sessions and sessions with rating
                             agencies and accountants, at reasonable times and with reasonable advance notice (which meetings,
                             presentations, road shows and sessions shall be virtual) and to assist with the marketing or
                             syndication efforts of Parent in connection with the Debt Financing;
                           • facilitate the pledging of collateral of UserTesting and our subsidiaries effective no earlier than the
                             Closing;
                           • provide a fully-executed customary payoff letter and lien terminations and instruments of discharge
                             (to the extent applicable) for certain indebtedness for borrowed money and any bank credit facility
                             incurred after October 26, 2022 by us, to be delivered at least one (1) business day prior to Closing, to
                             allow for the payoff, discharge and termination in full on the Closing Date of all such indebtedness
                             and liens (if any), subject to the occurrence of the Closing;
                           • provide reasonable and customary assistance to Parent and the Debt Financing Source (as defined
                             below) in the preparation of customary offering documents, lender presentations, private placement
                             memoranda, bank information memoranda, syndication memoranda, ratings agency presentations
                             (including providing customary authorization and representation letters authorizing the distribution
                             of information relating to us and our subsidiaries to prospective lenders or investors and containing
                             representations with respect to the presence of or absence of material non-public information relating
                             to us and our subsidiaries and the accuracy of the information relating to us and our subsidiaries
                             contained therein) and other customary marketing material for the Debt Financing;


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                         • so long as requested by Parent at least eight (8) business days prior to the Closing Date, provide at
                           least four (4) business days prior to the Closing Date, all documentation and other information
                           relating to us or any of our subsidiaries required by bank regulatory authorities under applicable
                           “know-your-customer” and anti-money laundering rules and regulations, including the Patriot Act,
                           and (y) if UserTesting is a “legal entity” customer under 31 C.F.R. § 1010.230, so long as requested by
                           Parent at least eight (8) business days prior to the Closing Date, provide at least four (4) business
                           days prior to the Closing Date, a certification regarding the beneficial ownership required by 31 C.F.R.
                           § 1010.230 in relation to us;
                         • subject to certain exceptions, provide reasonable and customary assistance to assist Parent in
                           producing any pro forma financial statements regarding us and our subsidiaries;
                         • cooperate with Parent to obtain reasonable and customary corporate and facilities credit rating;
                         • cooperate with the Debt Financing Sources’ due diligence, to the extent customary and reasonable;
                         • assist in the preparation of, and executing and delivering at Closing, the definitive debt agreements,
                           including guarantee and collateral documents and instruments as may be reasonably requested by
                           Parent, customary closing certificates, a customary solvency certificate, perfection certificates and
                           other customary documents and instruments as may be reasonably requested by Parent in writing
                           and, in each case, necessary and customary as may be required by the definitive agreements with
                           respect to the Debt Financing (the “Definitive Debt Agreements”); and
                         • taking reasonable corporate actions, subject to and only effective upon the occurrence of the Closing
                           (and subject to the Definitive Debt Agreements with respect to subsidiary guarantors), reasonably
                           necessary to permit the consummation of the Debt Financing.

                          Notwithstanding the foregoing, none of us nor any of our affiliates shall be required to take or permit
                    the taking of any action that would (i) require us or our subsidiaries or any of our or their respective affiliates
                    or any persons who are officers or directors of such entities to pass resolutions or consents to approve or
                    authorize the execution of the Debt Financing, except those which are subject to the occurrence of the
                    Closing passed by directors or officers continuing in their positions following the Closing, (ii) require us or
                    our subsidiaries or any of our or their respective affiliates or any persons who are officers or directors of
                    such entities to enter into, execute or deliver any certificate, document, instrument or agreement or agree to
                    any change or modification of any existing certificate, document, instrument or agreement, in each case, that
                    is not contingent upon the Closing or that would be effective prior to the Closing (other than the execution
                    of customary authorization letters and representation letters referenced above), (iii) require us or any of our
                    affiliates to pay any commitment or other similar fee or incur any other expense, liability or obligation in
                    connection with the Debt Financing prior to the Closing or have any obligation of UserTesting or any of our
                    affiliates under any agreement, certificate, document or instrument be effective prior to the Closing, (iv)
                    cause any director, officer, employee of UserTesting or of a UserTesting stockholder or any of UserTesting’s
                    affiliates to incur any personal liability, (v) conflict with the organizational documents of UserTesting or any
                    of our affiliates or any laws, (vi) reasonably be expected to result in a material violation or breach of, or a
                    material default (with or without notice, lapse of time, or both) under, any material contract to which we or
                    any of our affiliates is a party (provided that in the event we do not disclose any such information in reliance
                    on the foregoing subclause (vi), we will inform Parent thereof and of the general nature of the information
                    being withheld), (vii) require us or any of our affiliates to provide access to or disclose information that we
                    or any of our affiliates reasonably determines would jeopardize any attorney-client privilege, (viii) require us
                    or any of our affiliates to provide information for reporting periods other than regular fiscal quarters, or (ix)
                    require us or any of our affiliates to provide information for periods for which information is not yet available
                    following regular quarterly closing processes (provided that we or such subsidiary shall use reasonable best
                    efforts to provide an alternative means of disclosing or providing such information, and in the case of any
                    confidentiality obligation, we will, to the extent permitted by such confidentiality obligations, notify Parent if
                    any such information that Parent, Merger Sub or any Debt Financing Source has specifically identified and
                    requested is being withheld as a result of any such obligation of confidentiality). Neither we nor any of our
                    affiliates shall be required to be an issuer or other obligor with respect to the Debt Financing prior to the
                    Closing.


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                           Parent will (x) promptly, on request by UserTesting, reimburse us or any of our affiliates for all
                     reasonable and documented out-of-pocket costs incurred by us or them or our or their respective
                     representatives in connection with the cooperation of UserTesting and our representatives contemplated by
                     the financing cooperation covenant in the Merger Agreement (it being understood that such reimbursement
                     will not apply to any fees, costs and expenses that are incurred by, or on behalf of, us in connection with our
                     ordinary course financial reporting requirements, including, for the avoidance of doubt, with respect to our
                     fiscal year 2022 audited financial statements); and (y) indemnify and hold harmless UserTesting, our affiliates
                     and our and their respective representatives from and against any and all losses (excluding lost profits and
                     losses from any consequential, indirect, special or punitive damages (other than any such damages awarded
                     to a third party in a final non-appealable judgment of a court of a competent jurisdiction)), suffered or
                     incurred by us or them in connection with the arrangement of the Debt Financing and any action taken by us
                     or them at the request of Parent or its representatives and any information used in connection therewith,
                     except (A) with respect to any losses suffered or incurred as a result of the bad faith, gross negligence or
                     willful misconduct of UserTesting or any of our subsidiaries or (B) to the extent resulting solely from any
                     material misstatement or omission in any written historical financial information relating to us or any of our
                     subsidiaries furnished by or on behalf of UserTesting or any of our subsidiaries specifically for use in
                     connection with the Debt Financing.

                          “Required Financial Information” means the historical financial statements and historical financial data
                     regarding UserTesting and our subsidiaries to the extent required by the Definitive Debt Agreements and
                     such other financial data and financial information and operating data regarding UserTesting and our
                     subsidiaries (including information regarding the business, operations and financial projections thereof) as
                     may be reasonably requested by Parent.

                          “Debt Financing Sources” means the financial institutions, agents, arrangers, institutional investors and
                     lenders that at any time have committed to provide or arrange or otherwise enter into agreements in
                     connection with the Debt Financing, including the parties to any debt commitment lender or any joinder
                     agreements, credit agreements or the other definitive documentations relating thereto entered into in
                     connection therewith, together with their respective affiliates and their respective affiliates’ officers,
                     directors, general or limited partners, stockholders, members, employees, controlling persons, agents and
                     representatives and their respective permitted successors and assigns.

                     Indemnification and Insurance

                          Parent, Merger Sub and UserTesting have agreed that all indemnification or other similar agreements
                     between any current or former directors, officers or employees, on the one hand, and UserTesting or any of
                     our subsidiaries, on the other hand, as in effect on the date of the Merger Agreement, will survive the Merger
                     and remain in full force and effect in accordance with their respective terms. For a period of six (6) years after
                     the Effective Time, Parent and the Surviving Corporation will maintain in effect the exculpation,
                     indemnification and advancement of expenses provisions of the certificates of incorporation and bylaws or
                     similar organizational documents of UserTesting and of any subsidiaries as in effect immediately prior to the
                     Effective Time, and will not amend, repeal or otherwise modify any such provisions in any manner that would
                     adversely affect the rights thereunder of any individuals who at the Effective Time were current or former
                     directors, officers or employees of UserTesting or any of our subsidiaries; provided, however, that all rights
                     to indemnification in respect of any actual or threatened claim, action, suit, proceeding or investigation,
                     whether civil, criminal, administrative or investigative (a “Proceeding”), pending or asserted or any claim
                     made within such period will continue until the final disposition of such Proceeding or resolution of such
                     claim, even if beyond such six (6)-year period. From and after the Effective Time, Parent will assume, be
                     jointly and severally liable for, and honor, guarantee and stand surety for, and will cause the Surviving
                     Corporation and its subsidiaries to honor, in accordance with their respective terms, the indemnification
                     provisions of the Merger Agreement.

                          Parent and the Surviving Corporation will, to the fullest extent provided in the governing and
                     organizational documents of UserTesting and our subsidiaries as in effect on the date of the Merger
                     Agreement and all indemnification or other similar agreements between any current or former directors,
                     officers or employees, on the one hand, and UserTesting or any of our subsidiaries, on the other hand, in
                     each case in effect as of the date of the Merger Agreement, indemnify and hold harmless each current and


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                     former director, officer or employee of UserTesting or any of our subsidiaries and any person who served as
                     a director, officer, member, trustee or fiduciary of another corporation, partnership, joint venture, trust,
                     pension or other employee benefit plan or enterprise at the request of or for the benefit of UserTesting or our
                     subsidiaries (each, an “Indemnified Party”) against any costs or expenses (including advancing reasonable
                     attorneys’ fees and expenses in advance of the final disposition of any Proceeding to each Indemnified Party
                     to the fullest extent permitted by law), judgments, fines, losses, claims, damages, obligations, costs, liabilities
                     and amounts paid in settlement in connection with a Proceeding, arising out of, relating to or in connection
                     with any action or omission occurring or alleged to have occurred at or prior to the Effective Time (including
                     acts or omissions in connection with such persons serving as an officer, director, employee or other fiduciary
                     of any entity if such service was at the request or for the benefit of UserTesting or our subsidiaries), whether
                     asserted or claimed prior to, at or after the Effective Time, in all cases solely to the extent provided in the
                     governing and organizational documents of UserTesting and our subsidiaries. In the event of any such
                     Proceeding, Parent and the Surviving Corporation will cooperate with the Indemnified Party in the defense of
                     any such Proceeding.
                           In addition, prior to the Effective Time, we will purchase a six (6)-year “tail” insurance policy on
                     UserTesting’s current policies of directors’ and officers’ liability insurance on terms and conditions
                     providing substantially equivalent benefits as the current policies of directors’ and officers’ liability
                     insurance and fiduciary liability insurance maintained by us and our subsidiaries with respect to matters
                     arising on or before the Effective Time, including covering without limitation the transactions contemplated
                     by the Merger Agreement; provided that the aggregate cost of such “tail” policy will not exceed 400% of the
                     last annual premium paid by us, and if the annual premium of such insurance coverage exceeds the maximum
                     amount, UserTesting, Parent, or the Surviving Corporation will only be required to obtain as much coverage
                     as reasonably practicable for such amount. Parent and the Surviving Corporation will cause such policy to
                     be maintained in full force and effect, for its full term, and cause all obligations thereunder to be honored by
                     the Surviving Corporation, and no other party shall have any further obligation to purchase or pay for
                     insurance under the indemnification provisions of the Merger Agreement.

                          Parent has also agreed to pay all reasonable expenses, including reasonable attorneys’ fees, that may be
                     incurred by any Indemnified Party in enforcing the indemnity and other indemnification obligations provided
                     in the Merger Agreement in the event Parent is found to have been in breach.

                     Other Covenants

                     Stockholders Meeting

                          We have agreed to take all necessary action (in accordance with applicable law and our organizational
                     documents) to establish a record date for, duly give notice of, convene and hold the Special Meeting as
                     soon as reasonably practicable following the date upon which we receive confirmation from the SEC that it
                     will not review, or that it has completed its review of this proxy statement (which confirmation will be deemed
                     to occur if the SEC has not affirmatively notified us prior to the tenth (10th) calendar day after filing this
                     proxy statement that the SEC will or will not be reviewing this proxy statement) and, subject to the terms of
                     the Merger Agreement, in any event, no later than forty-five (45) days following such date.

                     Stockholder Litigation

                          Each of UserTesting and Parent will keep the other reasonably informed of (including by providing
                     copies of all pleadings), and cooperate with the other party in connection with, any stockholder litigation or
                     claim against such party and/or its directors or officers relating to the Merger or the other transactions
                     contemplated by the Merger Agreement. We will: (i) give Parent a reasonable opportunity to participate in
                     the defense or settlement of any such litigation or claim, (ii) consult in good faith with Parent with respect to
                     the defense, settlement and prosecution of any such litigation or claim and (iii) not compromise or settle, or
                     agree to compromise or settle, any stockholder litigation or claim arising or resulting from the transactions
                     contemplated by the Merger Agreement without the prior written consent of Parent (such consent not to be
                     unreasonably withheld, delayed or conditioned).


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                     Other Investors

                          Prior to the Effective Time, without the prior written consent of UserTesting, Parent will not permit or
                     agree to permit any third person, other than the Thoma Bravo Funds and Sunstone Partners Funds and their
                     respective affiliates, to obtain any equity interests (or rights to obtain any equity interests) in Parent or
                     Merger Sub if such acquisition of equity interests or rights to obtain such equity interests would reasonably
                     be expected to (i) delay in any material respect the obtaining of, or increase in any material respect the risk of
                     not obtaining, any governmental consents necessary to consummate the transactions contemplated by the
                     Merger Agreement or the expiration or termination of any applicable waiting period, (ii) increase in any
                     material respect the risk of any governmental entity seeking or entering an order prohibiting the
                     consummation of the transactions contemplated by Merger Agreement, or (iii) increase in any material
                     respect the risk of not being able to remove any such order on appeal or otherwise.

                     Conditions to the Closing of the Merger

                          The obligations of Parent and Merger Sub, on the one hand, and UserTesting, on the other hand, to
                     consummate the Merger are subject to the satisfaction or waiver (where permitted by applicable law) of each
                     of the following conditions:
                          • the adoption of the Merger Agreement by the requisite affirmative vote of our stockholders;
                          • the expiration or early termination of the applicable waiting period under the HSR Act and the
                            absence of any agreement with a governmental entity not to close the Merger;
                          • certain regulatory actions by the CMA and ACCC; and
                          • the absence of any laws or court orders making the Merger illegal or otherwise prohibiting the
                            Merger.

                           In addition, the obligations of Parent and Merger Sub to consummate the Merger are subject to the
                     satisfaction or waiver (where permitted by applicable law) of each of the following additional conditions:
                          • UserTesting having performed and complied in all material respects with all obligations and
                            covenants required by the Merger Agreement to be performed or complied with by UserTesting prior
                            to Closing (UserTesting Covenant Condition”);
                          • (i) the representations and warranties of UserTesting relating to organization, good standing,
                            corporate power, enforceability, board approval, anti-takeover laws, required UserTesting stockholder
                            approval, non-contravention with charter or bylaws, certain aspects of our capitalization, subsidiaries
                            and brokers being generally true and correct in all material respects as of the Closing Date as if made
                            at and as of such time, (ii) the representations and warranties of UserTesting relating to certain
                            aspects of our capitalization being generally true and correct as of the Closing Date, except where the
                            failure to be so true and correct would not reasonably be expected to result in additional cost,
                            expense or liability to UserTesting, Parent and their affiliates, individually or in the aggregate, that is
                            more than $10,000,000, (iii) the representations and warranties of UserTesting relating to the absence
                            of any Company Material Adverse Effect since June 30, 2022, being true and correct in all respects as
                            of the Closing Date, (iv) the other representations and warranties of UserTesting set forth elsewhere
                            in the Merger Agreement being true and correct as of the date on which the Closing occurs as if made
                            at and as of such time, except for such failures to be true and correct that would not have a Company
                            Material Adverse Effect (clauses (i) through (iv), the “UserTesting Representation Condition”);
                          • the receipt by Parent of a certificate of UserTesting, dated as of the Closing Date and signed by our
                            chief executive officer, certifying that the UserTesting Representation Condition and the UserTesting
                            Covenant Condition have been satisfied;
                          • UserTesting having delivered to Parent, no later than one (1) business day prior to Closing, fully-
                            executed customary payoff letters and lien terminations for all indebtedness and borrowed money as
                            set forth in the confidential disclosure letter; and
                          • the absence of any Company Material Adverse Effect having occurred after the date of Merger
                            Agreement that is continuing.


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                         In addition, our obligation to consummate the Merger is subject to the satisfaction or waiver (where
                     permitted by applicable law) of each of the following additional conditions:
                         • Parent and Merger Sub having performed and complied in all material respects with all obligations and
                           covenants required by the Merger Agreement to be performed or complied with by Parent or Merger
                           Sub prior to Closing (the “Parent and Merger Sub Covenant Condition”);
                         • (i) the representations and warranties of Parent and Merger Sub set forth in the Merger Agreement
                           relating to organization, good standing, corporate power, enforceability, board approval,
                           governmental consents, the Guaranties, voting agreements, ownership of UserTesting common stock
                           and solvency of Parent and Merger Sub being generally true and correct in all material respects as of
                           the Closing Date as if made at and as of such time and (ii) the other representations and warranties of
                           Parent and Merger Sub set forth in the Merger Agreement being true and correct on and as of the
                           date on which the Closing occurs with the same force and effect as if made on and as of such date,
                           except where the failure of such representations and warranties to be so true and correct would not,
                           individually or in the aggregate, prevent or materially delay the consummation of the Merger or
                           materially impair the ability of Parent or Merger Sub to fully perform their respective covenants and
                           obligations pursuant to the Merger Agreement (clauses (i) and (ii), the “Parent and Merger Sub
                           Representation Condition”); and
                         • the receipt by UserTesting of a certificate of Parent and Merger Sub, dated as of the Closing Date and
                           signed by their respective president or chief executive officer, certifying that the Parent and Merger
                           Sub Representation Condition and the Parent and Merger Sub Covenant Condition have been
                           satisfied.

                     Termination of the Merger Agreement

                          The Merger Agreement may be terminated at any time prior to the Effective Time, whether before or after
                     the adoption of the Merger Agreement by our stockholders, in the following ways:
                         • by mutual written agreement of UserTesting and Parent;
                         • by either UserTesting or Parent if:
                              • the Merger has not been consummated by April 26, 2023 (which shall be automatically extended
                                to the First Extended End Date if certain regulatory conditions, including the approval or
                                notification of non-objection to the Merger, notification of no further action, or the expiration or
                                termination of the waiting period as applicable under each of the HSR Act, the Australian
                                Foreign Acquisitions and Takeovers Act 1975 (Cth), and the UK National Security and
                                Investment Act 2021, have not been satisfied, or there are any laws or court orders making the
                                Merger illegal or otherwise prohibiting the Merger, as of the close of business on the date that is
                                two (2) business days immediately prior to the First Extended End Date but all other conditions
                                to the Closing of the Merger set forth in the Merger Agreement have been satisfied or waived
                                (except for those conditions which by their nature are to be satisfied at the Closing, provided
                                that such conditions shall then be capable of being satisfied if the Closing were to take place on
                                such date), which First Extended End Date shall be automatically extended until January 26, 2024
                                if (i) solely due to review by CMA the aforementioned regulatory conditions in this bullet have
                                not yet been satisfied as of the close of business on the date that is two (2) business days
                                immediately prior to the First Extended End Date, (ii) the CMA has reached Provisional Findings
                                in a Phase II merger review that the Merger is not expected to result in a substantial lessening of
                                competition prior to the close of business on the date that is two (2) business days immediately
                                prior to the First Extended End Date, and (iii) all other conditions to the Closing of the Merger
                                set forth in the Merger Agreement have been satisfied or waived (except for those conditions
                                which by their nature are to be satisfied at the Closing, provided that such conditions shall then
                                be capable of being satisfied if the Closing were to take place on such date);
                              • any governmental entity has issued or entered an injunction or similar order permanently
                                enjoining or prohibiting the consummation of the Merger and has become final and non-
                                appealable; or


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                             • our stockholders fail to adopt the Merger Agreement at the Special Meeting or any adjournment
                               or postponement thereof;
                        • by UserTesting if:
                             • Parent or Merger Sub has breached or failed to perform any of their covenants or other
                               agreements under the Merger Agreement or any of the representations and warranties of Parent
                               and Merger Sub in the Merger Agreement have become inaccurate, in any such case where such
                               breach, failure to perform or inaccuracy (i) would result in, and be the primary cause of, a failure
                               of a condition set forth in the Merger Agreement and (ii) cannot be cured by the End Date or, if
                               curable, is not cured within forty-five (45) business days following our delivery of written notice
                               that we are intending to terminate the Merger Agreement because of such breach, failure to
                               perform or inaccuracy;
                             • prior to the Effective Time, (i) the closing obligations of UserTesting have been and continue to
                               be satisfied or waived; (ii) Parent has failed to consummate the Merger under the timing
                               restrictions set forth in the Merger Agreement; (iii) we have, at least three (3) business days prior
                               to seeking to terminate the Merger Agreement, irrevocably confirmed in a written notice
                               delivered to Parent that we are ready, willing and able to consummate the Merger, and Parent and
                               Merger Sub have not consummated the Merger by the end of such three-(3)-business-day
                               period; or
                             • at any time prior to the adoption of the Merger Agreement by our stockholders if (i) we have
                               received a Superior Proposal after the date of the Merger Agreement, (ii) the Board of Directors
                               has authorized us to enter into a definitive agreement with respect to that Superior Proposal in
                               accordance with the terms of the Merger Agreement, (iii) we have complied in all material
                               respects with the non-solicitation provisions set forth in the Merger Agreement with respect to
                               such Superior Proposal, and (iv) concurrently with such termination, we pay to Parent a
                               termination fee of either (i) $10,160,000 if the Merger Agreement is terminated prior to 11:59 p.m.
                               Pacific Time on December 20, 2022 for the purpose of entering into an agreement with respect to
                               a Superior Proposal received from an Excluded Party, so long as we have complied in all material
                               respects with the non-solicitation provisions set forth in the Merger Agreement with respect to
                               such Superior Proposal or (ii) $33,880,000, in the case of any other such termination;
                        • by Parent if:
                             • we have breached or failed to perform any of our covenants or other agreements under the
                               Merger Agreement or any of the representations and warranties of UserTesting under the Merger
                               Agreement have become inaccurate, in any such case where such breach, failure to perform or
                               inaccuracy (i) would result in, and be the primary cause of, a failure of a condition set forth in the
                               Merger Agreement and (ii) cannot be cured by the End Date or, if curable, is not cured within
                               forty-five (45) business days following Parent’s delivery of written notice to UserTesting stating
                               Parent’s intention to terminate the Merger Agreement because of such breach, failure to perform
                               or inaccuracy; or
                             • prior to the adoption of the Merger Agreement by our stockholders, the Board of Directors
                               effects a Change of Recommendation (except that such right to terminate will expire at 11:59 p.m.
                               Pacific time on the tenth (10th) business day following the date on which Parent is notified in
                               writing that the Board of Directors has effected a Change of Recommendation).

                         In the event that the Merger Agreement is terminated pursuant to the termination rights above, the
                    Merger Agreement will be of no further force or effect without liability of any party to the other parties, as
                    applicable, except certain sections of the Merger Agreement will survive the termination of the Merger
                    Agreement in accordance with their respective terms. Notwithstanding the foregoing, nothing in the Merger
                    Agreement will relieve any party from any liability for any fraud or willful and material breach of the Merger
                    Agreement prior to its termination. In addition, no termination of the Merger Agreement will affect the rights
                    or obligations of any party pursuant to the confidentiality agreement between Thoma Bravo and UserTesting
                    or the Guaranties, which rights, obligations and agreements will survive the termination of the Merger
                    Agreement in accordance with their respective terms.


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                      Termination Fee

                           If we terminate the Merger Agreement prior to 11:59 p.m. Pacific Time on December 20, 2022 and at any
                      time prior to receipt of the approval of our stockholders for the purpose of entering into an agreement with
                      respect to a Superior Proposal received from an Excluded Party , we would be required to pay a $10,160,000
                      termination fee to Parent.
                           Parent will also be entitled to receive a termination fee of $33,880,000 from us if the Merger Agreement is
                      terminated:
                          • by Parent, because the Board of Directors has effected a Change of Recommendation (which
                            termination must occur by 11:59 p.m. Pacific time on the tenth (10th) business day following the date
                            on which Parent is notified in writing that the Board of Directors has effected a Change of
                            Recommendation); or
                          • if (i) after the date of the Merger Agreement, an Alternative Acquisition Proposal (substituting for
                            purposes of the termination in the definition of “Alternative Acquisition Proposal” “50%” for “25%”
                            and for “75%” in each place each such phrase appears) is publicly proposed or publicly disclosed
                            prior to, and not publicly withdrawn, (ii) the Merger Agreement is terminated because (A) our
                            stockholders fail to adopt the Merger Agreement at the Special Meeting or any adjournment or
                            postponement thereof or (B) we have breached or failed to perform any of our covenants or other
                            agreements under the Merger Agreement or any of the representations and warranties of UserTesting
                            under the Merger Agreement have become inaccurate, in any such case where such breach, failure to
                            perform or inaccuracy (1) would result in, and be the primary cause of, a failure of a condition set
                            forth in the Merger Agreement and (2) cannot be cured by the End Date or, if curable, is not cured
                            within forty-five (45) business days following Parent’s delivery of written notice that Parent is
                            intending to terminate the Merger Agreement because of such breach, failure to perform or
                            inaccuracy, and (iii) concurrently with or within twelve (12) months after such termination, we have
                            (A) consummated any Alternative Acquisition Proposal or (B) entered into a definitive agreement
                            providing for (and later consummated) such Alternative Acquisition Proposal.

                            We will be entitled to receive a termination fee of $67,760,000 from Parent (the “Parent Termination Fee”)
                      if the Merger Agreement is terminated:
                          • by us, if Parent or Merger Sub has breached or failed to perform any of their covenants or other
                            agreements under the Merger Agreement or any of the representations and warranties of Parent and
                            Merger Sub in the Merger Agreement have become inaccurate, in any such case where such breach,
                            failure to perform or inaccuracy (i) would result in, and be the primary cause of, a failure of a
                            condition set forth in the Merger Agreement and (ii) cannot be cured by the End Date or, if curable, is
                            not cured within forty-five (45) business days following our delivery of written notice that we are
                            intending to terminate the Merger Agreement because of such breach, failure to perform or
                            inaccuracy;
                          • by us prior to the Effective Time, if (i) our closing obligations have been and continue to be satisfied
                            or waived; (ii) Parent has failed to consummate the Merger under the timing restrictions set forth in
                            the Merger Agreement; (iii) we have, at least three (3) business days prior to seeking to terminate the
                            Merger Agreement, irrevocably confirmed in a written notice delivered to Parent that we are ready,
                            willing and able to consummate the Merger, and (iv) Parent and Merger Sub have not consummated
                            the Merger by the end of such three-(3)-business-day period; or
                          • by Parent because the Merger has not been consummated by the End Date, and at such time, we
                            could have terminated pursuant to either of the prior two (2) bullets above.

                      Specific Performance

                            Parent, Merger Sub and UserTesting agree that irreparable damage would occur in the event that any of
                      the provisions of the Merger Agreement were not performed in accordance with their specific terms or were
                      otherwise breached. Parent, Merger Sub and UserTesting acknowledge and agree that, in the event of any
                      breach or threatened breach by any other party of any covenant or obligation contained in the Merger
                      Agreement: (i) the non-breaching party will be entitled (in addition to any other remedy to which they are
                      entitled at law or in equity, including monetary damages), to obtain (A) a decree or order of specific


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                     performance to enforce the observance and performance of such covenant or obligation and (B) an
                     injunction restraining such breach or threatened breach and (ii) the fees and expenses provisions of the
                     Merger Agreement are not intended to and would not adequately compensate UserTesting, on the one hand,
                     or Parent and Merger Sub, on the other hand, for the harm that would result from a breach of the Merger
                     Agreement, and will not be construed to diminish or otherwise impair in any respect any party’s right to an
                     injunction, specific performance and other equitable relief; and (iii) the right of specific enforcement is an
                     integral part of the Merger and without that right, neither UserTesting nor Parent would have entered into
                     the Merger Agreement.

                           It is explicitly agreed that, subject to the limitations of the next two sentences, we will have the right to
                     specific performance in connection with enforcing Parent’s and Merger Sub’s obligations to consummate the
                     Merger and cause the financing to be funded (including to cause Parent to enforce the obligations of the
                     Thoma Bravo Funds and the Sunstone Partners Funds under the Equity Commitment Letters in order to
                     cause the Equity Financing to be timely completed in accordance with and subject to the terms and
                     conditions set forth in the Equity Commitment Letters) subject to the terms and conditions set forth therein
                     and in the Merger Agreement. Notwithstanding anything to the contrary in the Merger Agreement, it is
                     explicitly agreed that our right to seek an injunction, specific performance or other equitable remedies in
                     connection with enforcing Parent’s obligation to cause the Equity Financing to be funded to fund a portion
                     of the amount required to consummate the Merger and to make all payments required to be made in
                     connection therewith (but not our right to seek such injunctions, specific performance or other equitable
                     remedies for any other reason) shall be subject to the requirements that (i) all of the (x) joint conditions to
                     Parent’s, Merger Sub’s and UserTesting’s obligations to consummate the Merger and (y) conditions to
                     Parent’s and Merger Sub’s obligations to consummate the Merger, in each case, have been satisfied (other
                     than those conditions that by their terms are to be satisfied at the Closing, but subject to the satisfaction or
                     waiver (to the extent permitted hereunder) of such conditions), (ii) we have irrevocably confirmed in writing
                     that if the Equity Financing is funded, then we shall take such actions that are required of us by the Merger
                     Agreement to arrange and consummate the Closing of the Merger pursuant to the terms of the Merger
                     Agreement and (iii) Parent and Merger Sub will have failed to consummate the Merger by the time Closing
                     was to occur under the Merger Agreement. Notwithstanding the foregoing and subject to the rights of the
                     parties to the definitive agreements for any financing under the terms thereof, we are not entitled to directly
                     seek the remedy of specific performance of the Merger Agreement against any debt financing source.
                     Additionally, the election to pursue an injunction, specific performance or other equitable relief will not
                     restrict, impair or otherwise limit us from, in the alternative, seeking to terminate the Merger Agreement and
                     collect the Parent Termination Fee; provided that in no event will we be permitted to pursue an injunction,
                     specific performance or other equitable relief or any other remedy under the Merger Agreement or available
                     at law or equity following the payment of the Parent Termination Fee in accordance with the terms of the
                     Merger Agreement.

                          Parent, Merger Sub and UserTesting agree not to raise any objections to (i) the granting of an
                     injunction, specific performance or other equitable relief to prevent or restrain breaches or threatened
                     breaches of the Merger Agreement by us, on the one hand, or Parent and Merger Sub, on the other hand;
                     and (ii) the specific performance of the terms and provisions of the Merger Agreement to prevent breaches or
                     threatened breaches of, or to enforce compliance with, the covenants, obligations and agreements of Parent
                     and Merger Sub pursuant to the Merger Agreement. Any party seeking an injunction or injunctions to
                     prevent breaches of the Merger Agreement and to enforce specifically the terms and provisions of the
                     Merger Agreement will not be required to provide any bond or other security in connection with such
                     injunction or enforcement, and each party irrevocably waives any right that it may have to require the
                     obtaining, furnishing or posting of any such bond or similar instrument.

                     Limitations of Liability

                          The collective monetary damages of Parent, Merger Sub or any of their affiliates for breaches (including
                     any willful and material breach) under the Merger Agreement (taking into account the payment of the Parent
                     Termination Fee pursuant to the Merger Agreement), the Guaranties or the Equity Commitment Letters will
                     not exceed, in the aggregate for all such breaches, an amount equal to $67,760,000 plus certain reimbursement
                     obligations.


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                           The maximum aggregate monetary damages of UserTesting for breaches (including any willful and
                      material breach) under the Merger Agreement (taking into account the payment of the Company Termination
                      Fee pursuant to the Merger Agreement) will not exceed, in the aggregate for all such breaches, an amount
                      equal to $33,880,000. Notwithstanding such limitations on liability for monetary damages, Parent, Merger Sub
                      and UserTesting may be entitled to an injunction, specific performance or other equitable relief as provided
                      in the Merger Agreement.

                      Fees and Expenses

                            Except in specified circumstances, whether or not the Merger is completed, all costs and expenses
                      incurred in connection with the Merger, the Merger Agreement and the other transactions contemplated by
                      the Merger Agreement will be paid by the party incurring or required to incur such expenses, except that all
                      filing fees paid by any party in respect of any and all filings under the antitrust and foreign investment laws
                      shall be borne by Parent and that generally Parent will pay or cause to be paid all transfer, documentary,
                      sales, use, stamp, registration, real property transfer and other similar taxes and fees imposed with respect to,
                      or as a result of, entering into the Merger Agreement and completing the Merger and that such taxes and
                      fees expressly will not be a liability of our stockholders or holders of our equity awards.

                      Amendment

                           The Merger Agreement may be amended by the parties in an executed written instrument at any time
                      before or after adoption of the Merger Agreement by our stockholders. However, after adoption of the
                      Merger Agreement by our stockholders, no amendment that requires further approval by such UserTesting
                      stockholders pursuant to applicable law or in accordance with the rules and regulations of the NYSE may be
                      made without such approval.

                      Governing Law

                           The Merger Agreement is governed by Delaware law.

                      Vote Required and Board of Directors Recommendation
                           Approval of the adoption of the merger agreement proposal requires the affirmative vote of the holders
                      of a majority of the issued and outstanding shares of UserTesting common stock entitled to vote at the
                      Special Meeting. With respect to such proposal, (i) a failure to vote in person or by proxy at the Special
                      Meeting will have the same effect as a vote “AGAINST” on the outcome of the adoption of the merger
                      agreement proposal, (ii) abstentions will be counted as votes “AGAINST” on the outcome of the adoption of
                      the merger agreement proposal and (iii) broker “non-votes” (if any) will be counted as votes “AGAINST” on
                      the outcome of the adoption of the merger agreement proposal. Shares of UserTesting common stock
                      represented by properly executed, timely received and unrevoked proxies will be voted in accordance with
                      the instructions indicated thereon. If a UserTesting stockholder returns a signed proxy card without
                      indicating voting preferences on such proxy card, the shares of UserTesting common stock represented by
                      that proxy will be counted as present for purposes of determining the presence of a quorum for the Special
                      Meeting and all of such shares will be voted as recommended by the Board of Directors.

                                      The Board of Directors unanimously recommends that you vote “FOR” this proposal.




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                                              PROPOSAL 2: ADJOURNMENT OF THE SPECIAL MEETING

                          We are asking you to approve a proposal to adjourn the Special Meeting to a later date or dates if
                     necessary or appropriate to solicit additional proxies if there are insufficient votes to adopt the Merger
                     Agreement at the time of the Special Meeting. If UserTesting stockholders approve the adjournment
                     proposal, we could adjourn the Special Meeting and any adjourned session of the Special Meeting and use
                     the additional time to solicit additional proxies, including soliciting proxies from our stockholders that have
                     previously returned properly executed proxies voting against adoption of the Merger Agreement. Among
                     other things, approval of the adjournment proposal could mean that, even if we had received proxies
                     representing a sufficient number of votes against adoption of the Merger Agreement such that the proposal
                     to adopt the Merger Agreement would be defeated, we could adjourn the Special Meeting without a vote on
                     the adoption of the Merger Agreement and seek to convince the holders of those shares to change their
                     votes to votes in favor of adoption of the Merger Agreement. Additionally, we may seek to adjourn the
                     Special Meeting if a quorum is not present or otherwise at the discretion of the chairperson of the Special
                     Meeting.

                     Vote Required and Board of Directors Recommendation
                          Approval of the adjournment proposal if a quorum is present, requires the affirmative vote of the
                     holders of a majority of the issued and outstanding shares of UserTesting common stock entitled to vote
                     that are present in person or represented by proxy at the Special Meeting and are voted for or against the
                     matter. Assuming a quorum is present, (i) a failure to vote in person or by proxy at the Special Meeting will
                     have no effect on the outcome of the adjournment proposal, (ii) abstentions will have no effect on the
                     outcome of the adjournment proposal and (iii) broker “non-votes” (if any) will have no effect on the outcome
                     of the adjournment proposal. Shares of UserTesting common stock represented by properly executed, timely
                     received and unrevoked proxies will be voted in accordance with the instructions indicated thereon. If a
                     UserTesting stockholder returns a signed proxy card without indicating voting preferences on such proxy
                     card, the shares of UserTesting common stock represented by that proxy will be counted as present for
                     purposes of determining the presence of a quorum for the Special Meeting and all of such shares will be
                     voted as recommended by the Board of Directors.

                                    The Board of Directors unanimously recommends that you vote “FOR” this proposal.




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                                     SECURITY OWNERSHIP OF CERTAIN BENEFICIAL OWNERS AND MANAGEMENT

                          The following table presents the beneficial ownership of our common stock by holders of more than 5%
                     of our common stock, each of our directors; each of our named executive officers; and all of our directors and
                     executive officers as a group. Except for the information about the greater than 5% stockholders, the
                     following table sets forth certain information with respect to the beneficial ownership of our common stock
                     as of October 31, 2022, by each of our directors; each of our named executive officers; and all of our directors
                     and executive officers as a group.
                           Percentage ownership of our common stock is based on 145,333,328 shares of UserTesting common
                     stock issued and outstanding on October 31, 2022. We have determined beneficial ownership in accordance
                     with the rules of the SEC, and thus it represents sole or shared voting or investment power with respect to
                     our securities. Unless otherwise indicated below, to our knowledge, the persons and entities named in the
                     table have sole voting and sole investment power with respect to all shares that they beneficially owned,
                     subject to community property laws where applicable. We have deemed shares of our common stock subject
                     to stock options that are currently exercisable or exercisable within sixty (60) days of October 31, 2022,
                     shares of our common stock subject to RSUs that will be released within sixty (60) days of October 31, 2022,
                     and shares of our common stock purchasable under the Company ESPP within sixty (60) days of October 31,
                     2022, to be outstanding and to be beneficially owned by the person holding the stock option, RSU and
                     purchase rights under the Company ESPP for the purpose of computing the percentage ownership of that
                     person but have not treated them as outstanding for the purpose of computing the percentage ownership of
                     any other person.
                         Unless otherwise indicated, the address of each of the individuals and entities named below that owns
                     5% or more of our common stock is c/o UserTesting, Inc., 144 Townsend Street, San Francisco, California
                     94107.

                                                                                                                               Percentage of
                                                                                                             Number of            Shares
                                                                                                               Shares          Beneficially
                                                                                                             Beneficially         Owned
                     Name                                                                                      Owned               (%)
                     Named Executive Officers and Directors:
                     Andy MacMillan(1)                                                                         6,858,939             4.5
                     Jon Pexton(2)                                                                               749,317              *
                     David Satterwhite(3)                                                                      1,398,238             1.0
                     Darrell Benatar(4)                                                                        6,176,674             4.3
                     Andrew Braccia(5)                                                                        29,777,251           20.5
                     Tatyana Mamut(6)                                                                             71,376              *
                     Shannon Nash(7)                                                                              56,932              *
                     Cynthia Russo(8)                                                                             56,932              *
                     Alexander Wong(9)                                                                         1,652,107             1.1
                     All executive officers and directors as a group (13 persons)(10)                         50,681,321           32.2
                     Other 5% Stockholders:
                     Entities affiliated with Accel Growth Fund III LP(11)                                    29,760,041           20.5
                     Entities affiliated with Insight Partners (Cayman) XI, L.P.(12)                          22,435,663           15.4
                     Entities affiliated with OpenView Venture Partners IV LP(13)                              9,159,154             6.3
                     Entities affiliated with StepStone Group LP(14)                                          22,680,906           15.6


                     *     Less than 1%
                     (1)   Represents (i) 14,350 shares of UserTesting common stock held by Mr. MacMillan, (ii) 87,750 shares of UserTesting
                           common stock issuable upon settlement of RSU awards that vest within 60 days of October 31, 2022, (iii) 6,754,339
                           shares of UserTesting common stock issuable to Mr. MacMillan upon exercise of stock options within 60 days of
                           October 31, 2022 and (iv) a maximum of 2,500 shares of UserTesting common stock that are issuable under the
                           Company ESPP within 60 days of October 31, 2022.
                     (2)   Represents (i) 127,313 shares of UserTesting common stock held by Mr. Pexton, (ii) 37,500 shares of UserTesting
                           common stock



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                          issuable upon settlement of RSU awards that vest within 60 days of October 31, 2022, (iii) 582,004 shares of
                          UserTesting common stock issuable to Mr. Pexton upon exercise of stock options within 60 days of October 31, 2022
                          and (iv) a maximum of 2,500 shares of UserTesting common stock that are issuable under the Company ESPP within 60
                          days of October 31, 2022.
                    (3)   Represents (i) 227,218 shares of UserTesting common stock issuable to Mr. Satterwhite, (ii) 40,000 shares of
                          UserTesting common stock issuable upon settlement of RSU awards that vest within 60 days of October 31, 2022, (iii)
                          1,128,520 shares of UserTesting common stock issuable to Mr. Satterwhite upon exercise of stock options within 60
                          days of October 31, 2022 and (iv) a maximum of 2,500 shares of UserTesting common stock that are issuable under the
                          Company ESPP within 60 days of October 31, 2022.
                    (4)   Represents 6,176,674 shares of UserTesting common stock held by D&L Benatar 2014 Revocable Trust.
                    (5)   Represents (i) 8,605 shares of UserTesting common stock issuable to Mr. Braccia, (ii) 8,605 shares of UserTesting
                          common stock issuable upon settlement of RSU awards that vest within 60 days of October 31, 2022 and (iii) (a)
                          26,727,498 shares of UserTesting common stock held by Accel Growth Fund III LP (“Accel III”), (b) 1,261,825 shares
                          of UserTesting common stock held by Accel Growth Fund III Strategic Partners LP (“Accel III Partners”) and (c)
                          1,770,718 shares of UserTesting common stock held by Accel Growth Fund Investors 2014 LLC (“Accel 2014”). Accel
                          Growth Fund III Associates L.L.C. is the general partner of each of Accel III and Accel III Partners. The managing
                          members of Accel Growth Fund III Associates L.L.C. are Andrew Braccia, Sameer Gandhi, Ping Li, Tracy Sedlock, Ryan
                          Sweeney, and Richard Wong. Accel Growth Fund III Associates L.L.C. has sole voting and dispositive power with regard
                          to the shares held by Accel III and Accel III Partners, and its managing members share such powers. The managing
                          members of Accel 2014 are Andrew Braccia, Sameer Gandhi, Ping Li, Tracy Sedlock, Ryan Sweeney, and Richard Wong,
                          all of whom share voting and dispositive power with regard to the shares held by Accel 2014.
                    (6)   Represents (i) 8,605 shares of UserTesting common stock issuable to Ms. Mamut, (ii) 8,605 shares of UserTesting
                          common stock issuable upon settlement of RSU awards that vest within 60 days of October 31, 2022 and (iii) 54,166
                          shares of UserTesting common stock issuable to Ms. Mamut upon exercise of stock options within 60 days of October
                          31, 2022.
                    (7)   Represents (i) 8,605 shares of UserTesting common stock issuable to Ms. Nash, (ii) 8,605 shares of UserTesting
                          common stock issuable upon settlement of RSU awards that vest within 60 days of October 31, 2022 and (iii) 39,722
                          shares of UserTesting common stock issuable to Ms. Nash upon exercise of stock options within 60 days of October 31,
                          2022.
                    (8)   Represents (i) 8,605 shares of UserTesting common stock issuable to Ms. Russo, (ii) 8,605 shares of UserTesting
                          common stock issuable upon settlement of RSU awards that vest within 60 days of October 31, 2022 and (iii) 39,722
                          shares of UserTesting common stock issuable to Ms. Russo upon exercise of stock options within 60 days of October 31,
                          2022.
                    (9)   Represents (i) 1,643,502 shares of UserTesting common stock issuable to Mr. Wong and (ii) 8,605 shares of UserTesting
                          common stock issuable upon settlement of RSU awards that vest within 60 days of October 31, 2022.
                    (10) Represents (i) 38,846,438 shares of UserTesting common stock held by our directors and executive officers as a group,
                         (ii) 349,525 shares of UserTesting common stock issuable to our directors and executive officers as a group upon
                         settlement of RSU awards that vest within 60 days of October 31, 2022, (iii) 11,470,358 shares of UserTesting common
                         stock issuable to our directors and executive officers as a group upon exercise of stock options within 60 days of
                         October 31, 2022 and (iv) a maximum of 15,000 shares of UserTesting common stock issuable to our directors and
                         executive officers as a group under the Company ESPP within 60 days of October 31, 2022.
                    (11) Represents (i) 26,727,498 shares of UserTesting common stock held by Accel Growth Fund III LP (“Accel III”), (ii)
                         1,261,825 shares of UserTesting common stock held by Accel Growth Fund III Strategic Partners LP (“Accel III
                         Partners”) and (iii) 1,770,718 shares of UserTesting common stock held by Accel Growth Fund Investors 2014 LLC
                         (“Accel 2014”). Accel Growth Fund III Associates L.L.C. is the general partner of each of Accel III and Accel III
                         Partners. The managing members of Accel Growth Fund III Associates L.L.C. are Andrew Braccia, Sameer Gandhi, Ping
                         Li, Tracy Sedlock, Ryan Sweeney, and Richard Wong. Accel Growth Fund III Associates L.L.C. has sole voting and
                         dispositive power with regard to the shares held by Accel III and Accel III Partners, and its managing members share
                         such powers. The managing members of Accel 2014 are Andrew Braccia, Sameer Gandhi, Ping Li, Tracy Sedlock, Ryan
                         Sweeney, and Richard Wong, all of whom share voting and dispositive power with regard to the shares held by Accel
                         2014.
                    (12) Based on the information as of December 31, 2021 contained in the Schedule 13G filed with the SEC on February 10,
                         2022 by the Insight Holdings Group, LLC (“Holdings”). The Schedule 13G indicates that 9,328,850 shares of
                         UserTesting common stock are held by Insight Partners XI, L.P. (“IP XI”), 155,343 shares of UserTesting common
                         stock are held by Insight Partners XI (Co- Investors), L.P. (“IP Co-Investors”), 214,105 shares of UserTesting common
                         stock are held by Insight Partners XI (Co-Investors) (B), L.P. (“IP Co-Investors B”), 10,220,232 shares of UserTesting
                         common stock are held by Insight Partners (Cayman) XI, L.P. (“IP Cayman”), 1,304,945 shares of UserTesting
                         common stock are held by Insight Partners (Delaware) XI, L.P. (“IP Delaware”) and 1,212,188 shares of UserTesting
                         common stock are held by Insight Partners (EU) XI, S.C.Sp. (“IP EU”). Mr. Parekh is a member of the board of
                         managers of Holdings. Holdings is the sole shareholder of Insight Associates XI, Ltd. (“IA XI Ltd”), which in turn is the
                         general partner of Insight Associates XI, L.P. (“IA XI LP”), which in turn is the general partner of each of IP XI, IP
                         Co-Investors, IP Co-Investors B, IP Cayman and IP Delaware (collectively, the “Fund XI Entities”, and collectively
                         with IP EU, “Fund XI”). Holdings is the sole shareholder of Insight Associates (EU) XI, S.a.r.l. (“IA EU XI”), which in
                         turn is the general partner of IP EU. Mr. Parekh disclaims beneficial ownership of all shares held by Fund XI, except to
                         the extent of his pecuniary interest therein. The address for each of these entities is c/o Insight Partners, 1114 Avenue
                         of the Americas, 36th Floor, New York, NY 10036.
                    (13) Based on the information as of December 31, 2021 contained in the Schedule 13G filed with the SEC on February 9,
                         2022 by the OpenView Management, LLC. The Schedule 13G indicates that 289,952 shares of UserTesting common
                         stock are held by OpenView Affiliates Fund IV, L.P. and 8,869,202 shares of UserTesting common stock are held by
                         OpenView Venture Partners IV,



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                         L.P. The general partner of OpenView Affiliates Fund IV, L.P. and OpenView Venture Partners IV, L.P. is OpenView
                         General Partner IV, L.P. The address for each of these entities is 303 Congress Street, 7th Floor, Boston, MA 02210.
                    (14) Based on the information as of November 10, 2022 contained in the Schedule 13G filed with the SEC on November 15,
                         2022 by the StepStone Group LP (“StepStone”). The Schedule 13G indicates that an aggregate of 22,680,906 shares of
                         UserTesting common stock are held by StepStone and its funds, of which 2,860,390 shares of UserTesting common
                         stock are held by StepStone VC Global Partners, VII-A, L.P. (“Global Partners VII-A”), 275,958 shares of UserTesting
                         common stock are held by StepStone VC Global Partners VII-C, L.P. (“Global Partners VII-C”), 4,677,285 shares of
                         UserTesting common stock are held by StepStone VC Opportunities III, L.P. (“Opportunities III”), 5,204,266 shares of
                         UserTesting common stock are held by StepStone VC Secondaries Fund III, L.P. (“Secondaries Fund III”), 8,631,482
                         shares of UserTesting common stock are held by StepStone VC Secondaries Fund IV, L.P. (“Secondaries Fund IV”), and
                         1,031,525 shares of UserTesting common stock held by StepStone IL Special II, L.P. (“IL Special”). StepStone VC
                         General Partner VII, L.P. (“Partners VII GP”) is the general partner of Global Partners VII-A and Global Partners VII-C.
                         StepStone VC Opportunities General Partner III, L.P. (“Opportunities III GP”) is the general partner of StepStone VC
                         Opportunities III, L.P. (“Opportunities III”). StepStone VC Secondaries General Partner III, L.P. (“Secondaries III GP”)
                         is the general partner of Secondaries Fund III. StepStone VC Secondaries General Partner IV, L.P. (“Secondaries IV GP”)
                         is the general partner of Secondaries Fund IV. IL Special is the general partner of StepStone VC SPV UT, L.P. StepStone
                         is the investment manager of the Funds. StepStone Group Holdings LLC (“StepStone Group Holdings”) is the general
                         partner of StepStone, and StepStone Group Inc. is the sole managing member of StepStone Group Holdings. The address
                         for each of these entities is c/o StepStone, 4225 Executive Square, Suite 1600, La Jolla, CA 90237.

                    Section 16(a) Beneficial Ownership Reporting Compliance

                         Section 16 of the Exchange Act requires our directors, executive officers and any persons who own more
                    than 10% of UserTesting’s common stock, to file initial reports of ownership and reports of changes in
                    ownership with the SEC. Such persons are required by SEC regulation to furnish UserTesting with copies of
                    all Section 16(a) forms that they file. Based solely on our review of the copies of such forms furnished to us
                    and written representations from our directors and executive officers, we believe that all Section 16(a) filing
                    requirements were timely met in 2022, except due to administrative error, one late Form 4 filing made on behalf
                    of Sabrina Mekhalfa, dated November 17, 2022, to report three transactions, which occurred on April 4, 2022,
                    August 15, 2022, and August 16, 2022.




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                                                        FUTURE STOCKHOLDER PROPOSALS

                         We held our annual meeting of stockholders (the “2022 annual meeting”) on June 1, 2022. In light of the
                     Special Meeting, we will hold an annual meeting of stockholders in 2023 only if the Merger is not completed
                     and our stockholders will continue to be entitled to attend and participate in such meeting.

                           As described in our annual proxy statement for the 2022 annual meeting filed on April 20, 2022, our
                     restated bylaws provide that, for stockholder nominations to our Board of Directors or other proposals to be
                     considered at an annual meeting, the stockholder must give timely notice thereof in writing to the attention
                     of the Corporate Secretary at our principal executive offices, the address of which is UserTesting, Inc., 144
                     Townsend Street, San Francisco, California 94107. To be timely for our 2023 annual meeting of stockholders
                     (if such meeting is held), a stockholder’s notice must be delivered to or mailed and received by our Corporate
                     Secretary at our principal executive offices not earlier than 5:00 p.m. Eastern Time on February 1, 2023 and
                     not later than 5:00 p.m. Eastern Time on March 3, 2023. A stockholder’s notice to the Corporate Secretary
                     must set forth as to each matter the stockholder proposes to bring before the annual meeting the information
                     required by our restated bylaws.
                           As described in our annual proxy statement for the 2022 annual meeting filed on April 20, 2022,
                     stockholder proposals submitted pursuant to Rule 14a-8 under the Exchange Act and intended to be
                     presented at our 2023 annual meeting of stockholders (if such meeting is held) must be received by us not
                     later than December 21, 2022 in order to be considered for inclusion in our proxy materials for that meeting.
                     Proposals should be sent to our Corporate Secretary at our principal executive offices, together with proof of
                     ownership of our common stock in accordance with Rule 14a-8 under the Exchange Act. We strongly
                     encourage any stockholder interested in submitting a proposal to contact our Corporate Secretary in
                     advance of this deadline to discuss the proposal.

                          Pursuant to Rule 14a-19 under the Exchange Act, the deadline for stockholders to deliver notice to us of
                     any dissident nominees such stockholder intends to solicit proxies for at our 2023 annual meeting of
                     stockholders (if such meeting is held) must be received by us not later than April 2, 2023. Notice should be
                     sent to our Corporate Secretary at our principal executives offices in accordance with 14a-19 under the
                     Exchange Act.




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                                                    WHERE YOU CAN FIND MORE INFORMATION
                          The SEC allows us to “incorporate by reference” information into this proxy statement, which means
                     that we can disclose important information to you by referring you to other documents filed separately with
                     the SEC. The information incorporated by reference is deemed to be part of this proxy statement, except for
                     any information superseded by information in this proxy statement or incorporated by reference subsequent
                     to the date of this proxy statement. This proxy statement incorporates herein by reference the documents set
                     forth below that we have previously filed with the SEC. These documents contain important information
                     about us and our financial condition and are incorporated herein by reference.

                         The following UserTesting filings with the SEC are incorporated herein by reference:
                         • Our Annual Report on Form 10-K for the year ended December 31, 2021, filed on March 4, 2022;
                         • Our Quarterly Reports on Form 10-Q for the quarter ended March 31, 2022, filed on May 4, 2022, for
                           the quarter ended June 30, 2022, filed on August 4, 2022, and for the quarter ended September 30,
                           2022, filed on October 31, 2022;
                         • Our Definitive Proxy Statement on Schedule 14A filed with the SEC on April 20, 2022; and
                         • Our Current Reports on Form 8-K, filed on June 3, 2022 and October 27, 2022.

                          We also incorporate by reference into this proxy statement additional documents that we may file with
                     the SEC between the date of this proxy statement and the earlier of the date of the Special Meeting or the
                     termination of the Merger Agreement. These documents include periodic reports, such as Annual Reports on
                     Form 10-K and Quarterly Reports on Form 10-Q, as well as Current Reports on Form 8-K and proxy soliciting
                     materials. The information provided on our website is not part of this proxy statement, and therefore is not
                     incorporated herein by reference.
                         Information furnished under Item 2.02 or Item 7.01 of any Current Report on Form 8-K, including related
                     exhibits, is not and will not be incorporated herein by reference.

                          You may obtain any of the documents we file with the SEC through the SEC’s website at www.sec.gov,
                     or from our website at https://ir.usertesting.com/​. The information included on our website is not
                     incorporated herein by reference.

                          You may also request copies of any of the documents we file with the SEC by requesting in writing or by
                     telephone from us at the following address:
                                                                  UserTesting, Inc.
                                                              Attn: Investor Relations
                                                                144 Townsend Street
                                                           San Francisco, California 94107
                                                                   (888) 877-1882

                          If you would like to request documents from us, please do so as soon as possible, to receive them
                     before the Special Meeting. If you request any documents from us, we will mail them to you by first class
                     mail, or another equally prompt method, within one (1) business day after we receive your request.

                          If you have any questions concerning the Merger, the Special Meeting or this proxy statement, would
                     like additional copies of this proxy statement or need help voting your shares of UserTesting common stock,
                     please contact our proxy solicitor:
                                                             MacKenzie Partners, Inc.
                                                            1407 Broadway, 27th Floor
                                                                New York, NY 10018
                                                              Toll-free: 1-800-322-2885
                                                        Email: proxy@mackenziepartners.com


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                                                                   MISCELLANEOUS

                          We have supplied all information relating to UserTesting, and Parent has supplied, and we have not
                     independently verified, all of the information relating to Parent and Merger Sub contained in this proxy
                     statement.
                           You should rely only on the information contained in this proxy statement, the annexes to this proxy
                     statement and the documents that we incorporate by reference in this proxy statement in voting on the
                     Merger. We have not authorized anyone to provide you with information that is different from what is
                     contained in this proxy statement. This proxy statement is dated December 6, 2022. You should not assume
                     that the information contained in this proxy statement is accurate as of any date other than that date (or as of
                     an earlier date if so indicated in this proxy statement), and the mailing of this proxy statement to our
                     stockholders does not create any implication to the contrary. This proxy statement does not constitute a
                     solicitation of a proxy in any jurisdiction where, or to or from any person to whom, it is unlawful to make a
                     proxy solicitation.




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                                                                                                    Case 3:23-cv-01320-AMO                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Document 71-5                                                                                                                                                                                                                                                                                                                                               Filed 11/07/24                                                                                                                                                                                                                                                                                                      Page 110 of 111

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                                                      U S E R T E S T I N G ,         I N C . 1 4 4       T O W N S E N D      S T R E E T S A N             F R A N C I S C O ,       C A    9 4 1 0 7 V O T E          B Y   I N T E R N E T B e f o r e           T h e     M e e t i n g      -      G o   t o   w w w . p r o x y v o t e . c o m        o r     s c a n     t h e     Q R      B a r c o d e           a b o v e U s e   t h e    I n t e r n e t    t o     t r a n s m i t   y o u r   v o t i n g     i n s t r u c t i o n s     a n d    f o r    e l e c t r o n i c     d e l i v e r y    o f      i n f o r m a t i o n . V o t e          b y    1 1 : 5 9    p . m .     E a s t e r n    T i m e   o n        J a n u a r y   9 ,     2 0 2 3 .           H a v e   y o u r     p r o x y    c a r d    i n   h a n d    w h e n y o u    a c c e s s   t h e   w e b    s i t e    a n d     f o l l o w        t h e   i n s t r u c t i o n s      t o     o b t a i n   y o u r    r e c o r d s    a n d     t o   c r e a t e    a n e l e c t r o n i c   v o t i n g    i n s t r u c t i o n    f o r m . D u r i n g    T h e      M e e t i n g    -   G o   t o   w w w . v i r t u a l s h a r e h o l d e r m e e t i n g . c o m / U S E R 2 0 2 3 S M Y o u               m a y   a t t e n d     t h e   m e e t i n g    v i a     t h e   I n t e r n e t   a n d   v o t e    d u r i n g    t h e   m e e t i n g .    H a v e     t h e     i n f o r m a t i o n t h a t    i s   p r i n t e d    i n   t h e   b o x   m a r k e d   b y   t h e     a r r o w    a v a i l a b l e   a n d   f o l l o w   t h e   i n s t r u c t i o n s . V O T E       B Y   P H O N E     -   1 - 8 0 0 - 6 9 0 - 6 9 0 3 U s e



                                                      a n y   t o u c h - t o n e     t e l e p h o n e    t o   t r a n s m i t    y o u r    v o t i n g      i n s t r u c t i o n s .   V o t e    b y   1 1 : 5 9    p . m . E a s t e r n      T i m e   o n    J a n u a r y      9 ,     2 0 2 3 .     H a v e     y o u r    p r o x y   c a r d   i n     h a n d     w h e n     y o u         c a l l    a n d    t h e n f o l l o w    t h e     i n s t r u c t i o n s . V O T E     B Y   M A I L M a r k ,       s i g n     a n d   d a t e     y o u r   p r o x y     c a r d   a n d     r e t u r n     i t    i n      t h e   p o s t a g e - p a i d    e n v e l o p e       w e h a v e    p r o v i d e d    o r     r e t u r n   i t     t o       V o t e     P r o c e s s i n g ,    c / o   B r o a d r i d g e ,      5 1   M e r c e d e s   W a y , E d g e w o o d ,     N Y        1 1 7 1 7 .    T O       V O T E ,     M A R K        B L O C K S        B E L O W      I N   B L U E      O R    B L A C K       I N K      A S   F O L L O W S :      D 9 3 6 7 0 - S 5 6 6 2 1        K E E P    T H I S   P O R T I O N       F O R    Y O U R       R E C O R D S        T H I S     P R O X Y




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C A R D    I S    V A L I D    O N L Y      W H E N     S I G N E D       A N D      D A T E D .      D E T A C H      A N D       R E T U R N       T H I S      P O R T I O N       O N L Y     U S E R T E S T I N G ,            I N C . T h e    B o a r d      o f     D i r e c t o r s        r e c o m m e n d s     y o u     v o t e   F O R     p r o p o s a l s      1      a n d     2 .      F o r    A g a i n s t     A b s t a i n    1 .     T o   a d o p t     t h e   A g r e e m e n t    a n d      P l a n   o f     M e r g e r ,     d a t e d   a s   o f    O c t o b e r      2 6 ,   2 0 2 2         ( t h e     " M e r g e r      A g r e e m e n t " ) ,      b y    a n d   a m o n g     U s e r T e s t i n g ,       I n c . ,         a    D e l a w a r e c o r p o r a t i o n        ( t h e    " C o m p a n y " ) ,     T h u n d e r    H o l d i n g s ,    L L C ,     a     D e l a w a r e        l i m i t e d       l i a b i l i t y     c o m p a n y   ( " P a r e n t " ) ,      a n d    T h u n d e r      M e r g e r   S u b ,    I n c . ,   a   D e l a w a r e c o r p o r a t i o n      a n d   w h o l l y     o w n e d     s u b s i d i a r y   o f    P a r e n t     ( " M e r g e r   S u b " ) ,     p u r s u a n t   t o   w h i c h    M e r g e r   S u b   w i l l    m e r g e    w i t h    a n d    i n t o   t h e   C o m p a n y      ( t h e   " M e r g e r " ) , w i t h    t h e     C o m p a n y        t o   s u r v i v e   t h e   M e r g e r    a s   a     w h o l l y    o w n e d   s u b s i d i a r y     o f   P a r e n t . 2 .   T o   a p p r o v e   a n y    p r o p o s a l   t o   a d j o u r n   t h e    S p e c i a l   M e e t i n g   t o   a   l a t e r   d a t e




o r   d a t e s   i f   n e c e s s a r y   o r   a p p r o p r i a t e    t o      s o l i c i t   a d d i t i o n a l    p r o x i e s      i f   t h e r e     a r e i n s u f f i c i e n t       v o t e s   t o    a d o p t    t h e   M e r g e r      A g r e e m e n t        a t      t h e     t i m e   o f    t h e     S p e c i a l   M e e t i n g .         N O T E :      S u c h          o t h e r      b u s i n e s s   a s     m a y     p r o p e r l y     c o m e     b e f o r e   t h e   m e e t i n g         o r   a n y   a d j o u r n m e n t         t h e r e o f .     P l e a s e      s i g n       e x a c t l y     a s    y o u r     n a m e ( s )     a p p e a r ( s )      h e r e o n .    W h e n       s i g n i n g            a s   a t t o r n e y ,       e x e c u t o r , a d m i n i s t r a t o r ,      o r   o t h e r   f i d u c i a r y ,   p l e a s e        g i v e    f u l l      t i t l e   a s     s u c h .    J o i n t     o w n e r s    s h o u l d    e a c h        s i g n p e r s o n a l l y .    A l l     h o l d e r s    m u s t   s i g n .    I f   a   c o r p o r a t i o n   o r      p a r t n e r s h i p ,    p l e a s e     s i g n    i n   f u l l   c o r p o r a t e o r     p a r t n e r s h i p    n a m e    b y   a u t h o r i z e d      o f f i c e r .   i g n a t u r e     [ P L E A S E      S I G N      W I T H I N     B O X ]      D a t e   S i g n a t u r e       ( J o i n t     O w n e r s )    D a t e
                                                                                              Case 3:23-cv-01320-AMO                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Document 71-5                                                                                                                                                                                                                                                                                                    Filed 11/07/24                                                                                                                                                                                                                                          Page 111 of 111

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                                                          I m p o r t a n t N o t i c e R e g a r d i n g t h e A v a i l a b i l i t y    o f P r o x y       M a t e r i a l s f o r t h e S p e c i a l M e e t i n g : T h e N o t i c e a n d P r o x y                   S t a t e m e n t i s a v a i l a b l e a t w w w . p r o x y v o t e . c o m . D 9 3 6 7 1 - S 5 6 6 2 1 U S E R T E S T I N G , I N C . S p e c i a l M e e t i n g                             o f S t o c k h o l d e r s J a n u a r y 1 0 , 2 0 2 3 1 0 : 0 0 a . m . P a c i f i c T i m e T h i s p r o x y i s s o l i c i t e d                           b y t h e B o a r d o f D i r e c t o r s T h e u n d e r s i g n e d h e r e b y a p p o i n t s A n d y M a c M i l l a n ( P r e s i d e n t a n d C h i e f                                      E x e c u t i v e O f f i c e r ) a n d   M o n a S a b e t ( C h i e f C o r p o r a t e S t r a t e g y O f f i c e r a n d C o r p o r a t e S e c r e t a r y ) , a n d e a c h o f t h e m , a s t h e t r u e a n d l a w f u l a t t o r n e y s o f t h e u n d e r s i g n e d , w i t h   f u l l   p o w e r   o f   s u b s t i t u t i o n   a n d   r e v o c a t i o n ,   a n d   a u t h o r i z e s   e a c h   o f   t h e m ,   t o   v o t e   a l l   t h e   s h a r e s   o f   c a p i t a l   s t o c k   o f U s e r T e s t i n g ,   I n c .   t h a t   t h e   u n d e r s i g n e d   i s   e n t i t l e d   t o   v o t e   a t   t h e   S p e c i a l   M e e t i n g   o f
S t o c k h o l d e r s     t o     b e   h e l d   a t   1 0 : 0 0 a . m . P a c i f i c T i m e o n J a n u a r y 1 0 , 2 0 2 3 ,        v i r t u a l l y   a t w w w . v i r t u a l s h a r e h o l d e r m e e t i n g . c o m / U S E R 2 0 2 3 S M , a n d            a n y a d j o u r n m e n t t h e r e o f u p o n t h e m a t t e r s s p e c i f i e d a n d u p o n s u c h o t h e r m a t t e r s a s m a y b e p r o p e r l y                                b r o u g h t b e f o r e t h e m e e t i n g o r a n y a d j o u r n m e n t t h e r e o f , c o n f e r r i n g a u t h o r i t y u p o n                       s u c h t r u e a n d l a w f u l a t t o r n e y s t o v o t e i n t h e i r d i s c r e t i o n o n s u c h o t h e r m a t t e r s a s m a y p r o p e r l y                                      c o m e b e f o r e t h e m e e t i n g   a n d r e v o k i n g a n y p r o x y h e r e t o f o r e g i v e n . W H E N P R O P E R L Y E X E C U T E D , T H E S H A R E S R E P R E S E N T E D B Y T H I S P R O X Y W I L L B E V O T E D A S




D I R E C T E D     O R ,     I F     N O D I R E C T I O N       I S   G I V E N ,   S H A R E S   W I L L   B E   V O T E D   F O R     P R O P O S A L S      1   A N D   2 . Y o u   a r e   e n c o u r a g e d   t o   s p e c i f y   y o u r   c h o i c e   b y   m a r k i n g   t h e   a p p r o p r i a t e   b o x   ( S E E   R E V E R S E   S I D E )   b u t   y o u   n e e d   n o t   m a r k   a n y   b o x   i f y o u   w i s h   t o   v o t e   i n   a c c o r d a n c e   w i t h   t h e   B o a r d   o f   D i r e c t o r s '   r e c o m m e n d a t i o n .   T h e   n a m e d   p r o x i e s   c a n n o t   v o t e   y o u r   s h a r e s   u n l e s s y o u   s i g n   ( o n   t h e   r e v e r s e   s i d e )   a n d   r e t u r n   t h i s   c a r d . C o n t i n u e d   a n d   t o   b e   s i g n e d   o n   r e v e r s e   s i d e
